Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 1 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 2 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 3 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 4 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 5 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 6 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 7 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 8 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 9 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 10 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 11 of 151
Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 12 of 151
                Case 1:21-cr-00382-PLF   Document 176   Filed 01/30/25   Page 13 of 151




                              Appendix A
Department of Justice Chart Documenting Sentences in Capitol Breach Cases
                            Case 1:21-cr-00382-PLF               Document 176           Filed 01/30/25            Page 14 of 151
Monday, January 6, 2025


          SENTENCES IMPOSED IN CASES ARISING OUT OF THE EVENTS OF JANUARY 6, 2021
              Disclaimer: Those relying on information contained in this document should verify all information for accuracy

Table 1: Cases in which the government recommended a probation sentence without home detention 1             0F




 Defendant          Case Number             Offense of Conviction      Government Recommendation                           Sentence Imposed
 Name
 Morgan-Lloyd,      1:21-CR-00164-RCL       40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                                 36 months’ probation
 Anna                                                                  40 hours’ community service                         120 hours’ community service
                                                                       $500 restitution                                    $500 restitution
 Ehrke, Valerie     1:21-CR-00097-PLF       40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                                 36 months’ probation
                                                                       40 hours’ community service                         120 hours’ community service
                                                                       $500 restitution                                    $500 restitution
 Bissey, Dona       1:21-CR-00165-TSC       40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                                 14 days’ incarceration
                                                                       40 hours’ community service                         60 hours’ community service
                                                                       $500 restitution                                    $500 restitution
 Hiles, Jacob       1:21-CR-00155-ABJ       40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                                 24 months’ probation
                                                                       60 hours’ community service                         60 hours’ community service
                                                                       $500 restitution                                    $500 restitution
 Wangler,           1:21-CR-00365-DLF       40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                                 24 months’ probation
 Douglas                                                               40 hours’ community service                         60 hours’ community service
                                                                       $500 restitution                                    $500 restitution
 Harrison, Bruce 1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G) 48 months’ probation                                 24 months’ probation
                                                                       40 hours’ community service                         60 hours’ community service
                                                                       $500 restitution                                    $500 restitution
 Sizer, Brian       1:22-CR-00376-JEB       40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                                 12 months’ probation
                                                                       $500 restitution                                    $500 restitution

    Colon, Luis       1:21-CR-160-TJK             18 U.S.C. § 231(a)(3)            24 months’ probation                    24 months’ probation
    Enrique                                                                        $2,000 restitution                      $2,000 restitution

1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation
in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-
cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The government is
abiding by its agreements in those cases but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015)
(no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

                                                                               1
                          Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25      Page 15 of 151
Monday, January 6, 2025



Table 2: Cases in which the government recommended a probation sentence with home detention.
 Defendant          Case Number             Offense of Conviction       Government Recommendation     Sentence Imposed
 Name
 Bustle, Jessica    1:21-CR-00238-TFH       40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      60 days’ home detention
                                                                        36 months’ probation          24 months’ probation
                                                                        40 hours’ community service   40 hours’ community service
                                                                        $500 restitution              $500 restitution
 Bustle, Joshua     1:21-CR-00238-TFH       40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention       30 days’ home detention
                                                                        36 months’ probation          24 months’ probation
                                                                        40 hours’ community service   40 hours’ community service
                                                                        $500 restitution              $500 restitution
 Doyle, Danielle 1:21-CR-00324-TNM 40 U.S.C. § 5104(e)(2)(G)            2 months’ home detention      60 days’ probation
                                                                        36 months’ probation          $3,000 fine
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution
 Bennett,           1:21-CR-00227-JEB       40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      3 months’ home detention
 Andrew                                                                 36 months’ probation          24 months’ probation
                                                                        60 hours’ community service   80 hours’ community service
                                                                        $500 restitution              $500 restitution
 Mazzocco,          1:21-CR-00054-TSC       40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      45 days’ incarceration
 Matthew                                                                36 months’ probation          60 hours’ community service
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution
 Rosa, Eliel        1:21-CR-00068-TNM 40 U.S.C. § 5104(e)(2)(G)         30 days’ home detention       12 months’ probation
                                                                        36 months’ probation          100 hours’ community service
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution
 Gallagher,         1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention       24 months’ probation
 Thomas                                                                 36 months’ probation          60 hours’ community service
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution
 Vinson, Thomas 1:21-CR-00355-RBW 40 U.S.C. § 5104(e)(2)(G)             3 months’ home detention      60 months’ probation
                                                                        36 months’ probation          $5,000 fine
                                                                        60 hours’ community service   120 hours’ community service
                                                                        $500 restitution              $500 restitution

                                                                   2
                          Case 1:21-cr-00382-PLF     Document 176            Filed 01/30/25     Page 16 of 151
Monday, January 6, 2025


 Dillon, Brittiany   1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)       3 months’ home detention       60 days’ home detention
                                                                         36 months’ probation           36 months’ probation
                                                                         60 hours’ community service    $500 restitution
                                                                         $500 restitution
 Sanders,            1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        36 months’ probation
 Jonathan                                                                36 months’ probation           60 hours’ community service
                                                                         60 hours’ community service    $500 restitution
                                                                         $500 restitution
 Fitchett, Cindy     1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        30 days’ home detention
                                                                         36 months’ probation           36 months’ probation
                                                                         60 hours’ community service    60 hours’ community service
                                                                         $500 restitution               $500 restitution
 Sweet, Douglas      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       30 days’ home detention
                                                                         36 months’ probation           36 months’ probation
                                                                         60 hours’ community service    60 hours’ community service
                                                                         $500 restitution               $500 restitution
 Cordon, Sean        1:21-CR-00269-TNM   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       60 days’ probation
                                                                         36 months’ probation           $4,000 fine
                                                                         60 hours’ community service    $500 restitution
                                                                         $500 restitution
 Wilkerson, John     1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        36 months’ probation
 IV                                                                      36 months’ probation           60 hours’ community service
                                                                         60 hours’ community service    $2,500 fine
                                                                         $500 restitution               $500 restitution
 Jones, Caleb        1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       60 days’ home detention
                                                                         36 months’ probation           24 months’ probation
                                                                         60 hours’ community service    100 hours’ community service
                                                                         $500 restitution               $500 restitution
 Brown, Terry        1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       45 days’ home detention        30 days’ home detention
                                                                         36 months’ probation           36 months’ probation
                                                                         60 hours’ community service    60 hours’ community service
                                                                         $500 restitution               $500 restitution
 Wrigley,            1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        18 months’ probation
 Andrew                                                                  36 months’ probation           60 hours’ community service
                                                                         60 hours’ community service    $2,000 fine
                                                                         $500 restitution               $500 restitution

                                                                     3
                          Case 1:21-cr-00382-PLF     Document 176           Filed 01/30/25     Page 17 of 151
Monday, January 6, 2025


 Parks, Jennifer   1:21-CR-00363-CJN    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        24 months’ probation
                                                                        36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Reimler,          1:21-CR-00239-RDM    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        30 days’ home detention
 Nicholas                                                               36 months’ probation           36 months’ probation
                                                                        60 hours’ community service    60 hours’ community service
                                                                        $500 restitution               $500 restitution
 Miller, Brandon   1:21-CR-00266-TSC    40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention        20 days’ incarceration
                                                                        36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Miller,           1:21-CR-00266-TSC    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        14 days’ incarceration
 Stephanie                                                              36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Hatley, Andrew    1:21-CR-00098-TFH    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        36 months’ probation
                                                                        36 months’ probation           $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
 Pert, Rachael     1:21-CR-00139-TNM    18 U.S.C. § 1752(a)(1)          3 months’ home detention       24 months’ probation
                                                                        24 months’ probation           100 hours’ community service
                                                                        40 hours’ community service    $500 restitution
                                                                        $500 restitution
 Winn, Dana        1:21-CR-00139-TNM    18 U.S.C. § 1752(a)(1)          3 months’ home detention       10 days’ incarceration
                                                                        24 months’ probation           12 months’ probation
                                                                        40 hours’ community service    100 hours’ community service
                                                                        $500 restitution               $500 restitution
 Wickersham,       1:21-CR-00606-RCL    40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention       3 months’ home detention
 Gary                                                                   36 months’ probation           36 months’ probation
                                                                        60 hours’ community service    $2,000 fine
                                                                        $500 restitution               $500 restitution
 Schwemmer,        1:21-CR-00364-DLF    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        24 months’ probation
 Esther                                                                 36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution

                                                                    4
                          Case 1:21-cr-00382-PLF     Document 176           Filed 01/30/25     Page 18 of 151
Monday, January 6, 2025


 Kelly, Kenneth     1:21-CR-00331-CKK   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        60 days’ home detention
                                                                        36 months’ probation           12 months’ probation
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Straka, Brandon    1:21-cr-00579-DLF   40 U.S.C. § 5104(e)(2)(D)       4 months’ home detention       3 months’ home detention
                                                                        36 months’ probation           36 months’ probation
                                                                        60 hours’ community service    $5000 fine
                                                                        $500 restitution               60 hours’ community service
                                                                                                       $500 restitution
 Sizer, Julia       1:21-CR-00621-CRC   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        12 months’ probation
                                                                        36 months’ probation           $2,000 fine
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Blauser,           1:21-CR-00386-TNM   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       $500 fine
 William                                                                36 months’ probation           $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
 Barnard,           1:21-CR-00235-RC    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        30 days’ home detention
 Richard                                                                36 months’ probation           12 months’ probation
                                                                        60 hours’ community service    60 hours’ community service
                                                                        $500 restitution               $500 restitution
 Witcher, Jeffrey   1:21-CR-00235-RC    18 U.S.C. § 1752(a)(1)          60 days’ home detention        12 months’ probation
                                                                        36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 McAlanis,          1:21-CR-00516-DLF   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        24 months’ probation
 Edward                                                                 36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Lollis, James      1:21-CR-00671-BAH   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       3 months’ home detention
                                                                        36 months’ probation           36 months’ probation
                                                                        100 hours’ community service   100 hours’ community service
                                                                        $500 restitution               $500 restitution
 Schubert, Amy      1:21-CR-00588-ABJ   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       18 months’ probation
                                                                        36 months’ probation           $2,000 fine
                                                                        60 hours’ community service    100 hours’ community service

                                                                    5
                          Case 1:21-cr-00382-PLF     Document 176           Filed 01/30/25        Page 19 of 151
Monday, January 6, 2025


                                                                        $500 restitution                  $500 restitution
 Schubert, John    1:21-CR-00587-ABJ    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention           18 months’ probation
                                                                        36 months’ probation              $1,500 fine
                                                                        60 hours’ community service       100 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Orangias,         1:21-CR-00265-CKK    40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention          3 months’ home detention
 Michael                                                                36 months’ probation              36 months’ probation
                                                                        $500 restitution                  $500 restitution
 Quick, Michael    1:21-CR-00201-DLF    40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention          36 months’ probation
                                                                        36 months’ probation              $1,000 fine
                                                                        $500 restitution                  60 hours’ community service
                                                                                                          $500 restitution
 Quick, Stephen    1:21-CR-00201-DLF    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention           24 months’ probation
                                                                        36 months’ probation              $1,000 fine
                                                                        $500 restitution                  60 hours’ community service
                                                                                                          $500 restitution
 Reda, Kenneth     1:21-CR-00452-TFH    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention           60 days’ home detention
                                                                        36 months’ probation              36 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 McCreary,         1:21-CR-00125-BAH    18 U.S.C. § 1752(a)(1)          3 months’ home detention          42 days’ intermittent confinement
 Brian                                                                  36 months’ probation              60 days’ home detention
                                                                        60 hours’ community service       36 months’ probation
                                                                        $500 restitution                  $2,500 fine
                                                                                                          $500 restitution
 Colbath, Paul     1:21-CR-00650-RDM    40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention          30 days’ home detention
                                                                        36 months’ probation              36 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Lewis, Jacob      1:21-CR-00100-CRC    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention           24 months’ probation
                                                                        36 months’ probation              $3,000 fine
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Lentz, Nicholes   1:22-CR-00053-RDM    18 U.S.C. § 1752(a)(1)          60 days’ home detention           30 days’ home detention
                                                                        36 months’ probation              36 months’ probation
                                                                                                          100 hours’ community service

                                                                    6
                          Case 1:21-cr-00382-PLF     Document 176           Filed 01/30/25     Page 20 of 151
Monday, January 6, 2025


                                                                                                       $500 restitution
 Daughtry,         1:21-CR00141-RDM     18 U.S.C. § 1752(a)(1)          4 months’ home detention       60 days’ home detention
 Michael                                                                36 months’ probation           36 months’ probation
                                                                        $500 restitution               $500 restitution
 Juran, John       1:21-CR-00419-TFH    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        60 days’ home detention
                                                                        36 months’ probation           36 months’ probation
                                                                        60 hours’ community service    $500 fine
                                                                        $500 restitution               $500 restitution
 Genco, Raechel    1:22-CR-00062-JMC    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        12 months’ probation
                                                                        36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Macrae,           1:22-CR-00181-JEB    40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention       12 months’ probation
 Douglas                                                                36 months’ probation           150 hours’ community service
 Farquhar                                                               60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Seymour, Paul     1:22-CR-00041-APM    40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       12 months’ probation
 SR.                                                                    36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Seymour, Paul     1:22-CR-00041-APM    40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       12 months’ probation
 Jr.                                                                    36 months’ probation           60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Ferguson, Jamie   1:22-CR-00194-APM    40 U.S.C. § 5104(e)(2)(G)       24 months’ probation           24 months’ probation
                                                                        30 days’ home detention        60 hours’ community service
                                                                        60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Fontanez-         1:22-CR-00256-EGS    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        12 months’ probation
 Rodriguez,                                                             36 months’ probation           50 hours’ community service
 Samuel                                                                 60 hours’ community service    $500 restitution
                                                                        $500 restitution
 Bostic, Karegan   1:21-CR-00643-CKK    40 U.S.C. 5104(e)(2)(G)         30 days’ home detention        30 days’ home detention
                                                                        36 months’ probation           36 months’ probation
                                                                        $500 restitution               $500 restitution


                                                                    7
                          Case 1:21-cr-00382-PLF     Document 176           Filed 01/30/25        Page 21 of 151
Monday, January 6, 2025


 Bostic, Willard    1:21-CR-00643-CKK   40 U.S.C. 5104(e)(2)(G)         90 days’ home detention           90 days’ home detention
 Jr.                                                                    36 months’ probation              36 months’ probation
                                                                        $500 restitution                  40 hours community service
                                                                                                          $500 restitution
 McFadden,          1:21-CR-00248-RDM   40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention           30 days’ home detention
 Tyrone                                                                 36 months’ probation              24 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Mileur, Aaron      1:21-CR-00248-RDM   40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention           30 days’ home detention
                                                                        36 months’ probation              24 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Williams, Carrie   1:21-CR-00248-RDM   40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention           30 days’ home detention
                                                                        36 months’ probation              24 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Rutledge,          1:21-CR-00643-CKK   40 U.S.C. 5104(e)(2)(G)         90 days’ home detention           90 days’ home detention
 Meghan                                                                 36 months’ probation              36 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Saer, Lilith       1:22-CR-00374-DLF   40 U.S.C. § 5104(e)(2)(D)       60 days’ home detention           36 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)       36 months’ probation              200 hours community service
                                                                        60 hours community service        $500 restitution
                                                                        $500 restitution
 Cantrell, Eric     1:22-CR-00121-TNM   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention           3 months’ probation
                                                                        36 months’ probation              40 hours’ community service
                                                                        60 hours’ community service       $500 restitution
                                                                        $500 restitution
 Smith, Gary        1:23-CR-0006-RCL    18 U.S.C. § 5104(e)(2)(G)       90 days’ home detention           30 days’ home detention
                                                                        36 months’ probation              36 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Kuecken,           1:23-CR-0006-RCL    18 U.S.C. § 5104(e)(2)(G).      90 days’ home detention           30 days’ home detention
 Deborah                                                                36 months’ probation              36 months’ probation
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution

                                                                    8
                          Case 1:21-cr-00382-PLF      Document 176           Filed 01/30/25     Page 22 of 151
Monday, January 6, 2025


 Traugh,            1:23-CR-00212-RCL    40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention       45 days’ home detention
 Christina                                                               36 months’ probation           18 months’ probation
                                                                         60 hours’ community service    $500 restitution
                                                                         $500 restitution
 Culbertson,        1:23-CR-00065-ABJ    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        18 months’ probation
 Alan Scott                                                              36 months’ probation           50 hours’ community service
                                                                         50 hours’ community service    $500 restitution
                                                                         $500 restitution
 Harrison,          1:23-CR-00096-RDM    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        30 days’ home detention
 Jeremy                                                                  36 months’ probation           24 months’ probation
                                                                         60 hours’ community service    60 hours’ community service
                                                                         $500 restitution               $500 restitution
 Ramakrishn,        1:23-CR-00247-JMC    40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention        6 months’ probation
 Karthik                                                                 36 months’ probation           $500 fine
                                                                         60 hours community service     $500 restitution
                                                                         $500 restitution
 Connolly, Kim      1:23-CR-00031-JMC    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        6 months’ probation
 Marie                                                                   36 months’ probation           $500 restitution
                                                                         $500 restitution
 Pacheco, Angelo    1:23-CR-00258-RDM    40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        24 months’ probation
                                                                         36 months’ probation           30 days’ home detention
                                                                         60 hours’ community service    60 hours’ community service
                                                                         $500 restitution               $500 restitution
 Tyner, Christian   1:23-CR-00361- RDM   40 U.S.C. § 5104(e)(2)(D)       30 days’ home detention        36 months’ probation
 Peter                                   40 U.S.C. § 5104(e)(2)(G)       36 months’ probation           $500 restitution
                                                                         60 hours community service
                                                                         $500 restitution
 Breheny, James     1:23-CR-00179-APM    18 U.S.C. § 1512(c)(2), 2       36 months’ probation           36 months’ probation
                                                                         6 months’ home detention       6 months’ home detention
                                                                         120 hours community service    $2,000 restitution
                                                                         $2,000 restitution
 White, Lance       1:23-CR-00360- DLF   18 U.S.C. § 1752(a)(1)          60 days’ home detention        60 days’ home detention
                                         18 U.S.C. § 1752(a)(2)          24 months’ probation           24 months’ probation
                                         40 U.S.C. § 5104(e)(2)(D)       60 hours community service     60 hours community service
                                         40 U.S.C. § 5104(e)(2)(G)       $500 restitution               $500 restitution


                                                                     9
                          Case 1:21-cr-00382-PLF      Document 176          Filed 01/30/25      Page 23 of 151
Monday, January 6, 2025


 Pettit, Brandon   1:24-CR-00330-         40 U.S.C. § 5104(e)(2)(D)      30 days’ home detention           30 days’ home detention
                   BAH                    40 U.S.C. § 5104(e)(2)(G)      36 months’ probation              24 months’ probation
                                                                         $500 restitution                  $500 restitution
                                                                                                           $5,000 fine

Table 3: Cases in which the government recommended a sentence of incarceration.
 Defendant Name Case Number                 Offense of Conviction           Government Recommendation      Sentence Imposed
 Curzio, Michael     1:21-CR-00041-CJN      40 U.S.C. § 5104(e)(2)(G)       6 months’ incarceration        6 months’ incarceration
                                                                                                           $500 restitution
 Hodgkins, Paul    1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)          18 months’ incarceration        8 months’ incarceration
                                                                                                           24 months’ supervised release
                                                                                                           $2,000 restitution
 Dresch, Karl      1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)       6 months’ incarceration         6 months’ incarceration
                                                                           $1,000 fine                     $500 restitution
                                                                           $500 restitution
 Jancart, Derek    1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)       4 months’ incarceration         45 days’ incarceration
                                                                           $500 restitution                $500 restitution
 Rau, Erik         1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)       4 months’ incarceration         45 days’ incarceration
                                                                           $500 restitution                $500 restitution
 Hemenway,         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          45 days’ incarceration
 Edward                                                                    $500 restitution                60 hours’ community service
                                                                                                           $500 restitution
 Reeder, Robert    1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)       6 months’ incarceration         3 months’ incarceration
                                                                           $500 restitution                $500 restitution
 Bauer, Robert     1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          45 days’ incarceration
                                                                           $500 restitution                60 hours’ community service
                                                                                                           $500 restitution
 Smocks, Troy      1:21-CR-00198-TSC       18 U.S.C. § 875(c)              Incarceration at low end of     14 months’ incarceration
                                                                           sentencing guidelines           36 months’ supervised release
                                                                           36 months’ supervised release
 Vinson, Lori      1:21-CR-00355-RBW       40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          60 months’ probation
                                                                           $500 restitution                $5,000 fine
                                                                                                           120 hours’ community service
                                                                                                           $500 restitution
 Griffith, Jack    1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)       3 months’ incarceration         3 months’ home detention
                                                                           $500 restitution                36 months’ probation

                                                                    10
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 24 of 151
Monday, January 6, 2025


                                                                                                         $500 restitution
 Torrens, Eric     1:21-CR-00204-BAH     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            3 months’ home detention
                                                                       $500 restitution                  36 months’ probation
                                                                                                         $500 restitution
 Gruppo, Leonard   1:21-CR-00391-BAH     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            3 months’ home detention
                                                                       $500 restitution                  24 months’ probation
                                                                                                         $3,000 fine
                                                                                                         $500 restitution
 Ryan, Jennifer    1:21-CR-00050-CRC     40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            60 days’ incarceration
                                                                       $500 restitution                  $1,000 fine
                                                                                                         $500 restitution
 Croy, Glenn       1:21-CR-00162-BAH     40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            3 months’ home detention
                                                                       $500 restitution                  36 months’ probation
                                                                                                         $500 restitution
 Stotts, Jordan    1:21-CR-00272-TJK     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            60 days’ home detention
                                                                       $500 restitution                  24 months’ probation
                                                                                                         60 hours’ community service
                                                                                                         $500 restitution
 Fairlamb, Scott   1:21-CR-00120-RCL     18 U.S.C. § 1512(c)(2)        44 months’ incarceration          41 months’ incarceration
                                         18 U.S.C. § 111(a)(1)         36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 fine                       $2,000 restitution
 Camper, Boyd      1:21-CR-00325-CKK     40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            60 days’ incarceration
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Rukstales,        1:21-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            30 days’ incarceration
 Bradley                                                               $500 restitution                  $500 restitution
 Cordon, Kevin     1:21-CR-00277-TNM     18 U.S.C. § 1752(a)(1)        30 days’ incarceration            12 months’ probation
                                                                       12 months’ supervised release     $4000 fine
                                                                       $500 restitution                  100 hours’ community service
                                                                                                         $500 restitution
 Chansley, Jacob   1:21-CR-00003-RCL     18 U.S.C. § 1512(c)(2)        51 months’ incarceration          41 months’ incarceration
                                                                       36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Mish, David       1:21-CR-00112-CJN     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            30 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 Lolos, John       1:21-CR-00243-APM     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            14 days’ incarceration

                                                                  11
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 25 of 151
Monday, January 6, 2025


                                                                       $500 restitution                  $500 restitution
 Scavo, Frank        1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            60 days’ incarceration
                                                                       $500 restitution                  $5000 fine
                                                                                                         $500 restitution
 Abual-Ragheb,       1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            60 days’ home detention
 Rasha                                                                 $500 restitution                  36 months’ probation
                                                                                                         60 hours’ community service
                                                                                                         $500 restitution
 Peterson, Russell   1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            30 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 Simon, Mark         1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            35 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 Ericson, Andrew     1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            20 days’ incarceration
                                                                       $500 restitution                  24 months’ probation
                                                                                                         $500 restitution
 Pham, Tam Dinh      1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            45 days’ incarceration
                                                                       $500 restitution                  $1,000 fine
                                                                                                         $500 restitution
 Nelson, Brandon     1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            24 months’ probation
                                                                       $500 restitution                  $2,500 fine
                                                                                                         50 hours’ community service
                                                                                                         $500 restitution
 Markofski,          1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            24 months’ probation
 Abram                                                                 $500 restitution                  $1,000 fine
                                                                                                         50 hours’ community service
                                                                                                         $500 restitution
 Marquez, Felipe     1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)        4 months’ incarceration           3 months’ home detention
                                                                       12 months’ supervised release     18 months’ probation
                                                                       $500 restitution                  $500 restitution
 Meredith,           1:21-CR-00159-ABJ   18 U.S.C. § 875(c)            37-46 months’ incarceration       28 months’ incarceration
 Cleveland                                                             36 months’ supervised release     36 months’ supervised release
 Sorvisto, Jeremy    1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            30 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 Mariotto,           1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration           36 months’ probation
 Anthony                                                               36 months’ probation              $5000 fine
                                                                       $500 restitution                  250 hours’ community service

                                                                  12
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25          Page 26 of 151
Monday, January 6, 2025


                                                                                                          $500 restitution
 Courtright,          1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)        6 months’ incarceration           30 days’ incarceration
 Gracyn                                                                 12 months’ supervised release     12 months’ supervised release
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Palmer, Robert       1:21-CR-00328-TSC   18 U.S.C. § 111(a)            63 months’ incarceration          63 months’ incarceration
                                          18 U.S.C. § 111(b)            36 months’ supervised release     36 months’ supervised release
                                                                        $2,000 restitution                $2,000 restitution
 Thompson,            1:21-CR-00461-RCL   18 U.S.C. § 111(a)            48 months’ incarceration          46 months’ incarceration
 Devlyn                                   18 U.S.C. § 111(b)            36 months’ supervised release     36 months’ supervised release
                                                                        $2,000 restitution                $2,000 restitution
 Edwards, Gary        1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            12 months’ probation
                                                                        24 months’ probation              $2,500 fine
                                                                        $500 restitution                  200 hours’ of community service
                                                                                                          $500 restitution
 Tutrow, Israel       1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            60 days’ home detention
                                                                        $500 restitution                  36 months’ probation
                                                                                                          $500 restitution
 Ridge IV,            1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)        45 days’ incarceration            14 days’ incarceration
 Leonard                                                                12 months’ supervised release     12 months’ supervised release
                                                                        60 hours’ community service       $1,000 fine
                                                                        $500 restitution                  100 hours’ community service
                                                                                                          $500 restitution
 Perretta, Nicholas   1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            30 days’ incarceration
                                                                        $500 restitution                  $500 restitution
 Vukich, Mitchell     1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            30 days’ incarceration
                                                                        $500 restitution                  $500 restitution
 Spencer, Virginia    1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           3 months’ incarceration
                                                                        36 months’ probation              $500 restitution
                                                                        $500 restitution
 Kostolsky,           1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            30 days’ home detention
 Jackson                                                                $500 restitution                  36 months’ probation
                                                                                                          $500 restitution
 Rusyn, Michael       1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            60 days’ home detention
                                                                        $500 restitution                  24 months’ probation
                                                                                                          $2,000 fine

                                                                   13
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 27 of 151
Monday, January 6, 2025


                                                                                                         $500 restitution
 Tryon, William     1:21-CR-00420-RBW    18 U.S.C. § 1752(a)(1)        30 days’ incarceration            50 days’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $1,000 fine
                                                                                                         $500 restitution
 Sells, Tanner      1:21-CR-00549-ABJ    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            3 months’ home detention
                                                                       36 months’ probation              24 months’ probation
                                                                       60 hours’ community service       $1,500 fine
                                                                       $500 restitution                  50 hours’ community service
                                                                                                         $500 restitution
 Walden, Jon        1:21-CR-00548-DLF    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            30 days’ home detention
                                                                       60 hours’ community service       36 months’ probation
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Prado, Nicole      1:21-CR-00403-RC     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            12 months’ probation
                                                                       36 months’ probation              $742 fine
                                                                       60 hours’ community service       60 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Williams, Vic      1:21-CR-00388-RC     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            60 days’ home detention
                                                                       36 months’ probation              12 months’ probation
                                                                       60 hours’ community service       $1,500 fine
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Wiedrich, Jacob    1:21-CR-00581-TFH    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           3 months’ home detention
                                                                       36 months’ probation              36 months’ probation
                                                                       $500 restitution                  100 hours’ community service
                                                                                                         $500 restitution
 Stepakoff,         1:21-CR-00096-RC     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            60 days’ home detention
 Michael                                                               36 months’ probation              12 months’ probation
                                                                       60 hours’ community service       $742 fine
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Scirica, Anthony   1:21-CR-00457-CRC    40 U.S.C. § 5104(e)(2)(G)     15 days’ incarceration            15 days’ incarceration
                                                                       $500 restitution                  $500 fine
                                                                                                         $500 restitution
 Crase, Dalton      1:21-CR-00082-CJN    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            15 days’ intermittent confinement

                                                                  14
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25          Page 28 of 151
Monday, January 6, 2025


                                                                      36 months’ probation              36 months’ probation
                                                                      60 hours’ community service       60 hours’ community service
                                                                      $500 restitution                  $500 restitution
 Williams, Troy      1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            15 days’ intermittent confinement
                                                                      36 months’ probation              36 months’ probation
                                                                      60 hours’ community service       60 hours’ community service
                                                                      $500 restitution                  $500 restitution
 Languerand,         1:21-CR-00353-JDB   18 U.S.C. § 111(b)           51 months’ incarceration          44 months’ incarceration
 Nicholas                                                             36 months’ supervised release     24 months’ supervised release
                                                                      $2,000 restitution                60 hours’ community service
                                                                                                        $2,000 restitution
 Wilson, Zachary     1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            45 days’ home detention
                                                                      36 months’ probation              24 months’ probation
                                                                      $500 restitution                  60 hours’ community service
                                                                                                        $500 restitution
 Wilson, Kelsey      1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            30 days’ home detention
                                                                      36 months’ probation              24 months’ probation
                                                                      $500 restitution                  60 hours’ community service
                                                                                                        $500 restitution
 McAuliffe, Justin   1:21-CR-00608-RCL   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            60 days’ home detention
                                                                      36 months’ probation              36 months’ probation
                                                                      $500 restitution                  $500 restitution
 Williams,           1:21-CR-00045-DLF   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            24 months’ probation
 Andrew                                                               24 months’ probation              60 hours’ community service
                                                                      60 hours’ community service       $500 restitution
                                                                      $500 restitution
 Leffingwell,        1:21-CR-00005-ABJ   18 U.S.C. § 111(a)(1)        27 months’ incarceration          6 months’ incarceration
 Mark                                                                 36 months’ supervised release     24 months’ supervised release
                                                                      $2,000 restitution                200 hours’ community service
                                                                                                        $2,000 restitution
 Wagner, Joshua      1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            30 days’ incarceration
                                                                      36 months’ probation              $500 restitution
                                                                      $500 restitution
 Stenz, Brian        1:21-CR-00456-BAH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            14 days’ incarceration
                                                                      36 months’ probation              2 months’ home detention
                                                                      60 hours’ community service       36 months’ probation

                                                                 15
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 29 of 151
Monday, January 6, 2025


                                                                       $500 restitution                  $2,500 fine
                                                                                                         $500 restitution
 Schornak, Robert    1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        4-6 months’ incarceration         28 days’ intermittent confinement
                                                                       12 months’ supervised release     2 months’ home detention
                                                                       60 hours’ community service       36 months’ probation
                                                                       $500 restitution                  $500 restitution
 Castro, Mariposa    1:21-CR-00299-RBW   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            45 days’ incarceration
                                                                       $500 restitution                  $5000 fine
 Sunstrum, Traci     1:21-CR-00652-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            30 days’ home detention
                                                                       36 months’ probation              36 months’ probation
                                                                       $500 restitution                  $500 restitution
 Register, Jeffrey   1:21-CR-00349-TJK   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration           75 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 Johnson, Adam       1:21-CR-00648-RBW   18 U.S.C. § 1752(a)(1)        3 months’ incarceration           75 days’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       $5,000 fine                       $5000 fine
                                                                                                         200 hours’ community service
                                                                                                         $500 restitution
 Howell, Annie       1:21-CR-00217-TFH   18 U.S.C. § 1752(a)(1)        60 days’ incarceration            60 days’ intermittent confinement
                                                                       12 months’ supervised release     36 months’ probation
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Gonzalez,           1:21-CR-00115-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           24 months’ probation
 Eduardo                                                               $500 restitution                  $1,000 fine
                                                                                                         $500 restitution
 Wilson, Duke        1:21-CR-00345-RCL   18 U.S.C. § 1512(c)(2)        46 months’ incarceration          51 months’ incarceration
                                         18 U.S.C. § 111(a)(1)         $2,000 + TBD restitution for      36 months’ supervised release
                                                                       injured officer                   TBD restitution
 Strong, Kevin       1:21-CR-00114-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            30 days’ home detention
                                                                       36 months’ probation              24 months’ probation
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Bonet, James        1:21-CR-00121-EGS   18 U.S.C. § 1752(a)(1)        45 days’ incarceration            3 months’ incarceration
                                                                       12 months’ probation              12 months’ probation
                                                                       $500 restitution                  200 hours’ community service
                                                                                                         $500 restitution

                                                                  16
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 30 of 151
Monday, January 6, 2025


 Nalley, Verden     1:21-CR-00016-DLF    18 U.S.C. § 1752(a)(1)        14 days’ incarceration            24 months’ probation
                                                                       12 months’ probation              60 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Carico, Michael    1:21-CR-00696-TJK    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            60 days’ home detention
                                                                       36 months’ probation              24 months’ probation
                                                                       $500 restitution                  $500 fine
                                                                                                         60 hours’ community service
                                                                                                         $500 restitution
 Loftus, Kevin      1:21-CR-00081-DLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            36 months’ probation
                                                                       36 months’ probation              60 hours’ community service
                                                                                                         $500 restitution
                                         *Resentencing for violating   6 months’ incarceration           6 months’ incarceration
                                         terms of probation
 Smith, Jeffrey     1:21-CR-00290-RBW    40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration           3 months’ incarceration
                                                                       $500 restitution                  24 months’ probation
                                                                                                         200 hours’ community service
                                                                                                         $500 restitution
 Kelley, Kari       1:21-CR-00201-DLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            36 months’ probation
                                                                       36 months’ probation              $500 restitution
                                                                       $500 restitution
 Martin, Zachary    1:21-CR-00201-DLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            36 months’ probation
                                                                       36 months’ probation              $1,000 fine
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Cudd, Jenny        1:21-CR-00068-TNM    18 U.S.C. § 1752(a)(1)        75 days’ incarceration            60 days’ probation
                                                                       12 months’ supervised release     $5000 fine
                                                                       $500 restitution                  $500 restitution
 Jackson, Micajah   1:21-CR-00484-RDM    40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            36 months’ probation
                                                                       36 months’ supervised release     $1,000 fine
                                                                       $500 restitution                  $500 restitution
 Petrosh, Robert    1:21-CR-00347-TNM    18 U.S.C. § 641               4 months’ incarceration           10 days’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       60 hours’ community service       $1,000 fine
                                                                       $938 restitution                  $938 restitution
 Ivey, Bryan        1:21-CR-00267-CRC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            60 days’ home detention

                                                                  17
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 31 of 151
Monday, January 6, 2025


                                                                       36 months’ probation              36 months’ probation
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       60 hours’ community service

 Burress, Gabriel   1:21-CR-00744-TJK    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            45 days’ home detention
                                                                       36 months’ probation              18 months’ probation
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       60 hours’ community service

 Pettit, Madison    1:21-CR-00744-TJK    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            45 days’ home detention
                                                                       36 months’ probation              18 months’ probation
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       60 hours’ community service

 Coffman, Lonnie    1:21-CR-00004-CKK    26 U.S.C. § 5861(d)           Middle of SGR                     46 months’ incarceration
                                         22 D.C. Code § 4504(a)        36 months’ probation              36 months’ supervised release
 Fee, Thomas        1:21-CR-00133-JDB    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            24 months’ probation
                                                                       36 months’ probation              $500 fine
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       50 hours’ community service
 Herendeen,         1:21-CR-00278-BAH    18 U.S.C. § 1752(a)(1)        28 days’ incarceration            14 days’ incarceration
 Daniel                                                                36 months’ probation              60 days’ home detention
                                                                       $500 restitution                  36 months’ probation
                                                                       60 hours’ community service       $500 restitution
 Zlab, Joseph       1:21-CR-00389-RBW    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            36 months’ probation
                                                                       36 months’ probation              $500 fine
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       200 hours’ community service
 Riddle, Jason      1:21-CR-00304-DLF    18 U.S.C. § 641               3 months’ incarceration           3 months’ incarceration
                                         40 U.S.C. § 5104(e)(2)(G)     12 months’ supervised release     36 months’ probation
                                                                       $754 restitution                  $754 restitution
                                                                                                         60 days’ community service
 Fox, Samuel        1:21-CR-00435-BAH    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            60 days’ home detention
                                                                       36 months’ probation              36 months’ probation
                                                                       $500 restitution                  $2,500 fine
                                                                                                         $500 restitution

                                                                  18
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 32 of 151
Monday, January 6, 2025


 O’Brien, Kelly     1:21-CR-00633-RCL    18 U.S.C. § 1752(a)(1)        5 months’ incarceration           3 months’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $1,000 fine
                                                                                                         $500 restitution
 Hardin, Michael    1:21-CR-00280-TJK    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            30 days’ home detention
                                                                       36 months’ probation              18 months’ probation
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       60 hours’ community service
 Hernandez, Emily 1:21-CR-00747-JEB      18 U.S.C. § 1752(a)(1)        45 days’ incarceration            30 days’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $500 restitution
                                                                       60 hours’ community service       80 hours’ community service
 Merry, William     1:21-CR-00748-JEB    18 U.S.C. § 641               4 months’ incarceration           45 days’ incarceration
                                                                       12 months’ supervised release     9 months’ supervised release
                                                                       $500 restitution                  80 hours’ community service
                                                                       60 hours’ community service
 Westover, Paul     1:21-CR-00697-JEB    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           45 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 O’Malley,          1:21-CR-00704-CRC    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            24 months’ probation
 Timothy                                                               36 months’ probation              20 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Reed, Blake        1:21-CR-00204-BAH    18 U.S.C. § 1752(a)(1)        3 months’ incarceration           42 days’ intermittent confinement
                                                                       12 months’ supervised release     3 months’ home detention
                                                                       $500 restitution                  36 months’ probation
                                                                                                         $2,500 fine
                                                                                                         $500 restitution
 Rebegila, Mark     1:21-CR-00283-APM    40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            30 days’ home detention
                                                                       36 months’ probation              24 months’ probation
                                                                       $500 restitution                  $2,000 fine
                                                                                                         60 hours’ community service
                                                                                                         $500 restitution
 Watrous, Richard   1:21-CR-00627-BAH    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            14 days’ intermittent confinement
                                                                       36 months’ probation              60 days’ home detention
                                                                       60 hours’ community service       36 months’ probation
                                                                       $500 restitution                  $2,500 fine

                                                                  19
                          Case 1:21-cr-00382-PLF    Document 176      Filed 01/30/25     Page 33 of 151
Monday, January 6, 2025


                                                                                                   $500 restitution
 Meteer, Clifford   1:21-CR-00630-CJN    40 U.S.C. § 5104(e)(2)(G)   75 days’ incarceration        60 days’ incarceration
                                                                     36 months’ probation          36 months’ probation
                                                                     60 hours’ community service   60 hours’ community service
                                                                     $500 restitution              $500 restitution
 Conover, Thomas    1:21-CR-00743-FYP    40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration        36 months’ probation
                                                                     36 months’ probation          $2,500 fine
                                                                     60 hours’ community service   60 hours’ community service
                                                                     $500 restitution              $500 restitution
 Lavin, Jean        1:21-CR-00596-BAH    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration        10 days’ intermittent confinement
                                                                     36 months’ probation          60 days’ home detention
                                                                     $500 restitution              36 months’ probation
                                                                                                   $2,500 fine
                                                                                                   $500 restitution
 Krzywicki, Carla   1:21-CR-00596-BAH    40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration        36 months’ probation
                                                                     36 months’ probation          3 months’ home detention
                                                                     $500 restitution              $500 restitution
 Kulas, Christian   1:21-CR-00397-TFH    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration        6 months’ probation
                                                                     36 months’ probation          60 days’ home detention
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution
 Kulas, Mark        1:21-CR-00693-TFH    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration        6 months’ probation
                                                                     36 months’ probation          60 days’ home detention
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution
 Von Bernewitz,     1:21-CR-00307-CRC    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration        60 days’ home detention
 Eric                                                                36 months’ probation          24 months’ probation
                                                                     60 hours’ community service   $1,000 fine
                                                                     $500 restitution              $500 restitution
 Von Bernewitz,     1:21-CR-00307-CRC    40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration        30 days’ incarceration
 Paul                                                                36 months’ probation          $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
 Ballesteros,       1:21-CR-00580-DLF    40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration        36 months’ probation
 Robert                                                              24 months’ probation          40 hours’ community service
                                                                     60 hours’ community service   $500 restitution

                                                                20
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 34 of 151
Monday, January 6, 2025


                                                                       $500 restitution
 Sarko, Oliver      1:21-CR-00591-CKK    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Vuksanaj,          1:21-CR-00620-BAH    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         42 days’ intermittent confinement
 Anthony                                                               36 months’ probation            3 months’ home detention
                                                                       60 hours’ community service     36 months’ probation
                                                                       $500 restitution                $2,000 fine
                                                                                                       $500 restitution
 Creek, Kevin       1:21-CR-00645-DLF    18 U.S.C. § 111(a)(1)         27 months’ incarceration        27 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Peart, Willard     1:21-CR-00662-PLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ home detention
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     240 hours’ community service
                                                                       $500 restitution                $500 fine
                                                                                                       $500 restitution
 Webler, Matthew    1:21-CR-00741-DLF    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                       $500 restitution                $500 restitution
 Mostofsky,         1:21-CR-00138-JEB    18 U.S.C. § 641               15 months’ incarceration        8 months’ incarceration
 Aaron                                   18 U.S.C. § 231(a)(3)         36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)        $2,000 restitution              200 hours’ community service
                                                                                                       $2,000 restitution
 Entrekin, Nathan   1:21-CR-00686-FYP    40 U.S.C. § 5104(e)(2)(G)     105 days’ incarceration         45 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Kidd, Nolan        1:21-CR-00429-CRC    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                       36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Baker, Stephen     1:21-CR-00273-TFH    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          9 days’ intermittent confinement
                                                                       $500 restitution                24 months’ probation
                                                                                                       $500 restitution


                                                                  21
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 35 of 151
Monday, January 6, 2025


 McDonald,          1:21-CR-00429-CRC    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           21 days’ incarceration
 Savannah                                                              36 months’ probation              $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Honeycutt, Adam    1:22-CR-00050-CJN    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           3 months’ incarceration
                                                                       36 months’ probation              $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Spain, Jr.,        1:21-CR-00651-DLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            36 months’ probation
 Edward                                                                36 months’ probation              60 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Kramer, Philip     1:21-CR-00413-EGS    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            30 days’ incarceration
                                                                       36 months’ probation              $2,500 fine
                                                                       60 hours’ community service       100 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Ehmke, Hunter      1:21-CR-00029-TSC    18 U.S.C. § 1361              4 months’ incarceration           4 months’ incarceration
                                                                       36 months’ supervised release     36 months’ supervised release
                                                                       $2,181 restitution                $2,181 restitution
 Chapman, Robert    1:21-CR-00676-RC     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            3 months’ home detention
                                                                       36 months’ probation              18 months’ probation
                                                                                                         $742 fine
                                                                                                         60 hours’ community service
                                                                                                         $500 restitution
 Timbrook,          1:21-CR-00361-TNM    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           14 days’ incarceration
 Michael                                                               36 months’ probation              12 months’ probation
                                                                                                         $500 restitution
 Miller, Matthew    1:21-CR-00075-RDM    18 U.S.C. § 1512(c)(2)        51 months’ incarceration          33 months’ incarceration
                                         18 U.S.C. § 111(a)(1)         36 months’ supervised release     24 months’ probation
                                                                                                         $2,000 restitution
                                                                                                         100 hours’ community service
 Hemphill, Pamela   1:21-CR-00555-RCL    40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            60 days’ incarceration
                                                                       36 months’ probation              36 months’ probation
                                                                                                         $500 restitution
 Rubenacker, Greg 1:21-CR-00193-BAH      18 U.S.C. § 231(a)(3)         46 months’ incarceration          41 months’ incarceration
                                         18 U.S.C. § 1512(c)(2)        36 months’ supervised release     36 months’ supervised release

                                                                  22
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25          Page 36 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 111(a)                                             $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(E)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)
 Johnson, Daniel   1:21-CR-00407-DLF     18 U.S.C. § 231(a)(3)        6 months’ incarceration           4 months’ incarceration
                                                                      12 months’ supervised release     12 months’ supervised release
                                                                                                        $2,000 restitution
 Johnson, Daryl    1:21-CR-00407-DLF     18 U.S.C. § 231(a)(3)        3 months’ incarceration           30 days’ incarceration
                                                                      12 months’ supervised release     12 months’ supervised release
                                                                                                        $2,000 fine
                                                                                                        $2,000 restitution
 Buhler, Janet     1:21-CR-00510-CKK     40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            30 days’ incarceration
                                                                      36 months’ probation              36 months’ probation
                                                                                                        $500 restitution
 Tagaris, Jody     1:21-CR-00368-JDB     40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            24 months’ probation
                                                                      36 months’ probation              $2,000 fine
                                                                      $500 restitution                  $500 restitution
                                                                                                        60 hours’ community service
 Heinl, Jennifer   1:21-CR-00370-EGS     40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            14 days’ incarceration
                                                                      36 months’ probation              24 months’ probation
                                                                      $500 restitution                  $500 restitution
 Sywak, William    1:21-CR-00494-RC      40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration            60 days’ home detention
 Jason                                                                36 months’ probation              12 months’ probation
                                                                      60 hours’ community service       60 hours’ community service
                                                                      $500 restitution                  $500 restitution
 Sywak, William    1:21-CR-00494-RC      40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            4 months’ home detention
 Michael                                                              36 months’ probation              24 months’ probation
                                                                      $500 restitution                  60 hours’ community service
                                                                                                        $500 restitution
 Laurens, Jonathan 1:21-CR-00450-RC      40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration            60 days’ home detention
                                                                      36 months’ probation              12 months’ probation
                                                                      $500 restitution                  $742 fine

                                                                 23
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25          Page 37 of 151
Monday, January 6, 2025


                                                                                                         $500 restitution
                                                                                                         60 hours’ community service
 Cooke, Nolan       1:22-CR-00052-RCL    18 U.S.C. § 231(a)(3)         11 months’ incarceration          366 days’ incarceration
                                                                       36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Gold, Simone       1:21-CR-00085-CRC    18 U.S.C. § 1752(a)(1)        3 months’ incarceration           60 days’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $9,500 fine
                                                                       60 hours’ community service       $500 restitution
 Griffin, Cuoy      1:21-CR-00092-TNM    18 U.S.C. § 1752(a)(1)        60 days’ incarceration            14 days’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
 Stackhouse,        1:21-CR-00240-BAH    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            14 days’ incarceration
 Lawrence                                                              36 months’ probation              36 months’ probation
                                                                       $500 restitution                  $500 restitution
 Baranyi,           1:21-CR-00062-JEB    18 U.S.C. § 1752(a)(1)        4 months’ incarceration           30 days’ incarceration
 Lawrence                                                              12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $500 restitution
 Evans, Derrick     1:21-CR-00337-RCL    18 U.S.C. § 231(a)(3)         3 months’ incarceration           3 months’ incarceration
                                                                       36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
                                                                                                         $2,000 fine
 Lucard, Carson     1:22-CR-00087-BAH    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration           21 days’ intermittent confinement
                                                                       36 months’ probation              36 months’ probation
                                                                       $500 restitution                  60 days’ home detention
                                                                                                         $500 restitution
 Cunningham,        1:21-CR-00603-RC     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            3 months’ home detention
 Christopher                                                           36 months’ probation              12 months’ probation
                                                                       $500 restitution                  $1,113 fine
                                                                                                         $500 restitution
 Prezlin, Brandon   1:21-CR-00694-TNM    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            10 months’ probation
                                                                       36 months’ probation              $2,500 fine
                                                                       $500 restitution                  120 hours’ community service
                                                                                                         $500 restitution
 Weisbecker,        1:21-CR-00682-TFH    40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration            30 days’ intermittent confinement
 Philip                                                                36 months’ probation              24 months’ probation
                                                                       $500 restitution                  $2,000 fine

                                                                  24
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25          Page 38 of 151
Monday, January 6, 2025


                                                                                                          $500 restitution
 Sidorski, Dennis    1:21-CR-00048-ABJ   18 U.S.C. § 1752 (a)(2)        12 months’ incarceration          100 days’ incarceration
                                                                        12 months’ supervised release     12 months’ supervised release
                                                                        $500 restitution                  50 hours’ community service
                                                                                                          $500 restitution
 Bromley, Phillip    1:21-CR-00250-PLF   18 U.S.C. § 1752(a)(2)         12 months’ incarceration          3 months’ incarceration
                                                                        12 months’ supervised release     12 months’ supervised release
                                                                        $500 restitution                  $4,000 fine
                                                                                                          $2,000 restitution
 Revlett, Jordan     1:21-CR-00281-JEB   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration            14 days’ incarceration
                                                                        36 months’ probation              12 months’ probation
                                                                        $500 restitution                  80 hours’ community service
                                                                                                          $500 restitution
 Snow, Robert        1:22-CR-00030-TJK   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration            12 months’ probation
                                                                        36 months’ probation              60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Torre, Benjamin     1:21-CR-00143-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration            12 months’ probation
                                                                        36 months’ probation              $1,113 fine
                                                                        $500 restitution                  60 hours’ community service
                                                                                                          $500 restitution
 Grace, Jeremey      1:21-CR-00492-JDM   18 U.S.C. § 1752 (a)(1)        60 days’ incarceration            21 days’ incarceration
                                                                        12 months’ supervised release     12 months’ supervised release
                                                                        60 hours’ community service       60 hours’ community service
                                                                        $500 restitution                  $500 restitution
 Getsinger, John     1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration            60 days’ incarceration
                                                                        36 months’ probation              36 months’ probation
                                                                        $500 restitution                  100 hours’ community service
                                                                                                          $500 restitution
 Hargis-Getsinger,   1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration            60 days’ incarceration
 Stacie                                                                 36 months’ probation              36 months’ probation
                                                                        $500 restitution                  100 hours’ community service
                                                                                                          $500 restitution
 Suarez, Marissa     1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration            36 months’ probation
                                                                        36 months’ probation              60 hours’ community service
                                                                        $500 restitution                  $2,000 fine
                                                                                                          $500 restitution

                                                                   25
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25          Page 39 of 151
Monday, January 6, 2025


 Todisco, Patricia   1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            36 months’ probation
                                                                      36 months’ probation              60 hours’ community service
                                                                      $500 restitution                  $2,000 fine
                                                                                                        $500 restitution
 Blair, David        1:21-CR-00186-CRC   18 U.S.C. § 231(a)(3)        8 months’ incarceration           5 months’ incarceration
                                                                      36 months’ supervised release     18 months’ supervised release
                                                                      $2,000 restitution                $2,000 restitution
 Griswold,           1:21-CR-00459-CRC   18 U.S.C. § 231(a)(3)        5 months’ incarceration           75 days’ incarceration
 Andrew                                                               36 months’ supervised release     24 months’ supervised release
                                                                      $2,000 restitution                $2,000 restitution
 Blakely, Kevin      1:21-CR-00356-EGS   40 U.S.C. § 5104(e)(2)(G)    4 months’ incarceration           4 months’ incarceration
                                                                      36 months’ probation              18 months’ probation
                                                                      $500 restitution                  100 hours’ supervised release
                                                                                                        $500 restitution
 Persick, Kerry      1:21-CR-00485-BAH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration            36 months’ probation
                                                                      36 months’ probation              90 days’ home detention
                                                                      $500 restitution                  $5,000 fine
                                                                                                        $500 restitution
 Ticas, David        1:21-CR-00601-JDB   40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration           14 days’ incarceration
                                                                      36 months’ probation              24 months’ probation
                                                                      60 hours’ community service       60 hours’ community service
                                                                      $500 restitution                  $500 restitution
 Lindsey, Terry      1:21-CR-00162-BAH   18 U.S.C. § 1752(a)(1)       12 months’ incarceration          5 months’ incarceration
                                         40 U.S.C. § 5104(e)(2)(D)    12 months’ supervised release     36 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)    60 hours’ community service       $500 restitution
                                                                      $500 restitution
 Mattice, Cody       1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)        44 months’ incarceration          44 months’ incarceration
                                                                      36 months’ supervised release     36 months’ supervised release
                                                                      $2,000 restitution                $2,000 restitution
 Mault, James        1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)        44 months’ incarceration          44 months’ incarceration
                                                                      36 months’ supervised release     36 months’ supervised release
                                                                      $2,000 restitution                $2,000 restitution
 Bancroft, Dawn      1:21-CR-00271-ESG   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration            60 days’ incarceration
                                                                      36 months’ probation              36 months’ probation
                                                                      60 hours’ community service       $500 restitution
                                                                      $500 restitution

                                                                 26
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 40 of 151
Monday, January 6, 2025


 Santos-Smith,      1:21-CR-00271-ESG    40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          20 days’ incarceration
 Diana                                                                   36 months’ probation            36 months’ probation
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Buckler, Matthew   1:22-CR-00162-TNM    40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          14 days’ home detention
                                                                         36 months’ probation            24 months’ probation
                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $500 restitution
 Romero, Moises     1:21-CR-00677-TSC    18 U.S.C. § 231(a)(3)           11 months’ incarceration        12 months’ and 1 days’
                                                                         36 months’ supervised release   incarceration
                                                                         $2,000 restitution              12 months’ supervised release
                                                                                                         $2,000 restitution
 Ponder, Mark       1:21-CR-00259-TSC    18 U.S.C. § 111(a)(1) and (b)   60 months’ incarceration        63 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
                                                                                                         Mental health treatment
 Bishai, Elliot     1:21-CR-00282-TSC    18 U.S.C. § 1752(a)(1)          30 days’ incarceration          14 days’ incarceration
                                                                         12 months’ supervised release   12 months’ supervised release
                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $500 restitution
 Reffitt, Guy       1:21-CR-00032-DLF    18 U.S.C. § 231(a)(2)           180 months’ incarceration       87 months’ incarceration
                                         18 U.S.C. § 1512(c)(2)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 231(a)(3)
                                         18 U.S.C. § 1512(a)(2)(C)
                                         18 U.S.C. § 231(a)(2)           87 months’ incarceration        80 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 231(a)(3)           $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1512(a)(2)(C)

                                         *Post-Fischer
                                         resentencing, 1512(c)(2) was
                                         an original count of
                                         conviction
 Caplinger,         1:21-CR-00342-PLF    40 U.S.C. § 5104(d)             3 months’ incarceration         35 days’ incarceration
 Jeremiah                                                                36 months’ probation            24 months’ probation

                                                                  27
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 41 of 151
Monday, January 6, 2025


                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Cavanaugh,         1:21-CR-00362-APM    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            24 months’ probation
 Andrew                                                                36 months’ probation              60 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Baggott, Matthew   1:21-CR-00411-APM    18 U.S.C. § 1752(a)(2)        middle of sentencing guidelines   3 months’ incarceration
                                                                       range                             12 months’ supervised release
                                                                       12 months’ supervised release     60 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Willden, Ricky     1:21-CR-00423-RC     18 U.S.C. § 111(a)(1)         30 months’ incarceration          24 months’ incarceration
                                                                       36 months’ supervised release     36 months’ release
                                                                       $2,000 restitution                $2,000 restitution
 Hyland, Jason      1:21-CR-00050-CRC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            7 days’ incarceration
                                                                       36 months’ probation              $500 restitution
                                                                       $500 restitution                  $4,000 fine
 Ortiz, Christopher 1:22-CR-00082-JMC    40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration           12 months’ probation
                                                                       36 months’ probation              60 days’ home detention
                                                                       $500 restitution                  100 hours’ community service
                                                                                                         $500 restitution
 Homer, Lisa        1:22-CR-00238-TNM    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            36 months’ probation
                                                                       36 months’ probation              $5,000 fine
                                                                       60 hours’ community service       60 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Betancur, Bryan    1:21-CR-00051-TJK    18 U.S.C. § 1752(a)(1)        6 months’ incarceration           4 months’ incarceration
                                                                       12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $500 restitution
 Larocca,           1:21-CR-00317-TSC    18 U.S.C. § 1752(a)(2)        3 months’ incarceration           60 days’ incarceration
 Benjamin                                                              12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Simon, Glen        1:21-CR-00346-BAH    18 U.S.C. § 1752(a)(2)        10 months’ incarceration          8 months’ incarceration
 Mitchell                                                              12 months’ supervised release     12 months’ supervised release
                                                                       60 hours’ community service       $1,000 fine
                                                                       $500 restitution                  $500 restitution

                                                                  28
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25      Page 42 of 151
Monday, January 6, 2025


 Cameron, John     1:22-CR-00017-TFH     40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          30 days’ incarceration
                                                                        36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     $1,000 fine
                                                                        $500 restitution                $500 restitution
 Fracker, Jacob    1:21-CR-00034-CRC     18 U.S.C. § 371                6 months’ probation             12 months’ probation
                                                                        36 months’ supervised release   59 days’ home detention
                                                                        $2,000 restitution              120 hours’ community service
                                                                                                        $2,000 restitution

 Lazo, Kene        1:21-CR-00425-CRC     40 U.S.C. § 5104(e)(2)(G)      3 months’ incarceration         45 days’ incarceration
                                                                        36 months’ probation            $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
 Robertson,        1:21-CR-00034-CRC     18 U.S.C. § 1512(c)(2), 2      96 months’ incarceration        87 months’ incarceration
 Thomas                                  18 U.S.C. § 1512(c)(1)         3 years’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 231(a)(3), 2       $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         18 U.S.C. § 231(a)(3), 2       87 months’ incarceration        72 months’ incarceration
                                         18 U.S.C. § 1752(a)(1),        36 months’ supervised release   36 months’ supervised release
                                         (b)(1)(A)                      $2,000 restitution
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         18 U.S.C. § 1512(c)(1)

                                         *Post-Fischer
                                         resentencing, 1512(c)(2) was
                                         an original count of
                                         conviction
 Knutson, Billy    1:22-CR-00031-FYP     18 U.S.C. § 1752(a)(1)         6 months’ incarceration         6 months’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $500 restitution

                                                                29
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 43 of 151
Monday, January 6, 2025


                                                                         $500 restitution
 Carlton, Daniel     1:21-CR-00247-TFH   40 U.S.C. § 5104(e)(2)(G)       3 months’ incarceration         36 months’ supervised release
 Jonathan                                                                36 months’ probation            $500 restitution
                                                                         60 hours’ community service
                                                                         $500 restitution
 Richardson,         1:21-CR-00721-CKK   18 U.S.C. § 111(a)(1)           46 months’ incarceration        46 months’ incarceration
 Howard                                                                  36 months’ supervised release   36 months’ probation
                                                                         $2,000 restitution              $2,000 restitution

 Pruitt, Joshua      1:21-CR-00023-JK    18 U.S.C. § 1512(c)(2)          60 months’ incarceration        55 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Thurlow, Steven     1:21-CR-00615-DLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          24 months’ probation
                                                                         36 months’ probation            80 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Cortez, Christian   1:21-CR-00317-TSC   18 U.S.C. § 231(a)(3)           4 months’ incarceration         4 months’ incarceration
 Glen                                                                    36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              60 hours’ community service
                                                                                                         $2,000 restitution
 Webster, Thomas     1:21-CR-00208-APM   18 U.S.C. § 111(a)(1) and (b)   210 months’ incarceration       120 months’ incarceration
                                         18 U.S.C. § 231(a)(3)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1),         $2,060 restitution              $2,060 restitution
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(f)
 Michetti, Richard   1:21-cr-00232-CRC   18 U.S.C. § 1512(c)(2)          18 months’ incarceration        9 months’ incarceration
                                                                         36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Watson, Sean        1:21-CR-00422-APM   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          7 days’ incarceration
                                                                         36 months’ probations           24 months’ probation
                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $500 restitution

                                                                  30
                          Case 1:21-cr-00382-PLF      Document 176      Filed 01/30/25          Page 44 of 151
Monday, January 6, 2025


 McNicoll, Lois      1:21-CR-00468-DLF     40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration            24 months’ probation
 Lynn                                                                  36 months’ probation              80 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Schwartzberg,       1:21-CR-00338 – TFH   40 U.S.C. § 5104(e)(2)(G)   120 days’ incarceration           45 days’ incarceration
 Dovid                                                                 36 months’ probations             $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution

 Youngers, Darrell   1:21-CR-00640 – TFH   40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration            36 months’ probation
                                                                       36 months’ probation              $1,000 fine
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Vollan, Cody        1:22-CR-00044-APM     40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration            12 months’ probation
                                                                       36 months’ probation              60 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Carollo, Anthoy     1:22-CR-00044-APM     40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration            12 months’ probation
                                                                       36 months’ probation              60 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Carollo, Jeremiah   1:22-CR-00044-APM     40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration            21 days’ incarceration
                                                                       36 months’ probation              12 months’ probation
                                                                       60 hours’ community service       60 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Bratjan, Frank      1:22-CR-00285-TNM     40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration            6 months’ probation
                                                                       36 months’ probation              $1,500 fine
                                                                       60 days’ community service        $500 restitution
                                                                       $500 restitution
 Connor, Francis     1:21-CR-00586-RC      40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration            12 months’ probation
                                                                       36 months’ probation              $371 fine
                                                                       $500 probation                    60 hours’ community service
                                                                                                         $500 probation
 Ferrigno, Antonio   1:21-CR-00586-RC      40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration            12 months’ probation
                                                                       36 months’ probation              $371 fine
                                                                       $500 restitution

                                                                  31
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 45 of 151
Monday, January 6, 2025


 Lunyk, Anton      1:21-CR-00586-RC      40 U.S.C. § 5104(e)(2)(G)     20 days’ incarceration            12 months’ probation
                                                                       36 months’ probation              $742 fine
                                                                       $500 restitution                  60 hours’ community service
                                                                                                         $500 restitution
 Packer, Robert    1:21-CR-00103-CJN     40 U.S.C. § 5104(e)(2)(G)     75 days’ incarceration            75 days’ incarceration
                                                                       36 months’ probation              $500 restitution
                                                                       $500 restitution

 Williams,         1:21-CR-00377-BAH     18 U.S.C. § 1512(c)(2)        64 months’ incarceration          60 months’ incarceration
 Anthony                                 18 U.S.C. § 1752(a)(1)        36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution                $5000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                       $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Vincent, Reva     1:22-CR-0005-TNM      40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            24 months’ probation
                                                                       36 months’ probation              60 hours’ community service
                                                                       60 hours’ community service       $1,500 fine
                                                                       $500 restitution                  $500 restitution
 Lyon, Robert      1:21-CR-00161-RBW     18 U.S.C. § 1752(a)(2)        3 months’ incarceration           40 days’ incarceration
                                         18 U.S.C. § 641               12 months’ supervised release     12 months’ supervised release
                                                                       $2,000 restitution                $1,000 fine
                                                                                                         $2,000 restitution
 Ayres, Stephen    1:21-CR-00156-JDB     18 U.S.C. § 1752(a)(2)        60 days’ incarceration            24 months’ probation
                                                                       12 months’ supervised release     100 hours’ community service
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Hale-Cusanelli,   1:21-CR-00037-TNM     18 U.S.C. § 1512(c)(2)        78 months’ incarceration          48 months’ incarceration
 Tim                                     18 U.S.C. § 1752(a)(1)        36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution                $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Hamner, Thomas    1:21-CR-00689-ABJ     18 U.S.C. § 231(a)(3), 2      60 months’ incarceration          30 months’ incarceration
                                                                       36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                200 hours’ community service
                                                                                                         $2,000 restitution
                                                                                                         Resentenced
                                                                                                         30 months’ incarceration

                                                                  32
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25       Page 46 of 151
Monday, January 6, 2025


                                                                                                          36 months’ supervised release
 Santillan, Blas   1:22-CR-00032-FYP     40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration           45 days’ incarceration
                                                                         36 months’ probation             36 months’ probation
                                                                         60 hours’ community service      60 hours’ community service
                                                                         $500 restitution                 $500 restitution
 Neefe, Marshall   1:21-CR-00567-RCL     18 U.S.C. § 1512(k)             46 months’ incarceration         41 months’ incarceration
                                         18 U.S.C. § 111(a)(1)           36 months’ supervised release    36 months’ supervised release
                                                                         $2,000 restitution               $2,000 restitution

 Smith, Charles    1:21-CR-00567-RCL     18 U.S.C. § 1512(k)             44 months’ incarceration         41 months’ incarceration
 Bradford                                18 U.S.C. § 111(a)(1) and (2)   36 months’ supervised release    36 months’ supervised release
                                                                         $2,000 restitution               $2,000 restitution
 Brannan, Cory     1:21-CR-00637-TSC     40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration           30 days’ incarceration
                                                                         36 months’ probation             24 months’ probation
                                                                         60 hours’ community service      $500 restitution
                                                                         $500 restitution
 Warmus, Daniel    1:21-CR-00417-PLF     40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration           45 days’ incarceration
                                                                         36 months’ probation             24 months’ probation
                                                                         60 hours’ community service      60 hours’ community service
                                                                         $500 restitution                 $500 restitution
 Young, Kyle       1:21-CR-00291-ABJ     18 U.S.C. § 111(a)(1)           86 months’ incarceration         86 months’ incarceration
                                                                         36 months’ supervised release    36 months’ supervised release
                                                                         $2,000 restitution               100 hours’ community service
                                                                                                          $2,000 restitution
 Denney, Lucas     1:22-CR-00070-RDM     18 U.S.C. § 111(b)              A term of incarceration in the   52 months’ incarceration
                                                                         middle of the guideline range    36 months’ supervised release
                                                                         36 months’ supervised release
 Rader, Kenneth    1:22-CR-00057-RCL     40 U.S.C. § 5104(e)(2)(G)       60 days’ incarceration           3 months’ incarceration
                                                                         36 months’ probation             36 months’ probation
                                                                         60 hours’ community service      $500 restitution
                                                                         $500 restitution
 Hentschel, Cara   1:21-CR-00667-FYP     40 U.S.C. § 5104(e)(2)(G)       3 months’ incarceration          36 months’ probation
                                                                         36 months’ probation             $500 restitution
                                                                         60 hours’ community service
                                                                         $500 restitution


                                                                 33
                          Case 1:21-cr-00382-PLF      Document 176      Filed 01/30/25      Page 47 of 151
Monday, January 6, 2025


 Pryer, Mahailya     1:21-CR-00667-FYP     40 U.S.C. § 5104(e)(2)(G)   60 days’ incarceration          45 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Ferreira, Leticia   1:22-CR-00210-TSC     40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          14 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Dropkin,            1:21-CR-00734-JEB     18 U.S.C. § 1752(a)(1)      30 days’ incarceration          30 days’ incarceration
 Lawrence                                  18 U.S.C. § 1752(a)(2)      36 months’ probation            12 months’ supervised release
                                           40 U.S.C. § 5104(e)(2)(D)   60 hours’ community service     $500 restitution
                                           40 U.S.C. § 5104(e)(2)(G)   $500 restitution
 Fisher, Samuel      1:21-CR-00142-CJN     18 U.S.C. § 1752(a)(1)      4 months’ incarceration         4 months’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Galloway,           1:22-CR-00012-CRC     40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          30 days’ incarceration
 Andrew                                                                36 months’ probation            $1,000 fine
                                                                       $500 restitution                $500 restitution
 Munn, Dawn          1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration          36 months’ probation
                                                                       36 months’ probation            3 months’ home detention
                                                                       60 hours’ community service     14 days’ intermittent confinement
                                                                       $500 restitution                60 hours’ community service
                                                                                                       $500 restitution
 Munn, Joshua        1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)   21 days’ incarceration          36 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Munn, Kayli         1:21-CR-00474 - BAH 40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          36 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Munn, Kristi        1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)   21 days’ incarceration          3 months’ home detention
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution

                                                                  34
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 48 of 151
Monday, January 6, 2025


 Munn, Thomas       1:21-CR-00474-BAH    40 U.S.C. § 5104(e)(2)(G)       36 days’ incarceration          36 months’ probation
                                                                         36 months’ probation            3 months’ home detention
                                                                         60 hours’ community service     14 days’ intermittent confinement
                                                                         $500 restitution                60 hours’ community service
                                                                                                         $500 restitution
 Suleski, Ryan      1:21-CR-00376-RDM    18 U.S.C. § 1752(a)(1)          3 months’ incarceration         60 days’ incarceration
                                         18: U.S.C § 641                 12 months’ supervised release   60 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Valadez, Rafael    1:21-CR-00695-JEB    40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          30 days’ incarceration
                                                                         36 months’ probation            $500 restitution
                                                                         60 hours’ community service
                                                                         $500 restitution
 Ryals, Jerry       1:21-CR-00244-CKK    18 U.S.C. § 231(a)(3)           6 months’ incarceration         9 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Secor, Christian   1:21-CR-00157-TNM    18 U.S.C. § 1512(c)(2)          57 months’ incarceration        42 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Fairchild, Jr.,    1:21-CR-00551-TFH    18 U.S.C. § 231(a)(3)           11 months’ incarceration        6 months’ incarceration
 Robert                                                                  36 months’ supervised release   $2,000 restitution
                                                                         $2,000 restitution
 Munger, Jeffrey    1:22-CR-00123-RDM    40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            30 months’ probation
                                                                         4 months’ home detention        60 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Byerly, Alan       1:21-CR-00527-RDM    18 U.S.C. § 111(a)(1)           46 months’ incarceration        34 months’ incarceration
                                         18 U.S.C. § 113(a)(4)           36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Bledsoe, Matthew 1:21-CR-00204-BAH      18 U.S.C. § 1512(c)(2)          70 months’ incarceration        48 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)          $2,000 restitution              $2,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                       $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Mazza, Andrew      1:21-CR-00736-JEB    18 U.S.C. § 111(a)(1) and (b)   78 months’ incarceration        60 months’ incarceration
 Mark                                    22 D.C. Code § 4504             36 months’ supervised release   36 months’ supervised release

                                                                  35
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 49 of 151
Monday, January 6, 2025


                                                                       $2,150 restitution              $2,000 restitution
 Seefried, Hunter    1:21-CR-00287-TNM   18 U.S.C. § 1512(c)(2)        64 months’ incarceration        24 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Rodean, Nicholas    1:21-CR-00057-TNM   18 U.S.C. § 1361              57 months’ incarceration        60 months’probation
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   240 days’ home detention
                                         18 U.S.C. § 1752(a)(2)        $2,048 restitution
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)
 Head,               1:21-CR-00291-ABJ   18 U.S.C. § 111(a)(1)         96 months’ incarceration        90 months’ incarceration
 Albuquerque                                                           36 months’ supervised release   36 months’ supervised release
 Cosper                                                                $2,000 restitution              $2,000 restitution
 Priola, Christine   1:22-CR-00242-TSC   18 U.S.C. § 1512(c)(2)        18 months’ incarceration        15 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Mels, James         1:21-CR-00184-BAH   18 U.S.C. § 1752(a)(1)        30 days’ incarceration          36 months’ probation
 Allen                                                                 12 months’ supervised release   3 months’ home detention
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Clark, Christy      1:21-CR-00218-APM   40 U.S.C. § 5104(e)(2)(G)     4 months’ home detention        24 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Clark, Matthew      1:21-CR-00218-APM   40 U.S.C. § 5104(e)(2)(G)     4 months’ home detention        24 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Spigelmyer, Paul    1:21-CR-00218-APM   18 U.S.C. § 5104 (e)(2)(G)    14 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            45 days’ home detention
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution


                                                                  36
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25      Page 50 of 151
Monday, January 6, 2025


 Logsdon,            1:22-CR-00023-TFH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          14 days’ intermittent confinement
 Christopher                                                           36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Logsdon, Tina       1:22-CR-00023-TFH   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          14 days’ intermittent confinement
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Uptmore, Chance     1:21-CR-00149-RCL   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Uptmore, James      1:21-CR-00149-RCL   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          21 days’ home detention
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Brooks, James       1:22-CR-00018-JMC   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         12 months’ probation
                                                                       12 months’ supervised release   60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Rivera, Jesus       1:21-CR-00060-CKK   18 U.S.C. § 1752(a)(1)        9 months’ incarceration         8 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release   12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     $500 restitution                $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Horvath, Jennifer   1:22-CR-00192-BAH   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          36 months’ probation
                                                                       36 months’ probation            3 months’ home detention
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Faulkner, Troy      1:21-CR-00126-BAH   18 U.S.C. § 1361              5 months’ incarceration         5 months’ incarceration
 Elbert                                                                36 months’ supervised release   36 months’ supervised release
                                                                       $10,560 restitution             $10,560 restitution
 Yazdani-Isfehani,   1:21-CR-00543-CRC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          14 days’ incarceration
 Loammi                                                                36 months’ probation            24 months’ probation
                                                                       60 hours’ community service     100 hours’ community service
                                                                       $500 restitution                $500 restitution
 Yazdani-Isfehani,   1:21-CR-00543-CRC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
 Abigail                                                               36 months’ probation            100 hours’ community service

                                                                  37
                          Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 51 of 151
Monday, January 6, 2025


                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Yazdani-Isfehani,    1:21-CR-00543-CRC   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          24 months’ probation
 Loruhamah                                                               36 months’ probation            100 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Kelly, Kash Lee      1:22-CR-00208-JEB   40 U.S.C. § 5104(e)(2)(G)      6 months’ incarceration         60 days’ incarceration
                                                                         $500 restitution                $500 restitution
 Ashlock, Ryan        1:21-CR-00160-CKK   18 U.S.C. § 1752(a)(1),        135 days’ incarceration         70 days’ incarceration
                                          (b)(1)(A)                      12 months’ supervised release   12 months’ supervised release
                                                                         60 hours’ community service     100 hours’ community service
                                                                         $500 restitution                $500 restitution
 Comeau, Jason        1:21-CR-00629-EGS   40 U.S.C. § 5104(e)(2)(G)      20 days’ incarceration          12 months’ probation
                                                                         36 months’ probation            60 days’ home detention
                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $371 fine
                                                                                                         $500 restitution
 Schaefer, Jeffrey    1:22-CR-00069-TFH   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          30 days’ incarceration
                                                                         60 hours’ community service     $2,000 fine
                                                                         $2,000 fine                     $500 restitution
                                                                         $500 restitution
 Thompson,            1:21-CR-00161-RBW   18 U.S.C. § 1512(c)(2)         70 months’ incarceration        36 months’ incarceration
 Dustin                                   18 U.S.C. § 641                36 months’ supervised release   36 months’ supervised release
                                          18 U.S.C. § 1752(a)(1)         $2,000 restitution              $2,000 fine
                                          18 U.S.C. § 1752(a)(2)                                         $2,000 restitution
                                          40 U.S.C. § 5104(e)(2)(D)
                                          40 U.S.C. § 5104(e)(2)(G)
 Evans III, Treniss   1:21-CR-00225-DLF   18 U.S.C. § 1752(a)(1)         60 days’ incarceration          36 months’ probation
                                                                         12 months’ supervised release   20 days’ intermittent confinement
                                                                         60 hours’ community service     $5,000 fine
                                                                         $500 restitution                $500 restitution
 Castle, Trudy        1:22-CR-00261-CRC   40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                         30 days’ incarceration          $2,000 fine
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution


                                                                    38
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 52 of 151
Monday, January 6, 2025


 DiFrancesco,      1:22-CR-00261-CRC     40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            36 months’ probation
 Kimberly                                                              30 days’ incarceration          $2,000 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Hughes, Joshua    1:21-CR-00106-CKK     18 U.S.C. § 1512(c)(2)        46 months’ incarceration        38 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 Wood, Matthew     1:21-CR-00223-APM     18 U.S.C. § 1512(c)(2)        57 months’ incarceration        12 months’ home detention
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ probation
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              100 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(C)                                     $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Manwaring,        1:22-CR-00270-CJN     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 days’ incarceration
 Landon                                                                36 months’ probation            35 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Panayiotou,       1:22-CR-00055-DLF     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          14 days’ intermittent confinement
 Marcos                                                                36 months’ probation            36 months’ probation
                                                                       $500 restitution                $1,500 fine
                                                                                                       $500 restitution
 Wiersma, David    1:21-CR-00592-ABJ     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          18 months’ probation
                                                                       36 months’ probation            $1,500 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Presley, Ronnie   1:21-CR-257-RDM       18 U.S.C. § 231(a)(3)         16 months’ incarceration        12 months’ incarceration
                                                                       12 months’ supervised release   26 months’ supervised release
                                                                       $2,000 restitution              100 hours’ community service
                                                                                                       $2,000 restitution
 Frankowski,       1:21-CR-00592-ABJ     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          18 months’ probation
 Dawn                                                                  36 months’ probation            100 hours’ community service
                                                                       60 hours’ community service     $750 fine
                                                                       $500 restitution                $500 restitution
 Buxton, Jonas     1:21-CR-00739-JDB     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          18 months’ probation
                                                                       36 months’ probation            40 hours’ community service

                                                                  39
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 53 of 151
Monday, January 6, 2025


                                                                       60 hours’ community service     $500 fine
                                                                       $500 restitution                $500 restitution
 Ianni, Suzanne      1:21-CR-00451-CJN   40 U.S.C. § 5104(e)(2)(D)     30 days’ incarceration          15 days’ incarceration
                                                                       36 months’ probation            30 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Tenney, George      1:21-CR-00640-TFH   18 U.S.C. § 231(a)(3)         48 months’ incarceration        36 months’ incarceration
                                         18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Billingsley,        1:21-CR-00519-TFH   18 U.S.C. § 1752(a)(2)        6 months’ incarceration         24 months’ probation
 Steven                                                                12 months’ supervised release   60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Cantwell, Lewis     1:21-CR-00089-EGS   18 U.S.C. § 231(a)(3)         5 months’ incarceration         5 months’ incarceration
 Easton                                  18 U.S.C. § 231(a)(2)         Term of supervised release      36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Reid, William       1:21-CR-00316-DLF   18 U.S.C. § 1512(c)(1)        78 months’ incarceration        37 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,443 restitution              $2,443 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Allan, Tommy        1:21-CR-00064-CKK   18 U.S.C. § 1512(c)(2)        24 months’ incarceration        21 months’ incarceration
 Frederick                               18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Decarlo, Nicholas   1:21-CR-00073-BAH   18 U.S.C. § 1512(c)(2)        48 months’ incarceration        48 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,500 fine
                                                                                                       $2,000 restitution
 Ochs, Nicholas      1:21-CR-00073-BAH   18 U.S.C. § 1512(c)(2)        51 months’ incarceration        48 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $5,000 fine
                                                                                                       $2,000 restitution
 Gross, Juliano      1:22-CR-00056-APM   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            45 days’ home detention
                                                                       60 hours’ community service     100 hours’ community service
                                                                       $500 restitution                $500 restitution

                                                                  40
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 54 of 151
Monday, January 6, 2025


 Schwab,            1:21-CR-00050-CRC    18 U.S.C. § 1752(a)(2)          90 days’ incarceration          45 days’ incarceration
 Katherine                                                               12 months’ supervised release   12 months’ supervised release
                                                                         60 hours community service      $500 restitution
                                                                         $500 restitution
 Sandlin, Ronald    1:21-CR-00088-DLF    18 U.S.C. § 1512(k)             63 months’ incarceration        63 months’ incarceration
                                         18 U.S.C. § 111(a)(1), 2        36 months’ supervised release   36 months’ supervised release
                                                                         $20,000 fine                    $20,000 fine
                                                                         $2,000 restitution              $2,000 restitution
 Fassell, Marilyn   1:21-CR-00692-CKK    40 U.S.C. § 5104(e)(2)(G)       60 days’ incarceration          30 days’ incarceration
                                                                         36 months’ probation            36 months’ probation
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Fassell, Thomas    1:21-CR-00692-CKK    40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          7 days’ intermittent confinement
                                                                         36 months’ probation            24 months’ probation
                                                                         $500 restitution                $500 restitution
 Rossman, Devin     1:22-CR-00280-BAH    40 U.S.C. § 5104(e)(2)(G)       3 months’ incarceration         32 days’ intermittent confinement
                                                                         36 months’ probation            36 months’ probation
                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $2,000 fine
                                                                                                         $500 restitution
 Lattanzi,          1:22-CR-00028-TSC    40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          14 days’ incarceration
 Nicholas                                                                36 months’ probation            $500 fine
                                                                         $500 restitution                $500 restitution
 Sargent, Troy      1:21-CR-00258-TFH    18 U.S.C. § 231(a)(3)           27 months’ incarceration        14 months’ incarceration
                                         18 U.S.C. § 111(a)(1)           36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)          $2,000 restitution              $500 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(F)
 Council, Matthew   1:21-CR-00207-TNM    18 U.S.C. § 231(a)(3)           30 months’ incarceration        60 months’ probation
                                         18 U.S.C. § 111(a)(1)           36 months’ supervised release   6 months’ home detention
                                         18 U.S.C. § 1752(a)(1)          $2,000 restitution              100 hours community service
                                         18 U.S.C. § 1752(a)(2)                                          $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)


                                                                    41
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25          Page 55 of 151
Monday, January 6, 2025


 Hendrix,          1:21-CR-00426-CKK     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            30 days’ incarceration
 Nicholas                                                              36 months’ probation              36 months’ probation
                                                                       60 hours’ community service
                                                                       $500 restitution
 Jensen, Douglas   1:21-CR-00006-TJK     18 U.S.C. § 231(a)(3)         64 months’ incarceration          60 months’ incarceration
                                         18 U.S.C. § 1512(c)(2)        36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 111(a)(1)         $2,000 restitution                $2,000 restitution
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Johnston, David   1:22-CR-00182-BAH     40 U.S.C. § 5104(e)(2)(G)     42 days’ incarceration            21 days’ intermittent confinement
                                                                       36 months’ probation              3 months’ home detention
                                                                       $500 restitution                  36 months’ probation
                                                                                                         $2,500 fine
                                                                                                         $500 restitution
 Capsel, Matthew   1:22-CR-00107-TSC     18 U.S.C. § 231(a)(3)         31 months’ incarceration          18 months’ incarceration
                                                                       36 months’ supervised release     24 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Brodnax,          1:21-CR-00350-DLF     18 U.S.C. § 1752(a)(1)        18 months’ incarceration          5 months’ incarceration
 Antionne                                18 U.S.C. § 1752(a)(2)        12 months’ supervised release     12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     $500 restitution                  $500 restitution
                                         40 U.S.C. § 5104(e)(2)(E)
 Johnson Jr,       1:22-CR-00228-JDB     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            60 days’ home detention
 Thaddis                                                               36 months’ probation              24 months’ probation
                                                                       60 hours’ community service       60 hours’ community service
                                                                       $500 restitution                  $500 restitution

 Grayson, Kenneth 1:21-CR-00224-TSC      18 U.S.C. § 231(a)(3)         3 months’ incarceration           60 days’ incarceration
                                                                       36 months’ supervised release     24 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 McCormick,        1:21-CR-00710-TSC     18 U.S.C. § 1752(a)(1)        21 days’ incarceration            14 days’ incarceration
 Michael G                                                             36 months’ supervised release     $1,000 fine
                                                                       $500 restitution                  $500 restitution

                                                                  42
                          Case 1:21-cr-00382-PLF    Document 176         Filed 01/30/25      Page 56 of 151
Monday, January 6, 2025


 Bronsburg,          1:21-CR-00144-RBW   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          20 days’ incarceration
 Tammy                                                                  36 months’ supervised release   24 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Bond, Stacy Lee     1:22-CR-00171-JMC   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          20 days’ home detention
                                                                        36 months’ supervised release   18 months’ probation
                                                                        60 hours’ community service     50 hours’ community service
                                                                        $500 restitution                $500 restitution
 Conlon, Paula       1:22-CR-00171-JMC   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          12 months’ probation
                                                                        36 months’ probation            $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
 Hughes, Jerod       1:21-CR-00106-TJK   18 U.S.C. § 1512(c)(2)         51 months’ incarceration        46 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Holdridge, Brent    1:21-CR-00729-RBW   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          60 days’ incarceration
                                                                        36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Gionet, Anthime     1:22-CR-00132-TNM   40 U.S.C. 5104(e)(2)(G)        75 days’ incarceration          60 days’ incarceration
                                                                        36 months’ probation            24 months’ probation
                                                                        60 hours’ community service     $2,000 fine
                                                                        $500 restitution                $500 restitution
 Witzemann,          1:21-CR-00314-TFH   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          24 months’ probation
 Shawn                                                                  36 months’ probation            7 days’ incarceration
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $500 restitution

 Hand, Charles III   1:22-CR-111-JEB     40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          20 days’ incarceration
                                                                        36 months’ probation            6 months’ probation
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Robinson-Hand,      1:22-CR-111-JEB     40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          20 days’ incarceration
 Mandy                                                                  36 months’ probation            6 months’ probation
                                                                        60 hours community service      $500 restitution
                                                                        $500 restitution

                                                                   43
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25          Page 57 of 151
Monday, January 6, 2025


 Clifton,          1:22-CR-00182-BAH     40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration            21 days’ intermittent confinement
 Chadwick                                                              36 months’ probation              36 months’ probation
 Gordon                                                                $500 restitution                  90 days’ home detention
                                                                                                         $500 restitution
 Slaeker, Tyler    1:21-CR-00604-DLF     18 U.S.C. § 1752(a)(1)        3 months’ incarceration           30 days’ home detention
                                                                       12 months’ supervised release     36 months’ probation
                                                                       60 hours’ community service       240 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Herrera, Erik     1:21-CR-619-BAH       18 U.S.C. § 1512(c)(2)        78 months’ incarceration          48 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution                $1,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Montalvo,         1:22-CR-00146-RDM     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            36 months’ probation
 Matthew                                                               36 months’ probation              3 months’ home detention
                                                                       60 hours’ community service       $5,000 fine
                                                                       $500 restitution                  $500 restitution
 Gable, Levi       1:22-CR-00189-JMC     18 U.S.C. § 1752(a)(1)        3 months’ incarceration           24 months’ probation
                                                                       12 months’ supervised release     45 days’ home detention
                                                                       60 hours’ community service       50 hours’ community service
                                                                       $500 restitution                  $1,000 fine
                                                                                                         $25 restitution
 Faulkner, Luke    1:21-CR-00725-RDM     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration            24 months’ probation
                                                                       36 months’ probation              30 days’ home detention
                                                                       60 hours’ community service       60 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Andries, John     1:21-CR-00093-RC      18 U.S.C. § 1512(c)(2)        24 months’ incarceration          12 months’ and 1 day incarceration
                                                                       36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Rahm, James Jr    1:21-CR-00150-TFH     18 U.S.C. § 1512(c)(2)        21 months’ incarceration          12 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution                $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 McGrew, James     1:21-CR-00398-BAH     18 U.S.C. § 111(a)(1)         78 months’ incarceration          78 months’ incarceration
                                                                       36 months’ supervised release     36 months’ supervised release

                                                                  44
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 58 of 151
Monday, January 6, 2025


                                                                         $2,000 restitution              $5,000 fine
                                                                                                         $2,000 restitution
 Baugh, Roger       1:22-CR-00313-JEB    18 U.S.C. § 231(a)(3)           11 months’ incarceration        12 months’ and 1 day incarceration
 Kent                                                                    36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Garcia, Jacob      1:22-CR-00118-DLF    40 U.S.C. § 5104(e)(2)(G)       60 days’ incarceration          30 days’ intermittent confinement
                                                                         36 months’ probation            24 months’ probation
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Moat, Anthony      1:21-CR-00375-TSC    40 U.S.C. § 5104(e)(2)(D)       21 days’ incarceration          10 days’ incarceration
 Richard                                                                 36 months’ probation            $500 restitution
                                                                         60 hours’ community service
                                                                         $500 restitution
 Hernandez,         1:21-CR-00445-CKK    18 U.S.C. § 1512(c)(2)          18 months’ incarceration        18 months’ incarceration
 Andrew Alan                                                             36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Young, Philip      1:21-CR-00617-DLF    18 U.S.C. § 111(a)(1)           40 months’ incarceration        8 months’ incarceration
                                         18 U.S.C. § 231(a)(3)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)          $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Khater, Julian     1:21-CR-00222-TFH    18 U.S.C. § 111(b), 2           90 months’ incarceration        80 months’ incarceration
 Elie                                    18 U.S.C. § 111(b), 2           36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $10,000 fine
                                                                                                         $2,000 restitution
 Tanios, George     1:21-CR-00222-TFH    18 U.S.C. § 1752(a)(1) and      5 months’ and 6 days’           5 months’ and 6 days’ incarceration
                                         (b)(2)                          incarceration                   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2) and      12 months’ supervised release   100 hours’ community service
                                         (b)(2)                          250 hours’ community service    $500 restitution
                                                                         $500 restitution

 Caldwell, Daniel   1:21-CR-00181-CKK    18 U.S.C. § 111(a)(1) and (b)   70 months’ incarceration        68 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution


                                                                  45
                          Case 1:21-cr-00382-PLF    Document 176      Filed 01/30/25          Page 59 of 151
Monday, January 6, 2025


 Moynihan,         1:21-CR-00226-CRC     18 U.S.C. § 1512(c)(2)      37 months’ incarceration          21 months’ incarceration
 Christopher                             18 U.S.C. § 1752(a)(1)      36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)      $2,000 restitution                $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Hernandez,        1:22-CR-00042-CRC     18 U.S.C. § 231(a)(3)       30 months’ incarceration          24 months’ incarceration
 Joshua                                  18 U.S.C. § 111(a)(1)       36 months’ supervised release     36 months’ supervised release
                                                                     $2,000 restitution                $2,000 restitution
 Alford, Russell   1:21-CR-00263-TSC     18 U.S.C. § 1752(a)(1)      13 months’ incarceration          12 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)      12 months’ supervised release     12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)   $500 restitution                  $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Haynes, Joshua    1:21-CR-00594-TSC     18 U.S.C. § 1512            36 months’ incarceration          32 months’ incarceration
                                         18 U.S.C. § 1363            36 months’ supervised release     36 months’ supervised release
                                                                     $2,000 restitution                $2,000 restitution
 Javid, Iraj       1:22-CR-00077-BAH     40 U.S.C. § 5104(e)(2)(G)   21 days’ incarceration            24 months’ probation
                                                                     36 months’ probation              3 months’ home detention
                                                                     60 hours’ community service       $500 restitution
                                                                     $500 restitution
 Lammons, John     1:22-CR-00103-RCL     40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration            30 days’ incarceration
                                                                     36 months’ probation              36 months’ probation
                                                                     $500 restitution                  $500 restitution
 Uberto, Thomas    1:22-CR-00007-TSC     40 U.S.C. § 5104(e)(2)(G)   14 days’ incarceration            10 days’ incarceration
                                                                     $500 restitution                  $500 restitution
 Archer, Melanie   1:22-CR-00102-JDB     40 U.S.C. § 5104(e)(2)(G)   30 days’ incarceration            18 months’ probation
                                                                     36 months’ probation              50 hours’ community service
                                                                     60 hours’ community service       $500 restitution
                                                                     $500 restitution
 Seefried, Kevin   1:21-CR-00287-TNM     18 U.S.C. § 1512(c)(2)      70 months’ incarceration          36 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)      36 months’ supervised release     12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)      $2,000 restitution                $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Gleffe, Marcos    1:21-CR-00698-FYP     40 U.S.C. § 5104(e)(2)(G)   45 days’ incarceration            60 days’ home detention
                                                                     36 months’ probation              36 months’ probation

                                                                46
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25      Page 60 of 151
Monday, January 6, 2025


                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Jersey, Justin    1:21-CR-00035-RC      18 U.S.C. § 111(b)            63 months’ incarceration        51 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $32,165.65 restitution          $32,165.65 restitution
 Heathcote, Chad   1:22-CR-00232-CJN     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          15 days’ home detention
                                                                       36 months’ probation            36 months’ probation
                                                                       $500 restitution                $500 restitution
 Finley, Jeffrey   1:21-CR-00526-TSC     18 U.S.C. § 1752(a)(1)        90 days’ incarceration          75 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Manwaring,        1:22-CR-00307-CJN     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          36 months’ probation
 Susan                                                                 36 months’ probation            30 days’ home detention
                                                                       $500 restitution                $500 restitution
 Baouche, Jeremy   1:21-CR-00733-CRC     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                       36 months’ probation            24 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Horning, James    1:21-CR-00275-ABJ     18 U.S.C. § 1752(a)(1)        60 days’ incarceration          30 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Bustos, Alexis    1:22-CR-00016-CJN     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Bustos, Bryan     1:22-CR-00016-CJN     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Myers, Rachel     1:22-CR-00074-JMC     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution


                                                                  47
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 61 of 151
Monday, January 6, 2025


 Hubbard, Jeffrey   1:21-CR-00737-CJN    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          45 days’ incarceration
 William                                                               36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 fine
                                                                       $500 restitution                $500 restitution

 Dickinson,         1:21-CR-00649-JDB    18 U.S.C. § 111(a)(1)         27 months’ incarceration        20 months’ incarceration
 Michael                                                               36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Grover, Logan      1:21-CR-00374-APM    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            30 days’ home detention
                                                                       60 hours’ community service
                                                                       $500 restitution
 Sulenta, Derek     1:22-CR-00340-TSC    40 U.S.C. § 5104 (e)(2)(G)    21 days’ incarceration          14 days’ incarceration
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Miller, Garret     1:21-CR-00119-CJN    18 U.S.C. § 231(a)(3)         48 months’ incarceration        38 months’ incarceration
                                         18 U.S.C. § 231(a)(3)         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 231(a)(3)         $2,000 restitution
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 875(c)
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(3)
                                         40 U.S.C. §5104(e)(2)(D)
                                         40 U.S.C. §5104(e)(2)(E)
                                         40 U.S.C. §5104(e)(2)(G)
 Cramer, Country    1:22-CR-00339-RDM    40 U.S.C. § 5104(e)(2)(G)     7 days’ incarceration           48 months’ probation
                                                                       36 months’ probation            45 days’ home detention
                                                                       60 hours’ community service     30 hours’ community service
                                                                       $500 restitution                $500 restitution
 Cramer, Eric       1:22-CR-00339-RDM    18 U.S.C. § 1752(a)(2)        10 months’ incarceration        8 months’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Gordon, Vaughn     1:22-CR-00099-PLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation

                                                                  48
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25      Page 62 of 151
Monday, January 6, 2025


                                                                        36 months’ probation            3 months’ home detention
                                                                        60 hours’ community service     90 hours’ community service
                                                                        $500 restitution                $500 restitution
 Mehaffie, David     1:21-CR-00040-TNM   18 U.S.C. § 111(a)(1), 2       64 months’ incarceration        14 months’ incarceration
                                         18 U.S.C. § 231(a)(3)          36 months’ supervised release   24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D), 2   $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(F)
 Judd, David Lee     1:21-CR-00040-TNM   18 U.S.C. § 111(b)             90 months’ incarceration        32 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2      36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Wright, John        1:21-CR-00341-CKK   18 U.S.C. § 1512(c)(2), 2      60 months’ incarceration        49 months’ incarceration
 Douglas                                                                36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Ashcraft, Neil      1:22-CR-00295-CKK   18 U.S.C. § 641                90 days’ incarceration          80 days’ incarceration
                                         18 U.S.C. § 1752(a)(1)         36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Eckerman,           1:21-CR-00623-CRC   18 U.S.C. § 111(a)(1)          24 months’ incarceration        20 months’ incarceration
 Michael                                                                36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Watson, William     1:21-CR-00513-RBW   18 U.S.C. § 1752(a)(1),        46 months’ incarceration        36 months’ incarceration
                                         (b)(1)(A)                      36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2      $12,000 restitution             100 hours community service
                                                                                                        $12,000 restitution
 Gerwatowski,        1:22-CR-00125-JMC   18 U.S.C. 231(a)(3)            3 months’ incarceration         24 months’ probation
 Eric                                                                   36 months’ supervised release   30 days’ home detention
                                                                        $2,000 restitution              60 hours’ community service
                                                                                                        $2,000 restitution
 Stevens, Tristian   1:21-CR-00040-TNM   18 U.S.C. § 111(a)(1), 2       78 months’ incarceration        60 months’ incarceration
                                         18 U.S.C. § 111(a)(1), 2       36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 111(a)(1), 2       $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 231(a)(3)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D),2
                                         40 U.S.C. § 5104(e)(2)(F),2

                                                                  49
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25      Page 63 of 151
Monday, January 6, 2025


 Ambrose,            1:22-CR-00302-DLF   40 U.S.C. 5104(e)(2)(G)        21 days’ incarceration          36 months’ probation
 Lawrence                                                               60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Gordon, John        1:22-CR-00343-RC    18 U.S.C. 231(a)(3)            18 months’ incarceration        6 months’ incarceration
                                                                        36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Tilley, Todd        1:23-CR-00038-TNM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          48 months’ probation
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $500 restitution
 Irizarry, Elias     1:21-CR-00282-TSC   18 U.S.C. 1752(a)(1)           45 days’ incarceration          14 days’ incarceration
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Egtvedt, Daniel     1:21-CR-00177-CRC   18 U.S.C. § 111(a)(1)          64 months’ incarceration        42 months’ incarceration
                                         18 U.S.C. § 231(a)(3)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2      $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(D)
 Gardner, Mitchell   1:21-CR-00622-APM   18 U.S.C. § 231(a)(3)          71 months’ incarceration        55 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2      36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 111(b)             $3,500 restitution              $3,500 restitution
 Bilyard, Aiden      1:22-CR-00034-RBW   18 U.S.C. § 111(b)             47 months’ incarceration        40 months’ incarceration
 Henry                                                                  36 months’ supervised release   36 months’ supervised release
                                                                        $3,500 restitution              $3,500 restitution
 Brock, Larry        1:21-CR-00140-JDB   18 U.S.C. § 1512(c)(2), 2      60 months’ incarceration        24 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)         36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)         $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Shaw, Daniel        1:22-CR-00001-JEB   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          10 days’ incarceration
                                                                        60 hours’ community service     24 months’ probation
                                                                        $500 restitution                $500 restitution
 Sills, Geoffrey     1:21-CR-00040-TNM   18 U.S.C. § 2111, 2            108 months’ incarceration       52 months’ incarceration
 William                                 18 U.S.C. § 111(b)             36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2      $2,000 restitution              $2,000 restitution

                                                                   50
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25      Page 64 of 151
Monday, January 6, 2025


 Shough, Geoffrey   1:22-CR-00197-DLF    18 U.S.C. § 231(a)(3)        11 months’ incarceration        6 months’ incarceration
                                                                      36 months’ supervised release   12 months’ supervised release
                                                                      $2,000 restitution              200 hours’ community service
                                                                                                      $2,000 restitution
 Miller, Adam       1:22-CR-00191-RCL    18 U.S.C. § 1752(a)(1)       21 days’ incarceration          30 days’ incarceration
                                         40 U.S.C. § 5104(e)(2)(G)    36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Steiner, Devin     1:22-CR-00191-RCL    18 U.S.C. § 1752(a)(1)       30 days’ incarceration          30 days’ incarceration
                                         40 U.S.C. § 5104(e)(2)(G)    36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Dressel, Joshua    1:21-CR-00572-RDM    40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          14 days’ incarceration
                                                                      36 months’ probation            $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
 Williams, Riley    1:21-CR-00618-ABJ    18 U.S.C. § 231(a)(3)        87 months’ incarceration        36 months’ incarceration
                                         18 U.S.C. § 111(a)(1)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)       $3,039 restitution              150 hours’ community service
                                         18 U.S.C. § 1752(a)(2)                                       $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Puma, Anthony      1:21-CR-00454-PLF    18 U.S.C. § 1512(c)(2), 2    18 months’ incarceration        9 months’ incarceration
                                                                      36 months’ supervised release   24 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Montoya, Samuel    1:21-CR-00336-JDB    40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          36 months’ probation
                                                                      36 months’ supervised release   60 hours’ community service
                                                                      60 hours’ community service     120 days’ home detention
                                                                      $500 restitution                $500 restitution
 Hopkins, Kasey     1:22-CR-00317-TSC    40 U.S.C. § 5104(e)(2)(G)    4 months’ incarceration         4 months’ incarceration
                                                                      36 months’ probation            24 months’ probation
                                                                      60 hours’ community service
                                                                      $500 restitution
 Kenyon, Josiah     1:21-CR-00726-CJN    18 U.S.C. § 111(b)           88 months’ incarceration        72 months’ incarceration
                                                                      36 months’ probation            36 months’ probation
                                                                      $41,315.25 restitution          $43,315.25 restitution

                                                                 51
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 65 of 151
Monday, January 6, 2025


 Price, Shawn        1:22-CR-00106-CJN   18 U.S.C. § 231(a)(3)         18 months’ incarceration        12 months’ & 1 day incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Cavanaugh,          1:23-CR-00040-TNM   40 U.S.C. § 5104(e)(2)(D)     30 days’ incarceration          24 months’ supervised release
 Brandon                                 40 U.S.C. § 5104(e)(2)(G)     36 months’ supervised release   14 days’ home detention
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Stallings, Shelly   1:21-CR-00178-APM   18 U.S.C. § 231(a)(3)         51 months' incarceration        24 months' incarceration
                                                                       36 months' supervised release   36 months' supervised release
                                                                       $2,000 restitution
 Sanford, Robert     1:21-CR-00086-PLF   18 U.S.C. § 111(b)            71 months’ incarceration        52 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                                                       $5,798 restitution
 Weibling, Adam      1:21-CR-00644-RDM   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            30 days’ home detention
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Cronin, Kevin       1:22-CR-00233-ABJ   40 U.S.C.§ 5104(e)(2)(D)      30 days’ incarceration          18 months’ probation
                                         40 U.S.C.§ 5104(e)(2)(F)      36 months’ probation            60 hours’ community service
                                         40 U.S.C.§ 5104(e)(2)(G)      60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Barnhart, Logan     1:21-CR-00035-EGS   18 U.S.C. § 111(b), 2         63 months’ incarceration        36 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $3,688 fine
                                                                                                       $2,000 restitution
 Adams, Howard       1:22-CR-358-BAH     18 U.S.C. § 231(a)(3)         12 months’ incarceration        8 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Riley, Michael      1:21‐CR‐00628‐ABJ   18 U.S.C. § 1512(b)(2)(B)     27 months' incarceration        24 months' probation
                                         18 U.S.C. § 1512(c)(1)        24 months' supervised           120 days' home detention
                                                                                                       150 hours community services
                                                                                                       $10,000 fine
 Dennis, Robert      1:21-CR-00679-JEB   18 U.S.C. § 231(a)(3)         64 months’ incarceration        36 months’ incarceration
 Wayne                                   18 U.S.C. § 111(a)(1)         36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 111(a)(1)         $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)

                                                                  52
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25      Page 66 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(F)
 Gillespie, Vincent 1:22-CR-00060-BAH    18 U.S.C. § 111(a)(1)          87 months’ incarceration        68 months’ incarceration
                                         18 U.S.C. § 231(a)(3)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(4)                                         $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(F)
 McCaughey,        1:21-CR-00040-TNM     18 U.S.C.§ 111(a)(1), 2        188 months’ incarceration       90 months’ incarceration
 Patrick Edward                          18 U.S.C.§ 111(b)              36 months’ supervised release   36 months’ supervised release
 III                                     18 U.S.C.§ 1512(c)(2), 2       $2,000 restitution              $2,000 restitution
                                         18 U.S.C.§ 231(a)(3)
                                         18 U.S.C.§ 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C.§ 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D), 2
                                         40 U.S.C.§ 5104(e)(2)(F)
 Sobotka, Weston   1:22-CR-00388-CJN     40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          15 days’ intermittent confinement
                                                                        36 months’ supervised release   36 months’ probation
                                                                        60 hours community service      $500 restitution
                                                                        $500 restitution
 Bender, Luke      1:21-CR-00508-BAH     18 U.S.C. § 1512(c)(2)         30 months’ incarceration        21 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)         $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 1752(a)(1)         21 months’ incarceration        364 days’ incarceration
                                         18 U.S.C. § 1752(a)(2)         36 months’ supervised release   (time served)
                                         40 U.S.C. § 5104(e)(2)(A)      $2000 restitution               24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)

                                         *Post-Fischer
                                         resentencing, 1512(c)(2), 2
                                         was an original
                                         count of conviction

                                                                 53
                          Case 1:21-cr-00382-PLF    Document 176         Filed 01/30/25      Page 67 of 151
Monday, January 6, 2025


 Mitchell, Landon    1:21-CR-00508-BAH   18 U.S.C. § 1512(c)(2)         30 months’ incarceration        27 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)         $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Allen, Chase        1:22-CR-00361-DLF   40 U.S.C. § 5104(e)(2)(F)      14 days’ incarceration          14 days’ intermittent confinement
                                                                        36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     50 hours’ community service
                                                                        $500 restitution                $500 restitution
 Massie, Kenneth     1:21-CR-00725-RDM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          30 days’ home detention
                                                                        36 months’ supervised release   24 months’ supervised release
                                                                        60 hours community service      60 hours’ community service
                                                                        $500 restitution                $500 restitution
 Vargas-Santos,      1:21-CR-00047-RDM   18 U.S.C. § 1752(a)(1)         21 days’ incarceration          4 months’ incarceration
 Hector                                  18 U.S.C. § 1752(a)(2)         12 months’ supervised release   12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)      $500 restitution                $2,500 fine
                                         40 U.S.C. § 5104(e)(2)(G)                                      $500 restitution
 Manley, Christian   1:21-CR-00691-TSC   18 U.S.C. § 111(b)             57 months’ incarceration        50 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Therres, Jacob      1:22-CR-00381-JEB   18 U.S.C. § 111(b)             84 months’ incarceration        40 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Colgan, Joshua      1:22-CR-00224-DLF   40 U.S.C. 5104(e)(2)(G)        30 days’ incarceration          28 days’ incarceration
                                                                        36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     90 days’ home detention
                                                                        $500 restitution                $500 restitution
 Hallon, Luis        1:22-cr-00217-DLF   40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          24 months’ probation
                                                                        36 months’ probation            60 hours community service
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Mott, John          1:21-CR-00464-RCL   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          30 days’ incarceration
                                                                        36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution

                                                                   54
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 68 of 151
Monday, January 6, 2025


 Nassif, John        1:21-CR-00421-JDB   18 U.S.C. § 1752(a)(1)        21 months’ incarceration        7 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)        60 hours’ community service     12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     $500 restitution                $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Brown, Jeffrey      1:21-CR-00178-APM   18 U.S.C. § 231(a)(3)         70 months’ incarceration        54 months’ incarceration
                                         18 U.S.C. § 111(a)(1)         36 months’ supervised release   46 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)        $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(D)
 Gould, John         1:22-CR-00311-RD    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          12 months’ probation
 David                                                                 36 months’ supervised release   60 days’ home detention
                                                                       $500 restitution                60 hours’ community service
                                                                                                       $500 restitution
 Sandoval,           1:21-CR-00195-CKK   18 U.S.C. § 1752(a)(1)        90 days’ incarceration          5 months’ incarceration
 Deborah                                                               12 months’ supervised release   12 months’ probation
                                                                       $500 restitution                $500 restitution
 Cruz Jr, Lloyd      1:22-CR-00064-RBW   18 U.S.C. § 1752(a)(1)        12 months’ incarceration        45 days’ incarceration
                                         40 U.S.C. § 5104(e)(2)(G)     12 months’ supervised release   12 months’ supervised release
                                                                       60 hours community service      $500 restitution
                                                                       $500 restitution
 Sherrill, Grayson   1:21-CR-00282-TSC   18 U.S.C. § 111(b)            41 months’ incarceration        7 months’ incarceration
                                                                       36 months’ incarceration        12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Chan, Mick          1:21-CR-00668-TNM   18 U.S.C. § 1752(a)(1)        10 months’ incarceration        3 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)        12 months supervised release    5 months’ home detention
                                         40 U.S.C. § 5104(e)(2)(G)     60 hours’ community service     12 months’ supervised release
                                                                       $500 restitution                $500 restitution
 Schwartz, Peter     1:21-CR-00178-APM   18 U.S.C. § 111(b)            294 months’ incarceration       170 months’ incarceration
                                         18 U.S.C. § 111(b)            36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 111(b)            $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 111(b), 2
                                         18 U.S.C.§ 231(a)(3)
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)


                                                                  55
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 69 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C.§ 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Copeland,         1:21-CR-00570-APM     18 U.S.C. § 111(a)(1)         52 months’ incarceration        36 months’ incarceration
 Landon                                                                36 months’ supervised release   36 months’ supervised release
 Varney, Shelly    1:22-CR-00372-JDB     18 U.S.C. § 641               50 days’ incarceration          24 days’ incarceration
                                         18 U.S.C. § 1752(a)(1)        12 months’ supervised release   12 months’ supervised release
                                                                       $500 restitution                $1,000 fine
                                                                                                       $500 restitution
 Pomeroy,          1:22-CR-00183-TSC     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
 Michael                                                               36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Speed, Hatchet    1:22-CR-00244-TNM     18 U.S.C. § 1512(c)(2), 2     48 months’ incarceration        48 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $10,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                     $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Jones, Brian      1:22-CR-00205-TJK     40 U.S.C.§ 5104(e)(2)(G)      21 days’ incarceration          36 months’ probation
 Raymond                                                               36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 King, Patrick     1:22-CR-00205-TJK     40 U.S.C.§ 5104(e)(2)(G)      60 days’ incarceration          36 months’ probation
 John                                                                  36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Robinson, James   1:22-CR-00267-DLF     40 U.S.C. § 5104(e)(2)(G)     6 months’ incarceration         6 months incarceration
                                                                       36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Colt, Josiah      1:21-CR-00074-DLF     18 U.S.C. § 1512(c)(2), 2     18 months’ incarceration        15 months’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       $1,000 restitution              100 hours’ community service

                                                                  56
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 70 of 151
Monday, January 6, 2025


                                                                                                         $1,000 restitution
 DeGrave,            1:21-CR-00088-DLF   18 U.S.C. § 1512(k)             37 months’ incarceration        37 months’ incarceration
 Nathaniel                               18 U.S.C. § 111(a)(1), 2        36 months’ supervised release   36 months’ supervised release
                                                                         $50,000 fine                    $25,000 fine
                                                                         $2,000 restitution              $2,000 restitution
 Morrison,           1:21-CR-00334-TJK   18 U.S.C. § 1512(c)(2), 2       18 months’ incarceration        8 months’ incarceration
 Katharine                                                               36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              8 months’ home detention
                                                                                                         $2,000 restitution
 Shalvey, Dale       1:21-CR-00334-TJK   18 U.S.C. § 111(a)(1)           51 months’ incarceration        41 months’ incarceration
 Jeremiah                                18 U.S.C. § 1512(c)(2), 2       36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Stottlemyer, Tara   1:21-CR-00334-TJK   18 U.S.C. 1512(c)(2), 2         18 months’ incarceration        8 months’ incarceration
 Aileen                                                                  36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              8 months’ home detention
                                                                                                         $2,000 restitution
 Horvath, Ian        1:22-CR-00344-DLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          36 months’ probation
                                                                         36 months’ probation            $500 restitution
                                                                         60 hours’ community service
                                                                         $500 restitution
 Black, Joshua       1:21-CR-00127-ABJ   18 U.S.C. § 1752(a)(1),         60 months’ incarceration        20 months’ incarceration
                                         (b)(1)(A)                       36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2),         $2,000 restitution              $2,000 restitution
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
 Gerding,            1:21-CR-00131-DLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          24 months’ probation
 Christina                                                               36 months’ probation            60 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Gerding, Jason      1:21-CR-00131-DLF   40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration          24 months’ probation
                                                                         36 months’ probation            60 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Kit, William        1:22-CR-00306-JMC   18 U.S.C. § 1752(a)(1)          90 days’ incarceration          30 days incarceration

                                                                    57
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 71 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1752(a)(2)        24 months’ probation            12 months’ supervised release
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Hazard, Donald     1:22-CR-00117-RDM    18 U.S.C.§ 111(b)             57 months’ incarceration        57 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $450 fine                       $2,000 restitution
                                                                       $2,000 restitution
 Baquero, Julio     1:21-CR-00702-JEB    18 U.S.C. § 231(a)(3)         27 months’ incarceration        18 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $2,000 restitution
                                                                       $2,000 restitution
 Lollar, Joshua     1:21-CR-00152-TSC    18 U.S.C. § 1512(c)(2), 2     46 months’ incarceration        30 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Sirr, Bernard      1:22-CR-00259-TNM    18 U.S.C. § 231(a)(3)         10 months’ incarceration        2 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752 (a)(4)       $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Grider,            1:21-CR-00022-CKK    18 U.S.C. § 231(a)(3)         87 months’ incarceration        83 months’ incarceration
 Christopher                             18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1361, 2           $5,044 restitution              $5,044 restitution
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)
 Morss, Robert      1:21-CR-00040-TNM    18 U.S.C. §1211, 2            109 months’ incarceration       66 months’ incarceration
                                         18 U.S.C. § 111(a)(1), 2      36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1512(c)(2)        $2,000 restitution              $2,000 restitution
 Barnett, Richard   1:21-CR-00038-CRC    18 U.S.C. § 231(a)(3)         87 months’ incarceration        54 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2     36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1),       $25,000 fine                    $2,000 restitution
                                         (b)(1)(A)                     $2,000 restitution


                                                                  58
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25      Page 72 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(C)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 641
 Bokoski, Bradley    1:22-CR-00207-CRC   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          36 months’ probation
                                                                      36 months’ supervised release   150 hours community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Bokoski,            1:22-CR-00207-CRC   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          36 months’ probation
 Matthew                                                              36 months’ supervised release   100 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Brockhoff,          1:21-CR-00524-CKK   18 U.S.C. 111(b)             51 months’ incarceration        36 months’ incarceration
 Nicholas J.                                                          36 months’ supervised release   36 months’ supervised release
                                                                      $2,700 restitution              $2,700 restitution
 Lints, Luke         1:22-CR-00259-TNM   18 U.S.C. § 231(a)(3)        10 months’ incarceration        4 months’ incarceration
                                                                      36 months’ supervised release   4 months’ home detention
                                                                      $2,000 restitution              $2,000 restitution
 Rhodes III, Elmer   1:22-CR-00015-APM   18 U.S.C. § 2384             300 months’ incarceration       216 months incarceration
 Stewart                                 18 U.S.C. § 1512(c)(2), 2    36 months’ supervised release   36 months supervised release
                                         18 U.S.C. § 1512(c)(1), 2    $2,000 restitution
                                                                      $35,000 fine
 Meggs, Kelly        1:22-CR-00015-APM   18 U.S.C. § 2384             252 months’ incarceration       144 months’ incarceration
                                         18 U.S.C. § 1512(k)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2    $2,000 restitution
                                         18 U.S.C. § 372              $35,000 fine
                                         18 U.S.C. § 1512(c)(1), 2
 Watkins, Jessica    1:22-CR-00015-APM   18 U.S.C. § 1512(k)          216 months’ incarceration       102 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2    36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 372              $2,000 restitution
                                         18 U.S.C. § 231(a)(3), 2
 Harrelson,          1:22-CR-00015-APM   18 U.S.C. § 1512(c)(2), 2    180 months’ incarceration       48 months’ incarceration
 Kenneth                                 18 U.S.C. § 372              36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1512(c)(1)       $2,000 restitution

                                                                 59
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25      Page 73 of 151
Monday, January 6, 2025


 Bauer, Pauline     1:21-CR-00386-TNM    18 U.S.C. § 1512(c)(2), 2    78 months’ incarceration        27 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)       36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)       $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Shively, Barton    1:21-CR-00151-JMC    18 U.S.C. § 111(a)(1)        37 months’ incarceration        18 months’ incarceration
 Wade                                                                 36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Minuta, Roberto    1:22-CR-00015-APM    18 U.S.C. § 2384             204 months’ incarceration       54 months’ incarceration
                                         18 U.S.C. § 1512(k)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2    $2,000 restitution
                                         18 U.S.C. § 372
 Vallejo, Edward    1:22-CR-00015-APM    18 U.S.C. § 2384             204 months’ incarceration       36 months’ incarceration
                                         18 U.S.C. § 1512(k)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2    $2,000 restitution              12 months’ home detention
                                         18 U.S.C. § 372
 Hazelton,          1:21-CR-00030-JDB    18 U.S.C. 231(a)(3), 2       11 months’ incarceration        10 days’ incarceration
 Stephanie                                                            36 months’ supervised release   90 days’ home detention
                                                                      $2,000 restitution              24 months’ supervised release
                                                                                                      $2,000 restitution
 Mink, Jorden       1:21-CR-00025-RDM    18 U.S.C. § 641, 2           64 months’ incarceration        51 months’ incarceration
                                         18 U.S.C. § 111(b)           36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Strand, John       1:21-CR-00085-CRC    18 U.S.C. 1512(c)(2), 2      78 months’ incarceration        32 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)       36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)       $2,000 restitution              $10,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                    $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Hackett, Joseph    1:22-CR-00015-APM    18 U.S.C. § 2384             144 months’ incarceration       42 months’ incarceration
                                         18 U.S.C. § 1512(k)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2    $2,000 restitution
                                         18 U.S.C. § 372
 Moerschel, David   1:22-CR-00015-APM    18 U.S.C. § 2384             120 months’ incarceration       36 months’ incarceration
                                         18 U.S.C. § 1512(k)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2    $2,000 restitution
                                         18 U.S.C. § 372

                                                                 60
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25      Page 74 of 151
Monday, January 6, 2025


 Nix, Gregory        1:21-CR-00678-BAH   18 U.S.C. § 111(b)            70 months’ incarceration        42 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Harris, Johnny      1:21-CR-00274-RDM   18 U.S.C. § 1752(a)(2)        12 months’ incarceration        7 months’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Goodwyn, Daniel     1:21-CR-00153-RBW   18 U.S.C. § 1752(a)(1)        90 days’ incarceration          60 days’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $500 restitution                $500 restitution
 Carey, Thomas       1:22-CR-00375-CKK   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          14 days’ intermittent confinement
                                                                       36 months’ supervised release   36 months’ probation
                                                                       $500 restitution                $500 restitution
 Cronin II, Kevin    1:22-CR-00233-ABJ   40 U.S.C.§ 5104(e)(2)(D)      60 days’ incarceration          30 days’ incarceration
                                         40 U.S.C.§ 5104(e)(2)(F)      36 months’ supervised release   $500 restitution
                                         40 U.S.C.§ 5104(e)(2)(G)      $500 restitution
 Roche, Michael      1:22-CR-00086-BAH   18 U.S.C. § 1512(c)(2), 2     18 months’ incarceration        18 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Niemela, Kirstyn    1:22-CR-00025-CRC   18 U.S.C. § 1752(a)(1)        11 months’ incarceration        11 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release   12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     $3,672 fine                     $1,000 fine
                                         40 U.S.C. § 5104(e)(2)(G)     $500 restitution                $500 restitution
 Chiguer, Stefanie   1:22-CR-00025-APM   40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            24 months’ probation
                                                                       60 days’ home detention         120 hours’ community service
                                                                       120 hours’ community service    $500 restitution
                                                                       $500 restitution
 Maly, Markus        1:21-CR-00178-BAH   18 U.S.C.§ 111(a)(1)          188 months’ incarceration       72 months’ incarceration
                                         18 U.S.C.§ 1752(a)(1)                                         36 months’ supervision
                                         18 U.S.C.§ 1752(a)(2)
                                         18 U.S.C.§ 231(a)(3)
                                         40 U.S.C.§ 5104(e)(2)(D)


                                                                  61
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 75 of 151
Monday, January 6, 2025


 Cohen,            1:22-CR-00393-DLF     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          36 months’ probation
 Menachem                                                              36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Walls-Kaufman     1:22-CR-00216 -JMC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          60 days’ incarceration
                                                                       36 months’ probation            $500
                                                                       60 hours’ community service
                                                                       $500 restitution
 Armstrong,        1:22-CR-00045-RCL     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration
 Kenneth                                                               36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Lovley, Paul E.   1:23-CR-00019-TJK     40 U.S.C. § 5104(e)(2)(D),    30 days’ incarceration          14 days’ incarceration
                                         (e)(2)(G)                     36 months’ probation            36 months’ probation
                                                                       $500 restitution                $500 restitution
 Slye, Mikhael     1:22-CR-334-JEB       18 U.S.C. § 111(a)(1)         57 months’ incarceration        30 months’ incarceration
                                                                       36 months’ supervised release   18 months’ probation
                                                                       $2,000 restitution              $2,000 restitution
 Wargo, Colton     1:22-CR-00319-RCL     40 U.S.C.§ 5104(e)(2)(G)      14 days’ incarceration          14 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Wargo, Kimberly   1:22-CR-00319-RCL     40 U.S.C.§ 5104(e)(2)(G)      14 days’ months incarceration   14 days’ months incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Liu, Jia          1:21-CR-00711-TJK     18 U.S.C. 1752(a)(1)          6 months’ incarceration         4 months incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       $500 restitution                $500 restitution
 Courson, Mason    1:21-CR-00035-RC      18 U.S.C. 111(b), 2           87 months’ incarceration        57 months’ incarceration
 Joel                                                                  36 months’ supervised release   36 months’ supervised release
                                                                       $34,776 fine                    $2,000 restitution
                                                                       $2,000 restitution
 Vogel, William    1:21-CR-00056-CKK     40 U.S.C. § 5104(e)(2)        30 days’ incarceration          30 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service

                                                                  62
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25          Page 76 of 151
Monday, January 6, 2025


                                                                       $500 restitution
 Adams Jr,          1:21-CR-00354-APM    18 U.S.C. § 1752(a)(1)        34 months’ incarceration          14 months’ incarceration
 Thomas                                  18 U.S.C. § 1512(c)(2), 2     36 months’ supervised release     36 months’ supervised release
                                                                       60 hours’ community service       $2,000 restitution
                                                                       $500 restitution
                                         18 U.S.C. § 1752(a)(1)        12 months’ incarceration          5 months’ and 5 days’ incarceration
                                                                                                         (credit time served)
                                         *Post-Fischer                                                   12 months’ supervised release
                                         resentencing, 1512(c)(2), 2                                     $500 restitution
                                         was an original
                                         count of conviction
 Steele-Smith,      1:21-CR-00077-RDM    18 U.S.C. § 1752(a)(1)        60 days’ incarceration            90 days’ incarceration
 Melody                                                                36 months’ probation              36 months’ probation
                                                                       60 hours’ community service       $500 restitution
                                                                       $500 restitution
 Rodriguez,         1:21-CR-00246-ABJ    18 U.S.C. § 371               168 months’ incarceration         151 months’ incarceration
 Daniel                                  18 U.S.C. § 1512(c)(2), 2     $98,927.18 restitution            36 months’ supervised release
                                         18 U.S.C. § 1512(c)(1)                                          $98,927 restitution
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 111(b)
 Williams,          1:22-CR-00265-RC     18 U.S.C. § 1752(a)(1)        15 months’ incarceration          6 months’ incarceration
 Timothy W.                              18 U.S.C. § 641               12 months’ supervised release     12 months’ supervised release
                                                                       60 hours’ community service       6 months’ home detention
                                                                       $500 restitution                  12 months’ supervised release
                                                                                                         $500 restitution
 Kovacik, Paul      1:22-CR-00239-RBW    40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration            90 days’ incarceration
                                                                       $500 restitution                  36 months’ probation
                                                                                                         $500 restitution
                                                                       90 days’ incarceration            Resentenced2
                                                                       36 months’ probation              90 days’ incarceration (credit time
                                                                       $500 restitution                  served)
                                                                                                         $500 restitution
 Elliott, James     1:21-CR-00735-RCL    18 U.S.C. § 111(a)(1)         41 months’ incarceration          37 months’ incarceration
 Robert                                                                36 months’ supervised release     24 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Gieswein, Robert   1:21-CR-00024-TNM    18 U.S.C. § 111(b)            60 months’ incarceration          48 months’ incarceration

                                                                  63
                          Case 1:21-cr-00382-PLF    Document 176         Filed 01/30/25      Page 77 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 111(b)             36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Heneghan, Jon       1:22-CR-00061-RBW   18 U.S.C. § 1752(a)(1)         30 days’ incarceration          20 days’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Jarrin, Raul        1:22-CR-00153-RCL   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          30 days incarceration
                                         40 U.S.C. § 5104(e)(2)(G)      36 months’ supervised release   36 months’ supervised release
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $500 restitution
 Kicinski, Carol     1:22-CR-00061-RBW   18 U.S.C. § 1752(a)(1)         30 days’ incarceration          20 days’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Owens, Grady        1:21-CR-00286-BAH   18 U.S.C. 111(a)(1)            42 months’ incarceration        37 months’ incarceration
 Douglas                                 40 U.S.C. 5104(e)(2)(D)        36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Owens, Jason        1:21-CR-00286-      18 U.S.C. 111(a)(1)            27 months’ incarceration        24 months’ incarceration
 Douglas             BBAH                40 U.S.C. 5104(e)(2)(D)        36 months’ supervised release   34 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Cantrell, Jared     1:22-CR-00121-TNM   18 U.S.C. § 1752(a)(1)         10 months’ incarceration        6 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)         24 months’ supervised release   12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)      $500 restitution                4 months’ home detention
                                                                                                        100 hours’ community service
                                                                                                        $500 restitution
 Cantrell, Quentin   1:22-CR-00121-TNM   18 U.S.C. § 1752(a)(1)         60 days’ months incarceration   6 days’ incarceration
                                         40 U.S.C. § 5104(e)(2)         36 months’ supervised release   12 months’ supervised release
                                                                        120 hours community service     100 hours’ community service
                                                                        $500 restitution                $500 restitution
 Wilson, Jodi        1:22-CR-00243-CKK   40 U.S.C. 5104(e)(2)(G)        28 days’ incarceration          20 days’ incarceration
 Lynn                                                                   36 months’ supervised release   36 months’ probation
                                                                        60 hours’ community service
                                                                        $500 restitution
 Temple, Cole        1:22-CR-00243-CKK   40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          36 months’ supervised release
 Andrew                                                                 36 months’ supervised release
                                                                        60 hours’ community service

                                                                   64
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 78 of 151
Monday, January 6, 2025


                                                                         $500 restitution
 Chase, Gabriel    1:23-CR-00018-CKK     40 U.S.C. § 5104(e)(2)(G)       60 days’ incarceration          3 days’ intermittent confinement
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Johnson, Joshua   1:22-CR-00080-CRC     18 U.S.C. § 1512(c)(2), 2       24 months’ incarceration        24 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Ramey, Barry      1:22-CR-00184-DLF     18 U.S.C. § 1752(a)(1)          108 months’ incarceration       60 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(4)          $500 restitution                $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(F)
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 231(a)(3)
 Bensch, Tyler     1:23-CR-00180-TNM     18 U.S.C. 1752(a)(2)            9 months’ incarceration         60 days’ home detention
                                         18 U.S.C. § 641, 2              12 months’ supervised release   24 months’ supervised release
                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $500 restitution
 Rockholt,         1:23-CR-104-TNM       18 U.S.C. § 231(a)(3)           13 months’ incarceration        5 months’ incarceration
 Jonathan                                18 U.S.C. § 641 and 2           36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Beddingfield,     1:22-CR-00066-CJN     18 U.S.C. § 111(a)(1) and (b)   42 months’ incarceration        38 months’ incarceration
 Matthew                                                                 36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Clayton, Cale     1:22-CR-00139-RCL     18 U.S.C. § 111(a)(1)           33 months’ incarceration        30 months’ incarceration
                                                                         36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution
 Brown, Gabriel    1:23-CR-00009-CJN     18 U.S.C.§ 1752(a)(2)           45 days’ incarceration          20 days’ incarceration
                                         40 U.S.C.§ 5104(e)(2)(F)        12 months’ supervised release   12 months’ supervised release
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Korte, Brian      1:22-cr-00183-TSC     40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          21 days’ incarceration
                                                                         36 months’ supervised release   $500 restitution
                                                                         60 hours’ community service
                                                                         $500 restitution
 Scott, Daniel     1:21-CR-00292-RCL     18 U.S.C. § 1512(c)(2)          60 months’ incarceration        60 months’ incarceration

                                                                  65
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25      Page 79 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 111(a)             36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Fitzsimons, Kyle   1:21-CR-000158-RC    18 U.S.C. § 1512(c)(2), 2      188 months’ incarceration       87 months’ incarceration
                                         18 U.S.C. § 231(a)(3)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 111(a)(1)          $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 111(b)
                                         18 U.S.C. § 111(b)
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Hager, Stacy       1:21-CR-00381-TSC    18 U.S.C. § 1752(a)(1)         12 months’ incarceration        7 months’ incarceration
 Wade                                    18 U.S.C. § 1752(a)(2)         $500 restitution                $500 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Lyons, Kevin       1:21-CR-00079- BAH   18 U.S.C. § 1512(c)(2) and 2   56 months’ incarceration        51 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)         36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)         $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(C)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Southard-          1:21-CR-00387-APM    18 U.S.C. § 1512(c)(2)         72 months’ incarceration        72 months’ incarceration
 Rumsey, Audrey                          18 U.S.C. § 111(a)             36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 231(a)(3)          $2,000 restitution              $2,000 restitution
 Valentin, Louis    1:21-CR-00702-JEB    40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          10 days’ intermittent confinement
                                                                        36 months’ supervised release   12 months’ probation
                                                                        $500 restitution                $500 restitution
 Smith, Justin      1:22-CR-00157-RDM    40 U.S.C. § 5104(e)(2)(G)      90 days’ incarceration          36 months’ probation
 Michael                                                                36 months’ supervised release   $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
 Martinez, Victor   1:23-CR-00039-TSC    40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          14 days’ incarceration
                                         40 U.S.C. § 5104 (e)(2)(G)     36 months’ supervised release   36 months’ supervised release

                                                                66
                          Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 80 of 151
Monday, January 6, 2025


                                                                         60 hours’ community service     60 hours’ community service
                                                                         $500 restitution                $500 restitution
 Alberts,             1:21-CR-00026-CRC   18 U.S.C. § 231(a)(3)          120 months’ incarceration       84 months’ incarceration
 Christopher                              18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                          18 U.S.C. § 1752(a)(1),        $2,000 restitution              $2,000 restitution
                                          (b)(1)(A)
                                          18 U.S.C. § 1752(a)(2),
                                          (b)(1)(A)
                                          18 U.S.C. § 1752(a)(4)
                                          40 U.S.C. § 5104(e)(1)(A)(i)
                                          40 U.S.C. § 5104(e)(2)(D)
                                          40 U.S.C. § 5104(e)(2)(F)
                                          22 D.D.C. § 4504(a)
 Jurlina, Zvonimir    1:23-CR-00083-RCL   40 U.S.C. § 5104(e)(2)(F)      14 days’ incarceration          14 days’ incarceration
                                                                         36 months’ probation            24 months’ probation
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Greene, Michael      1:21-CR-00028-APM   18 U.S.C. § 1752(a)(1)         12 months’ incarceration        24 months’ probation
                                                                         12 months’ supervised release   60 hours’ community service
                                                                         $500 restitution
 Stager, Peter        1:21-CR-00035-RC    18 U.S.C. 111(b), 2            78 months’ incarceration        52 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution


 Gundersen, Brian     1:21-CR-00137-RC    18 U.S.C. § 1512(c)(2)         46 months’ incarceration        18 months’ incarceration
                                          18 U.S.C. § 111(a)             36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Cua, Bruno           1:21-CR-00107-RDM   18 U.S.C. § 1512(c)(2), 2      57 months’ incarceration        12 months’ & 1 day incarceration
                                          18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Gianos, Michael      1:22-CR-00074-JMC   18 U.S.C. § 1752(a)(1)         90 days’ incarceration          24 months’ supervised release
                                                                         36 months’ supervised release   30 days’ home detention
                                                                         60 hours’ community service
                                                                         $500 restitution
 Sattler, Zachariah   1:23-CR-00003-RCL   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          30 days’ incarceration

                                                                   67
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 81 of 151
Monday, January 6, 2025


                                                                       36 months’ probation            24 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Bacon, Noah         1:21-CR-00488-CRC   18 U.S.C. § 1512(c)(2), 2     37 months’ incarceration        12 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(B)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Hart, Timothy       1:21-CR-00540-DLF   18 U.S.C. § 231(a)(3)         4 months’ incarceration         36 months’ supervised release
 Allen                                                                 36 months’ supervised release   $2,000 restitution
                                                                       $2,000 restitution
 Sibick, Thomas      1:21-CR-00291-ABJ   18 U.S.C. § 111(a)(1)         71 months’ incarceration        50 months’ incarceration
                                         18 U.S.C. § 661               36 months’ supervised release   36 months’ supervised release
                                                                       $7,500 restitution              $7,500 restitution
 Robinson II,        1:22-CR-00251-ABJ   40 U.S.C. § 5104(e)(2)(G)     120 days’ incarceration         60 days’ incarceration
 Linwood                                                               36 months’ supervised release   $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Robinson, Sr,       1:22-CR-00251-ABJ   40 U.S.C. § 5104(e)(2)(G)     120 days’ incarceration         60 days’ incarceration
 Linwood                                                               36 months’ supervised release   $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Robinson,           1:22-CR-00251-ABJ   40 U.S.C. § 5104(e)(2)(G)     120 days’ incarceration         120 days’ incarceration
 Benjamin                                                              36 months’ supervised release   $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Robinson,           1:22-CR-00251-ABJ   40 U.S.C. § 5104(e)(2)(G)     120 days’ incarceration         30 days’ incarceration
 Brittany                                                              36 months’ supervised release   $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Escalera, Richard   1:22-CR-00364-APM   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          7 days’ intermittent confinement
                                                                       36 months’ probation            24 months’ probation
                                                                       $500 restitution
 Grace, Jeffrey      1:21-CR-00296-RDM   18 U.S.C. § 1752(a)(1)        6 months’ incarceration         75 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release

                                                                  68
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 82 of 151
Monday, January 6, 2025


                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Calhoun, William   1:21-CR-00116-DLF    18 U.S.C. § 1512(c)(2), 2       34 months’ incarceration        18 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)          36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)          $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Sandoval,          1:21-CR-00195-CKK    18 U.S.C. § 231(a)(3)           88 months’ incarceration        88 months’ incarceration
 Salvador                                18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2)          $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
                                         40 U.S.C. § 5104(e)(2)(F)
 Hueso, Josiah      1:22-CR-00225-CRC    40 U.S.C. § 5104(e)(2)(G)       21 days’ incarceration          36 months’ supervised release
                                                                         36 months’ supervised release   50 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Phipps, Daniel     1:21-CR-00044-CJN    18 U.S.C. § 111(a)(1);          33 months’ incarceration        27 months’ incarceration
                                         18 U.S.C. § 231(a)(3)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)          $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 McNamara,          1:23-CR-00119-ABJ    18 U.S.C. § 111(a)(1)           27 months’ incarceration        12 months’ incarceration
 James                                                                   24 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
 Doolin, Joshua     1:21-CR-00447-CJN    18 U.S.C. § 641                 30 months’ incarceration        18 months’ incarceration
                                         18 U.S.C. § 231(a)(3)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)          $4,052 restitution
                                         18 U.S.C. § 1752(a)(2)
 Perkins, Michael   1:21-CR-00447-CJN    18 U.S.C. § 231(a)(3)           90 months’ incarceration        48 months’ incarceration
                                         18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution

                                                                 69
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25      Page 83 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(F)
 Weeks, Bradley    1:21-CR-00247-TFH     18 U.S.C. § 1512(c)(2), 2       27 months’ incarceration        10 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)          36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)          $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 1752(a)(1)          10 months’ incarceration        10 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)          24 months’ supervised release   9 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)       $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)       $500 fine                       $500 fine

                                         *Post-Fischer resentencing,
                                         1512(c)(2), 2 was an original
                                         count of conviction
 Kelly, Leo        1:21-CR-00708-RCL     18 U.S.C. § 1512(c)(2), 2       27 months’ incarceration        30 months’ incarceration
 Christopher                             18 U.S.C. § 1752(a)(1)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)          $2,000 restitution              $5,000 fine
                                         40 U.S.C. § 5104(e)(2)(A)                                       $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(C)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 1752(a)(1)          30 months’ incarceration        12 months’ incarceration (time
                                         18 U.S.C. § 1752(a)(2)          30 months’ supervised release   served)
                                         40 U.S.C. § 5104(e)(2)(A)       $2,000 restitution              12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(C)                                       $5,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                       $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)




                                                                 70
                          Case 1:21-cr-00382-PLF     Document 176         Filed 01/30/25          Page 84 of 151
Monday, January 6, 2025


                                         *Post-Fischer resentencing,
                                         1512(c)(2), 2 was an original
                                         count of conviction
 Gallman, Joei      1:23-CR-00048-ABJ    40 U.S.C. § 5104(e)(2)(G)       15 days’ incarceration            18 months’ probation
                                                                         $500 restitution                  50 hours’ community service
                                                                                                           $500 restitution
 Gallman, William   1:23-CR-00048-ABJ    40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration            18 months’ probation
                                                                         $500 restitution                  50 hours’ community service
                                                                                                           $500 restitution
 Rheiner,           1:22-CR-00108-DLF    18 U.S.C. § 231(a)(3)           21 months’ incarceration          15 months’ incarceration
 Narayana                                                                36 months’ supervised release     36 months’ supervised release
                                                                         $2,000 restitution                $2,000 restitution
 Maimone, Debra     1:21-CR-00289-RDM    18 U.S.C. § 641                 3 months’ incarceration           24 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)          12 months’ supervised release     $1,806 restitution
                                         18 U.S.C. § 1752(a)(2)          60 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(D)       $1,806 restitution
                                         40 U.S.C. § 5104(e)(2) (G)
 Vogel, Philip      1:21-CR-00289-RDM    18 U.S.C. § 641                 5 months’ incarceration           30 days’ incarceration
                                         18 U.S.C. § 1752(a)(1)          12 months’ supervised release     24 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)          60 hours’ community service       $1,806 restitution
                                         40 U.S.C. § 5104(e)(2)(D)       $1,806 restitution
                                         40 U.S.C. § 5104(e)(2) (G)
 Watson, Jesse      1:23-CR-00087-RBW    40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration            36 months’ supervised release
                                                                         60 hours’ community service       $500 restitution
                                                                         $500 restitution
 Yoder, Isaac       1:21-CR-00505-RCL    18 U.S.C. § 1752(a)(1)          13 months’ incarceration          12 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)          36 months’ supervised release     12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)       60 hours’ community service       $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)       $500 restitution
 Nordean, Ethan     1:21-CR-000175-TJK   18 U.S.C. § 238                 324 months’ incarceration         216 months’ incarceration
                                         18 U.S.C. § 1512(k)                                               36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 372
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 1361, 2
 Tarrio, Enrique    1:21-CR-000175-TJK   18 U.S.C. § 2384                396 months’ incarceration         240 months’ incarceration

                                                                 71
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25      Page 85 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1512(k)                                          36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 372
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 1361, 2
 Meggs, Connie      1:21-CR-00028-APM    18 U.S.C. § 1512(k)          97-121 months’ incarceration    15 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2    36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 372              $500 restitution                $500 restitution
                                         18 U.S.C. § 1361, 2
                                         18 U.S.C.§ 1752(a)(1)
 Biggs, Joseph      1:21-CR-000175-TJK   18 U.S.C. § 2384             396 months’ incarceration       204 months incarceration
                                         18 U.S.C. § 1512(k)                                          36 months supervised release
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 372
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 1361, 2
 Rehl, Zachary      1:21-CR-000175-TJK   18 U.S.C. § 2384             360 months’ incarceration       180 months incarceration
                                         18 U.S.C. § 1512(k)                                          36 months supervised release
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 372
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 1361, 2
 Isaacs, William    1:21-CR-00028-APM    18 U.S.C. § 1512(k)          97-121 months’ incarceration    60 months’ probation
                                         18 U.S.C. § 1512(c)(2), 2    36 months’ supervised release   18 months home detention
                                         18 U.S.C. § 372              $500 restitution                500 hours’ community service
                                         18 U.S.C. § 1361,2
                                         18 U.S.C.§ 1752(a)(1)
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 231(a)(3), 2
 Pezzola, Dominic   1:21-CR-000175-TJK   18 U.S.C. § 1512(c)(2), 2    240 months’ incarceration       120 months incarceration
                                         18 U.S.C. § 372                                              36 months supervised release
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 1361, 2
                                         18 U.S.C. § 1361, 2
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 2112

                                                                 72
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25      Page 86 of 151
Monday, January 6, 2025


 Griffith, Anthony   1:21-CR-00244-CKK   18 U.S.C. § 1752(a)(1)       13 months’ incarceration        6 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)       12 months’ supervised release   12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)    60 hours’ community service     $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)    $500 restitution
 Parker, Sandra      1:21-CR-00028-APM   18 U.S.C. § 1512(k)          97-121 months’ incarceration    60 months’ probation
                                         18 U.S.C. § 1512(c)(2), 2    36 months’ supervised release   12 months home detention
                                         18 U.S.C. § 372              $500 restitution                250 hours’ community service
                                         18 U.S.C. § 1361, 2
                                         18 U.S.C.§ 1752(a)(1)
                                         18 U.S.C. § 231(a)(3), 2
 Parker, Bennie      1:21-CR-00028-APM   18 U.S.C. § 1512(k)          78-97 months’ incarceration     60 months’ probation
                                         18 U.S.C. § 1752(a)(1)       36 months’ supervised release   6 months’ home detention
                                                                      $500 restitution                $1,000 fine
 Galetto, Kevin      1:21-CR-00517-CKK   18 U.S.C. § 111(a)           27 months’ incarceration        27 months’ incarceration
                                         18 U.S.C. § 231(a)(3)        36 months’ supervised release   24 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Bonenberger,        1:22-CR-00102-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days’ intermittent           18 months’ probation
 Jordan                                                               confinement                     50 hours’ community service
                                                                      36 months’ probation            $500 restitution
                                                                      60 hours’ community service     $2,000 fine
                                                                      $500 restitution
 Neely, Darrell      1:21-CR-00642-JDB   18 U.S.C. § 641              33 months’ incarceration        28 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)       12 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)       60 hours’ community service     $844.93 restitution
                                         40 U.S.C. § 5104(e)(2)(D)    $844.93 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Sheppard,           1:21-CR-00203-JDB   18 U.S.C. § 1752(a)(1)       37 months’ incarceration        19 months’ incarceration
 Alexander                               18 U.S.C. § 1752(a)(2)       36 months’ supervised release   24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)    $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 1512(c)(2)
 Leyden, Daniel      1:22-CR-00314-TNM   18 U.S.C. § 111(b)           72 months’ incarceration        38 months’ incarceration
                                                                      36 months’ supervised release   12 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Leyden, Joseph      1:22-CR-00314-TNM   18 U.S.C. § 111(a)(1)        27 months’ incarceration        6 months’ incarceration
                                                                      36 months’ supervised release   12 months’ supervised release

                                                                 73
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 87 of 151
Monday, January 6, 2025


                                                                       $2,000 restitution              40 hours’ community service
                                                                                                        $2,000 restitution
 Machacek,         1:23-CR-00121-JMC     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          12 months’ probation
 Brennen                                                               60 hours community service      30 hours’ community service
                                                                       $500 restitution                $500 restitution
 McHugh, Sean      1:21-CR-00453-JDB     18 U.S.C.§ 111(b)             123 months’ incarceration       78 months’ incarceration
 Michael                                 18 U.S.C.§ 1512(c)(2), 2      36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $5,000 fine
                                                                                                       $2,000 restitution
 Schulz, Kenneth   1:23-CR-00077-ABJ     40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration          30 days’ home detention
                                                                       60 hours’ community service     18 months’ probation
                                                                       $500 restitution                50 hours’ community service
                                                                                                       $500 restitution
 Cronin, Dylan     1:22-CR-00233-ABJ     18 U.S.C. § 1361              12 months’ incarceration        8 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     200 hours’ community service
                                                                       $500 restitution                $500 restitution
 Eisenhart, Lisa   1:21-CR-00118-RCL     18 U.S.C. § 1512(k)           46 months’ incarceration        30 months’ incarceration
                                         18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 371               $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(B)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Farnsworth,       1:23-CR-00004-APM     18 U.S.C. § 1361              7 months’ incarceration         3 months’ incarceration
 Isaiah                                                                36 months’ supervised release   36 months’ supervised release
                                                                       $11,860 restitution             100 hours’ community service
                                                                                                       $11,800 restitution
 Munchel, Eric     1:21-CR-00118-RCL     18 U.S.C. § 1512(k)           57 months’ incarceration        57 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2     36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1),       $2,000 restitution              $2,000 restitution
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(1)(A)

                                                                  74
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 88 of 151
Monday, January 6, 2025


                                         40 U.S.C. § 5104(e)(2)(B)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Riley, Jorge       1:21-CR-00069-APM    18 U.S.C. § 1512(c)(2), 2     21 months’ incarceration        18 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Stedman, Patrick   1:21-CR-00383-BAH    18 U.S.C. § 1512(c)(2), 2     78 months’ incarceration        48 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $20,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                     $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 1752(a)(1)        30 months’ incarceration        12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release   $20,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)     $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)

                                         *Post-Fischer
                                         resentencing, 1512(c)(2), 2
                                         was an original count of
                                         conviction
 Etter, Jeffrey     1:23-CR-00095-RBW    40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration          36 months’ probation
                                                                       60 hours’ community service     400 hours community service
                                                                       $500 restitution                $500 restitution
 Hellonen, Dodge    1:23-CR-00140-ACR    40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          48 months’ probation
                                                                       60 hours’ community service     279 hours’ community service
                                                                       $500 restitution                $500 restitution
 Llamas, Saul       1:23-CR-00020-TNM    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          18 months’ probation
                                                                       36 months’ supervised release   120 hours’ community service
                                                                       $500 restitution                $2,500 fine
                                                                                                       $500 restitution
 Messer, Walter     1:21-CR-00631-TJK    40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         90 days’ home detention
                                                                       24 months’ supervised release   60 hours’ community service
                                                                       $500 restitution                24 months’ probation
                                                                                                       $500 restitution
 Rhine, David       1:21-CR-00687-RC     18 U.S.C. § 1752(a)(1)        12 months’ incarceration        4 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release   12 months’ supervised release

                                                                  75
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25      Page 89 of 151
Monday, January 6, 2025


                                         40 U.S.C. § 5104(e)(2)(D)    $500 restitution                $7,376 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Siemers, Jordan   1:23-CR-00020-TNM     40 U.S.C.§ 5104(e)(2)(G)     60 days’ home detention         12 months’ probation
                                                                      36 months’ supervised release   60 hours’ community service
                                                                      $500 restitution                $1,500 fine
                                                                                                      $500 restitution
 Coomer, Micah     1:23-CR-00124-ACR     40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          48 months’ supervised release
                                                                      60 hours’ community service     279 hours’ community service
                                                                      $500 restitution                $500 restitution
 Shroyer, Jonathon 1:21-CR-00542-TJK     18 U.S.C. § 1752(a)(1) (2)   120 days’ incarceration         60 days’ incarceration
                                         40 U.S.C. § 5104(e)(2)(D)    12 months’ supervised release   12 months’ supervised release
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Abate, Joshua     1:23-CR-00144-ACR     40 U.S.C. § 5104(e)(2)(G)    21 days’ incarceration          12 months’ probation
                                                                      60 hours’ community service     279 hours’ community service
                                                                      $500 restitution                $500 restitution
 Padilla, Joseph   1:21-CR-00214-JDB     18 U.S.C. § 111(a)(1)        171 months’ incarceration       78 months’ incarceration
 Lino                                    18 U.S.C. § 231(a)(3)        36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 111(b)           $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 231(a)(3)
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Pelham, Nathan    1:23-CR-00150-JDB     40 U.S.C. § 5104(e)(2)(G)    6 months’ incarceration         152 days’ incarceration (credit time
                                                                      60 hours’ community service     served)
                                                                      $500 restitution                $500 restitution
 Preller, Brian    1:23-CR-00045-TMN     18 U.S.C. § 231(a)(3)        8 months’ incarceration         60 months’ supervised release
                                                                      36 months’ supervised release   40 hours’ community service
                                                                      $2,000 restitution              $2,000 restitution


                                                                 76
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 90 of 151
Monday, January 6, 2025


 St Cyr, Yvonne    1:22-CR-00185-JDB     18 U.S.C. § 231(a)(3)         33 months’ incarceration        30 months’ incarceration
                                         18 U.S.C. § 231(a)(3)         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)        $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
 Yavoich, Andrew   1:23-CR-00216-ACR     40 U.S.C. § 5104(e)(2)(G)     60 days’ home detention         6 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Weyer, Sandra     1:22-CR-00040-JEB     18 U.S.C. § 1512(c)(2), 2     30 months’ incarceration        14 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
                                         18 U.S.C. § 1752(a)(1)        9 months’ home detention        12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release   (credit time served)
                                         40 U.S.C. § 5104(e)(2)(D)                                     240 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(G)                                     $500 restitution

                                         *Post-Fischer
                                         resentencing, 1512(c)(2), 2
                                         was an original count of
                                         conviction
 Brown, Keith      1:23-CR-00197-BAH     40 U.S.C. 5104(e)(2)(G)       14 days’ incarceration          60 days’ intermittent confinement
                                                                       60 hours’ community service     36 months’ supervised release
                                                                       $500 restitution                $500 restitution
 Dodge, Russell    1:23-CR-00034-JEB     40 U.S.C. § 5104(e)(2)(G)     90 days’ home detention         9 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
 Eicher, Jolene    1:22-CR-00038-BAH     18 U.S.C. § 1752(a)(1)        9 months’ incarceration         2 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)        36 months’ supervised release   12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     60 hours’ community service     $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)     $500 restitution
 Krauss, David     1:23-CR-00034-JEB     40 U.S.C. § 5104(e)(2)(G)     90 days’ home detention         9 months’ supervised release
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution

                                                                 77
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25          Page 91 of 151
Monday, January 6, 2025


 Krauss, Nicholas   1:23-CR-00034-JEB    40 U.S.C. § 5104(e)(2)(G)     75 days’ home detention           9 months’ supervised release
                                                                       60 hours’ community service       60 hours’ community service
                                                                       $500 restitution                  $500 restitution
 Steele, Laura      1:21-CR-00028-APM    18 U.S.C. § 1512(k)           197-121 months’ incarceration     12 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2     36 months’ supervised release     6 months’ home detention
                                         18 U.S.C. § 372               $500 restitution                  36 months’ supervised release
                                         18 U.S.C. § 1361, 2                                             100 hours’ community service
                                         18 U.S.C.§ 1752(a)(1)
                                         18 U.S.C. § 231(a)(3), 2
                                         18 U.S.C. § 1512(c)(1), 2
 Ardolino, Vincent 1:22-CR-00406-RBW     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            36 months’ supervised release
                                                                       $500 restitution                  400 hours’ community service
                                                                                                         $500 restitution
 Adams, Michael     1:21-CR-00430-TJK    40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration            60 days’ incarceration
                                                                       $500 restitution                  $500 restitution
 Morgan Jr,         1:21-CR-00313-TJK    18 U.S.C. § 1752(a)(1)        6 months’ incarceration           110 days’ incarceration
 Andrew                                                                12 months’ supervised release     12 months’ supervised release
                                                                       $500 restitution                  $500 restitution
 MacAndrew,         1:21-CR-00730-CKK    18 U.S.C. § 1752(a)(1)        13 months’ incarceration          90 days’ incarceration
 Danean                                  18 U.S.C. § 1752(a)(2)        12 months’ supervised release     24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     $500 restitution                  $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Munafo, Jonathan   1:21-CR-00330-JEB    18 U.S.C. § 231(a)(3)         37 months’ incarceration          33 months’ incarceration
                                         18 U.S.C. § 111(a) (1)        36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Milstreed,         1:22-CR-00198-JEB    18 U.S.C. § 111(b)            78 months’ incarceration          60 months’ incarceration
 Rodney                                  18 U.S.C. § 113(a)(4)         36 months’ supervised release     24 months’ supervised release
                                         26 U.S.C. § 5861(d)           $2,000 restitution                $2,000 restitution
 Sturgeon, Isaac    1:21-CR-00091-RCL    18 U.S.C. § 1512(c)(2), 2     135 months’ incarceration         72 months’ incarceration
                                         18 U.S.C. § 231(a)(3)         36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 111(a)(1)         $2,000 restitution                $2,000 fine
                                         18 U.S.C. § 1752(a)(1)                                          $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(F)
 Badalian, Edward   1:21-CR-00246-ABJ    18 U.S.C. § 371               121 months’ incarceration         51 months’ incarceration

                                                                  78
                          Case 1:21-cr-00382-PLF     Document 176      Filed 01/30/25          Page 92 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1512(c)(2), 2    36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)       $2,000 restitution                100 hours’ community service
                                                                                                        $2,000 restitution
 Bingert, Craig     1:21-CR-00091-RCL    18 U.S.C. § 1512(c)(2), 2    135 months’ incarceration         96 months’ incarceration
                                         18 U.S.C. § 231(a)(3)        36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 111(a)(1)        $2,000 restitution                $2,000 fine
                                         18 U.S.C. § 1752(a)(1)                                         $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(F)
 Zoyganeles,        1:22-CR-00149-JEB    40 U.S.C 5104(e)(2)(G)       30 days’ incarceration            10 days’ incarceration
 Athanasios                                                           36 months’ supervised release     9 months’ supervised release
                                                                      60 hours’ community service       $500 restitution
                                                                      $500 restitution
 Montoni, Corinne   1:23-CR-00195-RCL    18 U.S.C. § 231(a)(3)        3 months’ incarceration           30 days’ incarceration
                                                                      36 months’ supervised release     24 months’ supervised release
                                                                      $2,000 restitution                $2,000 restitution
 Ballenger,         1:21-CR-00719-JEB    18 U.S.C. § 1752(a)(1)       12 months’ incarceration          4 months’ incarceration
 Cynthia                                 18 U.S.C. § 1752(a)(2)       12 months’ supervised release     9 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)    $500 restitution                  $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Cotton, William    1:23-CR-00002-JEB    40 U.S.C. § 5104(e)(2)(G)    21 days’ incarceration            9 months’ probation
                                                                      $500 restitution                  60 hours’ community service
                                                                                                        $500 restitution
 Watts, Nathan      1:23-CR-00089-ABJ    40 U.S.C. § 5104(e)(2)(G)    14 days’ intermittent             30 months’ probation
                                                                      confinement                       50 hours’ community service
                                                                      36 months’ probation              $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
 Price, Christopher 1:21-CR-00719-JEB    18 U.S.C. § 1752(a)(1)       6 months’ incarceration           45 days’ incarceration
                                         18 U.S.C. § 1752(a)(2)       12 months’ supervised release     9 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)    $500 restitution                  $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)


 Cole, Benjamin     1:23-CR-00113-TNM    18 U.S.C. § 231              11 months’ incarceration          14 days’ intermittent confinement

                                                                 79
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25          Page 93 of 151
Monday, January 6, 2025


                                                                       36 months’ supervised release     48 months’ probation
                                                                       $2,000 restitution                3 months’ home detention
                                                                                                         40 hours’ community service
                                                                                                         $2,000 restitution
 Vassallo,           1:22-CR-00325-ABJ   18 U.S.C. § 111(a)(1)         27 months’ incarceration          18 months’ incarceration
 Salvatore                                                             24 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Woods, Shane        1:21-CR-00476-APM   18 U.S.C. § 113(a)(4)         71 months’ incarceration          54 months’ incarceration
 Jason                                   18 U.S.C. § 111(a)(1)         36 months’ supervised release     36 months’ supervised release
                                                                       $2,000 restitution                $2,000 restitution
 Weyer, Conlin       1:22-CR-00169-JMC   18 U.S.C. § 1752(a)(1)        60 days’ incarceration            18 months’ probation
                                                                                                         $500 restitution
 Jenkins, Shane      1:21-CR-00245-APM   18 U.S.C. § 231(a)(3)         236 months’ incarceration         84 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2     36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 111(b)            $5,176 restitution                $5,176 restitution
                                         18 U.S.C. § 1361
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Chang, Julio C      1:21-CR-00703-RDM   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration            36 months’ probation
                                                                       $500 restitution                  45 days’ home detention
                                                                                                         $500 restitution
 Cusick Jr., James   1:21-CR-00575-JDB   18 U.S.C. § 1752(a)(1)        7 months’ incarceration           10 days’ incarceration
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release     24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     60 hours’ community service       60 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(G)     $500 restitution                  $3,000 fine
                                                                                                         $500 restitution
 Cusick, Casey       1:21-CR-00575-JDB   18 U.S.C. § 1752(a)(1)        9 months’ incarceration           10 days’ incarceration
                                         18 U.S.C. § 1752(a)(2)        12 months’ supervised release     24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)     60 hours’ community service       50 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(G)     $500 restitution                  $3,000 fine

                                                                  80
                          Case 1:21-cr-00382-PLF    Document 176      Filed 01/30/25          Page 94 of 151
Monday, January 6, 2025


                                                                                                       $500 restitution
 Lesperance,       1:21-CR-00575-JDB     18 U.S.C. § 1752(a)(1)      7 months’ incarceration           10 days’ incarceration
 David                                   18 U.S.C. § 1752(a)(2)      12 months’ supervised release     24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)   60 hours’ community service       50 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(G)   $500 restitution                  $3,000 fine
                                                                                                       $500 restitution
 Lizak, Jon        1:23-CR-00163-CKK     40 U.S.C. § 5104(e)(2)(G)   75 days’ incarceration            3 days’ intermittent confinement
                                                                     $500 restitution                  36 months’ probation
                                                                                                       50 hours’ community service
                                                                                                       $500 restitution
 Wren, Donnie      1:21-CR-00599-RBG     18 U.S.C. § 231(a)(3)       51 months’ incarceration          12 months’ and 1 day incarceration
                                         18 U.S.C. § 111(a)(1)       $37,000 restitution               24 months supervised release
                                         18 U.S.C. § 1752(a)(1)
 Smith, Thomas     1:21-CR-00599-RBG     18 U.S.C. § 231(a)(3)       168 months’ incarceration         108 months’ incarceration
 Harlan                                  18 U.S.C. § 231(a)(3)       $1,9495 fine                      36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2   $2,000 restitution                $37,085 fine
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 111(b)
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
 Powell, Rachel    1:21-CR-00179-RCL     18 U.S.C. § 231(a)(3)       96 months’ incarceration          57 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2   36 months’ supervised release     36 months’ supervised release
                                         18 U.S.C. § 1361            $2,753 restitution                $5,000 fine
                                         18 U.S.C. § 1752(a)(1),                                       $2,753 restitution
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)

                                                                81
                          Case 1:21-cr-00382-PLF    Document 176        Filed 01/30/25      Page 95 of 151
Monday, January 6, 2025


                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)
 Kelley, Ryan       1:22-CR-00222-CRC    18 U.S.C. § 1752(a)(1)        3 months’ incarceration         60 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $5,000 fine
                                                                       $500 restitution                $500 restitution
 Howe, Joseph       1:21-CR-00087-TJK    18 U.S.C. § 1512(c)(2)        57 months’ incarceration        50 months’ incarceration
                                         18 U.S.C. § 111(a)            36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Modrell, Paul      1:23-CR-00001-BAH    40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           36 months’ supervised release
                                                                       confinement                     90 days’ home detention
                                                                       36 months’ supervised release   $1,500 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Gray, Leslie       1:22-CR-00338-DLF    18 U.S.C. § 1512(c)(2)        18 months’ incarceration        12 months’ and 1 day incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Fatta, Renee       1:23-CR-00217-CJN    40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           24 months’ supervised release
                                                                       confinement                     $250 fine
                                                                       12 months’ supervised release   $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Barber, Eric       1:21-CR-00228-CRC    40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         45 days’ incarceration
                                         22 D.C.C. § 3212              36 months’ supervised release   24 months’ supervised release
                                                                       60 hours’ community service     $552.95 restitution
                                                                       $552.95 restitution
 Rutledge, Macsen   1:23-CR-00151-CRC    40 U.S.C.§ 5104(e)(2)(G)      30 days’ home detention         24 months’ supervised release
                                                                       36 months’ supervised release   $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Clark, Jacob       1:21-CR-00538-DLF    18 U.S.C. § 1752(a)(1)        46 months’ incarceration        33 months’ incarceration
 Travis                                  18 U.S.C. § 1752(a)(2)        36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(4)        $2,000 restitution              $180 special assessment
                                         40 U.S.C. § 5104(e)(2)
                                         18 U.S.C. § 1512(c)(2)

                                                                  82
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25      Page 96 of 151
Monday, January 6, 2025


 Harris, Richard    1:21-CR-00189-CJN    18 U.S.C. § 1512(c)(2), 2      70 months’ incarceration        41 months’ incarceration
                                         18 U.S.C. § 231(a)(3)          36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 111(a)(1)          $2,000 restitution              $605 special assessment
                                         18 U.S.C. § 1752(a)(1)         $605 special assessment
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)
 Davis, James       1:21-CR-00595-TJK    18 U.S.C. § 111(a)             11 months’ incarceration        2 months’ incarceration
                                         18 U.S.C. § 1752(a)(2)         36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 1752(a)(4)         $2,000 restitution              6 months’ home detention
                                         40 U.S.C. § 5104(e)(2)(F)      $100 special assessment         $2,000 fine
                                         18 U.S.C. § 231(a)(3)                                          $100 special assessment
 Stephens, Stacey   1:23-CR-00134-TSC    40 U.S.C. § 5104(e)(2)(G)      14 days’ intermittent           14 days’ incarceration
                                                                        confinement                     $500 fine
                                                                        36 months’ supervised release   $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
 Giberson, Larry    1:23-CR-00115-CJN    18 U.S.C. § 231(a)(3)          11 months’ incarceration        2 months’ incarceration
                                                                        36 months’ supervised release   6 months’ home detention
                                                                        $2,000 restitution              6 months’ supervised release
                                                                        $100 special assessment         $2,000 fine
                                                                                                        $100 special assessment
 Bochene, Eric      1:21-CR-00418-RDM    18 U.S.C. § 1752(a)(1)         90 days’ incarceration          3 months’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Peterson, Kurt     1:21-CR-00427-CJN    18 U.S.C. § 1752(a)(4),        3 months’ incarceration         45 days’ incarceration
                                         (b)(1)(A)                      12 months’ supervised release   60 days’ home detention
                                                                        $4,700 restitution              $4,700 restitution
                                                                        $100 special assessment
 Cappuccio,         1:21-CR-00040-TNM    18 U.S.C. § 111(a)(1)          121 months’ incarceration       85 months’ incarceration
 Steven                                  18 U.S.C. § 111(b)             36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 2111               $2,000 restitution              $610 fine
                                         18 U.S.C. § 231(a)(3)          $610 special assessment         $2,000 restitution

                                                                   83
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 97 of 151
Monday, January 6, 2025


                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(G)
 Klein, Federico   1:21-CR-00040-TNM     18 U.S.C. § 111(a)(1), 2      120 months’ incarceration       70 months’ incarceration
                                         18 U.S.C. § 111(a)(1), 2      36 months’ supervised release   24 months’ supervised release
                                         18 U.S.C. § 111(a)(1), 2      $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 111(a)(1), 2      $47,187 fine                    $3,000 fine
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 1512(c)(2), 2
                                         18 U.S.C. § 231(a)(3)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D),2
                                         40 U.S.C. § 5104(e)(2)(F),2
 Rodriguez,        1:21-CR-00483-DLF     18 U.S.C. § 111(b)            88 months’ incarceration        36 months’ incarceration
 Edward                                                                36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution
 Lockwood,         1:23-CR-00146-RDM     18 U.S.C. § 111(a)(1)         27 months’ incarceration        12 months’ and 1 day incarceration
 Michael                                                               36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Moncada, Nicolas 1:22-CR-00366-CRC      40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           36 months’ probation
                                                                       confinement                     $500 restitution
                                                                       36 months’ probation
                                                                       60 hours’ community service
                                                                       $500 restitution
 McGee, Brian      1:23-CR-00096-RDM     40 U.S.C. § 5104(e)(2)(G)     14 days intermittent            7 days’ intermittent confinement
 Scott                                                                 confinement                     36 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Parks, Stewart    1:21-CR-00411-APM     18 U.S.C. § 641               15 months’ incarceration        8 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)        12 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        60 hours’ community service     $95 special assessment
                                         40 U.S.C. § 5104(e)(2)(D)     $617 restitution

                                                                 84
                          Case 1:21-cr-00382-PLF     Document 176       Filed 01/30/25      Page 98 of 151
Monday, January 6, 2025


                                         40 U.S.C. § 5104(e)(2)(G)
 Thomas, Kenneth    1:21-CR-00552-DLF    18 U.S.C. § 231(a)(3)         109 months’ incarceration       58 months’ incarceration
                                         18 U.S.C. § 111(a)(1)         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 111(a)(1)         $77,607 fine                    $20,000 fine
                                         18 U.S.C. § 111(a)(1)         $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 111(a)(1)
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
 Dillard, Kaleb     1:23-CR-00049-JMC    18 U.S.C. 111(a)(1)           18 months’ incarceration        10 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $36,238 restitution             $5,500 fine
                                                                                                       $36,238.55 restitution
 Hall, Joshua       1:23-CR-00246-JMC    18 U.S.C. § 1752(a)(1)        14 days’ incarceration          12 months’ probation
                                                                       12 months’ probation            60 hours’ community service
                                                                       60 hours community service      $200 fine
                                                                       $500 restitution                $500 restitution
 Russell, Bobby     1:23-CR-00029-APM    18 U.S.C. §111(a)(1)          30 months’ incarceration        12 months’ & 1 day incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              6 months’ home detention
                                                                                                       250 hours’ community service
                                                                                                       $2,000 fine
 Buteau, Jaime      1:21-CR-00489-RDM    18 U.S.C. § 111(a)(1)         42 months’ incarceration        22 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Buteau, Jennifer   1:21-CR-00489-RDM    40 U.S.C. § 5104(e)(2)(G)     120 days’ incarceration         90 days’ incarceration
                                                                       $500 restitution                $500 restitution

 White, Victoria    1:21-CR-00563-JDB    18 U.S.C. § 231(a)(3)         4 months’ incarceration         8 days’ intermittent confinement
                                                                       36 months’ supervised release   3 months’ home detention
                                                                       $2,000 restitution              24 months’ probation
 Wilkerson,         1:23-CR-00249-CJN    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
 William                                                               $500 restitution                50 hours community
                                                                                                       $500 restitution
 Giustino, Frank    1:23-CR-00016-JEB    40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         90 days’ incarceration
                                                                       36 months’ supervised release   $500 restitution
                                                                       60 hours’ community service

                                                                  85
                          Case 1:21-cr-00382-PLF     Document 176        Filed 01/30/25          Page 99 of 151
Monday, January 6, 2025


                                                                        $500 restitution
 Tew, Tyler          1:22-CR-00027-RMM   18 U.S.C. § 1752(a)(1)         3 months’ incarceration           24 months’ probation
                                         18 U.S.C. § 1752(a)(2)         12 months’ supervised release,    $2,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)      60 hours’ community service       $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)      $500 restitution
 Huttle, Matthew     1:22-CR-00403-CRC   18 U.S.C. § 1752(a)(1)         10 months’ incarceration          6 months’ incarceration
                                                                        12 months’ supervised release     12 months’ supervised release
                                                                        60 hours’ community service       $500 in restitution
                                                                        $500 restitution
 Mooney-Rondon,      1:21-CR-00722-JMC   18 U.S.C. § 1512(c)(2), 2      46 months’ incarceration          60 months’ probation
 Maryann                                 18 U.S.C. § 641, 2             36 months’ supervised release     12 months’ home detention
                                                                        $3,657.51 restitution             350 hours’ community service
                                                                                                          $3,657.51 restitution
                                                                                                          $7,500 fine
                                         18 U.S.C. § 641, 2             51 months’ incarceration          12 months’ home detention
                                                                        36 months' supervised release     60 months’ probation
                                         *Post-Fischer                  $3,657.51 restitution             350 hours’ community service
                                         resentencing, 1512(c)(2) was                                     $7,500 fine
                                         an original count of                                             $3,657.51 restitution
                                         conviction
 Rondon, Rafael      1:21-CR-00722-JMC   18 U.S.C. § 1512(c)(2), 2      51 months’ incarceration          60 months’ probation
                                                                        36 months’ supervised release     18 months’ home detention
                                                                        $2,000 restitution                350 hours’ community service
                                                                                                          $2,000 restitution
 Ward, Sean          1:23-CR-00271-CRC   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration            24 months’ probation
                                                                        $500 restitution                  45 days’ home detention
                                                                                                          $500 restitution
 Ciampi Jr., Louis   1:23-CR-00259-TJK   40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration            18 months’ probation
 Michael                                                                $500 restitution                  60 hours’ community service
                                                                                                          $500 restitution
 Johnson, Zachary    1:22-CR-00011-RJL   18 U.S.C. § 111(a)(1)          50 months’ incarceration          42 months’ incarceration
                                                                        36 months’ supervised release     36 months’ supervised release
                                                                        $2,000 restitution                $2,000 restitution
 Kepley, Heather     1:23-CR-00162-BAH   18 U.S.C. § 1752(a)(1)         5 months’ incarceration           28 days’ intermittent confinement
                                                                        12 months’ supervised release     36 months’ probation
                                                                        $500 restitution                  60 days’ home detention

                                                                  86
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25       Page 100 of 151
Monday, January 6, 2025


                                                                                                      $1,500 fine
                                                                                                      $500 restitution
 Herrington,       1:23-CR-00199-BAH   18 U.S.C. § 111(a)(1)          41 months’ incarceration        37 months’ incarceration
 Dillion                                                              36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Pavlik, Joseph    1:23-CR-00045-TNM   18 U.S.C. § 231(a)(3)          13 months’ incarceration        60 days’ incarceration
                                       18 U.S.C. § 1752(a)(1),        36 months’ supervised release   6 months’ home detention
                                       (b)(1)(A)                      $2,000 restitution.             24 months’ supervised release
                                                                                                      $6,000 fine
                                                                                                      $2,000 restitution
 Christie, Eric    1:23-CR-00005-APM   18 U.S.C. § 1752(a)(1),        13 months’ incarceration        11 months’ incarceration
                                       (b)(1)(A)                      36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2),        $2,000 restitution
                                       (b)(1)(A)
 Keller, Klete     1:21-CR-00104-RJL   18 U.S.C. § 1512(c)(2)         10 months’ incarceration        36 months’ probation
                                                                      36 months’ supervised release   6 months’ home detention
                                                                      $2,000 restitution
 Bartow, Travis    1:22-CR-00358-RC    40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          12 months’ probation
                                                                      $500 restitution                60 days’ home detention
                                                                                                      60 hours’ community service
                                                                                                      $500 restitution
 Webb, Frederick   1:23-CR-00225-RCL   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          24 months’ probation
                                                                      $500 restitution                14 days’ intermittent confinement
                                                                                                      $500 restitution
 Hostetter, Alan   1:21-CR-00392-RCL   18 U.S.C. § 1512(k)            151 months’ incarceration       135 months’ incarceration
                                       18 U.S.C. § 1512 (c)(2), 2     36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1),        $2,000 restitution              $2,000 restitution
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(A)
 Adams, Justin     1:22-CR-00350-JEB   18 U.S.C. § 111(a)(1)          27 months’ incarceration        17 months’ incarceration
 Dee                                                                  36 months’ supervised release   12 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Ballard, Thomas   1:21-CR-00553-RJL   18 U.S.C. § 111(b)             57 months’ incarceration        54 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 fine                     $2,000 fine

                                                                 87
                      Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25      Page 101 of 151
Monday, January 6, 2025


 Riddle, Thomas     1:23-CR-00279-RCL   18 U.S.C. § 1752(a)(2)        90 days’ incarceration          60 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                $500 restitution
 Krol, Matthew      1:22-CR-00110-RC    18 U.S.C. § 111(b)            78 months’ incarceration        51 months ‘incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Sargent, Anthony   1:21-CR-00639-DLF   18 U.S.C. § 231(a)(3)         46 months’ incarceration        60 months’ incarceration
                                        18 U.S.C. § 1361, 2           36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)        $2,980 restitution              $2,980 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(F)
 Andrulonis,        1:23-CR-00085-BAH   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          36 months’ probation
 Ronald                                                               12 months’ supervised release   14 days’ intermittent confinement
                                                                      $500 restitution                60 days’ home detention
                                                                                                      $500 restitution
 Christensen,       1:23-CR-00203-DLF   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          36 months’ probation
 Holly                                                                60 hours’ community service     30 days’ home detention
                                                                      $500 restitution                60 hours’ community service
                                                                                                      $500 restitution
 Christensen,       1:23-CR-00203-DLF   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          36 months’ probation
 Scott                                                                60 hours’ community service     30 days’ home detention
                                                                      $500 restitution                60 hours’ community service
                                                                                                      $500 restitution
 Carpenter, Sara    1:21-CR-00305-JEB   18 U.S.C. § 231(a)(3), 2      66 months’ incarceration        22 months’ incarceration
                                        18 U.S.C. § 1512(c)(2), 2     36 months’ supervised release   24 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)        $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(E)
                                        40 U.S.C. § 5104(e)(2)(G)

                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed

                                                                 88
                      Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25      Page 102 of 151
Monday, January 6, 2025


 Donohoe, Charles   1:21-CR-00175-TJK   18 U.S.C. § 1512(k)           35-43 months’ incarceration     40 months’ incarceration
                                        18 U.S.C. § 111(a)            36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Clardy, Kevin      1:23-CR-00294-RCL   18 U.S.C. § 1752(a)(2)        90 days’ incarceration          60 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $500 restitution
 Nealy, Mark        1:23-CR-00278-TSC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration
                                                                      $500 restitution                $500 restitution
 Mellis, Jonathan   1:21-CR-00206-RDM   18 U.S.C. § 111(b)            60 months’ incarceration        51 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $88,464 fine                    $20,000 fine
                                                                      $2,000 restitution              $2,000 restitution
 Stecher, Ezekiel   1:21-CR-00720-RDM   18 U.S.C. § 231(a)(3)         90 days’ incarceration          60 days’ incarceration
                                                                      36 months’ supervised release   24 months’ supervised release
                                                                                                      $2,000 restitution
 Avirett, Richard   1:23-CR-00191-JEB   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 days’ incarceration
                                                                      $500 fine                       $500 restitution
 Palm, Hunter       1:21-CR-00393-RDM   18 U.S.C. § 1752(a)(2)        6 months’ incarceration         36 months’ probation
                                                                      12 months’ supervised release   $500 restitution
                                                                      100 hours’ community service
                                                                      $500 restitution
 Worrell,           1:21-CR-00292-RCL   18 U.S.C. § 231(a)(3)         168 months’ incarceration       120 months’ incarceration
 Christopher                            18 U.S.C. § 111(b)            36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1512(c), 2        $181,000 fine                   $2,000 restitution
                                        18 U.S.C. § 1752(a)(1),       $2,000 restitution
                                        (b)(1)(A)
                                        18 U.S.C. § 1752(a)(2),
                                        (b)(1)(A)
                                        18 U.S.C. § 1752(a)(4),
                                        (b)(1)(A)
                                        40 U.S.C. § 5104(e)(2)(F)
 Ball, David        1:23-CR-00153-JDB   40 U.S.C. § 5104(e)(2)(G)     21 days’ intermittent           24 months’ probation
                                                                      confinement                     60 hours’ community service
                                                                      36 months’ probation            $500 fine
                                                                      60 hours’ community service     $500 restitution

                                                                 89
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 103 of 151
Monday, January 6, 2025


                                                                      $500 restitution
 Bargar, Jerod     1:23-CR-00078-RBW   18 U.S.C. § 1752(a)(1),        6 months’ incarceration         60 months’ probation
                                       (b)(1)(A)                      36 months’ supervised release   $4,000 fine
                                                                      $2,000 restitution              $2,000 restitution
 Epps, James Ray   1:23-CR-00321-JEB   18 U.S.C. § 1752(a)(2)         6 months’ incarceration         12 months’ probation
                                                                      12 months’ supervised release   100 hours’ community service
                                                                      $500 restitution                $500 restitution
 Swoope, Ryan      1:23-CR-00020-TNM   18 U.S.C. § 111(a)(1)          57 months’ incarceration        51 months’ incarceration
                                                                      36 months’ supervised release   24 months’ probation
                                                                      $2,000 restitution              $2,000 restitution
 Horn, Stephen     1:21-CR-00301-TJK   18 U.S.C. § 1752(a)(1)         10 months’ incarceration        12 months’ probation
                                       18 U.S.C. § 1752(a)(2)         12 months’ supervised release   90 hours’ community service
                                       40 U.S.C. § 5104(e)(2)(D)      60 hours community service      $2,000 fine
                                       40 U.S.C. § 5104(e)(2)(G)      $500 restitution
 Keen, William     1:23-CR-00060-JMC   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          18 months’ probation
                                                                      $500 restitution                $500 restitution
 Fonticoba,        1:21-CR-00638-TJK   18 U.S.C. § 1512(c)(2), 2      60 months’ incarceration        48 months’ incarceration
 Gilbert                               18 U.S.C. § 231(a)(3), 2       36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution
 Madden,           1:21-CR-00055-JEB   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          20 days’ incarceration
 Dominick                                                             $500 restitution                $500 restitution
 Chrestman,        1:21-CR-00160-TJK   18 U.S.C. § 1512(c)(2), 2      63 months’ incarceration        55 months’ incarceration
 William                               18 U.S.C. § 115(a)(1)(B)       36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Christensen, Reed 1:21-CR-00455-RCL   18 U.S.C. § 231(a)(3)          60 months’ incarceration        46 months’ incarceration
 Knox                                  18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 111(a)(1)          $2,000 restitution              $20,000 fine
                                       18 U.S.C. § 111(a)(1)                                          $2,000 restitution
                                       18 U.S.C. § 1752(a)(1)
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(F)
 Isaacs, Traci     1:22-CR-00338-DLF   18 U.S.C. §1512(c)(1), 2       18 months’ incarceration        12 months’ and 1 day incarceration
                                                                      36 months’ supervised release   12 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution


                                                                 90
                      Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25      Page 104 of 151
Monday, January 6, 2025


 Hawkins, Jacob     1:23-CR-00264-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           24 months’ probation
                                                                      confinement                     $500 restitution
                                                                      36 months’ probation
                                                                      60 hours’ community service
                                                                      $500 restitution
 Jaure, Yesenia     1:23-CR-00264-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           24 months’ probation
                                                                      confinement                     $500 restitution
                                                                      36 months’ probation
                                                                      60 hours’ community service
                                                                      $500 restitution
 Matson, Israel     1:23-CR-00349-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           12 months’ probation
 Mark                                                                 confinement                     45 days’ home detention
                                                                      24 months’ probation            60 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Bonawitz,          1:23-CR-00055-JMC   18 U.S.C. § 231(a)(3)         71 months’ incarceration        60 months’ incarceration
 Kenneth                                18 U.S.C. § 111(a)(1)         36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Homol, Dillon      1:23-CR-00050-JMC   18 U.S.C. § 1752(a)(1)        24 months’ incarceration        24 months’ probation
                                        18 U.S.C. § 1752(a)(2)        12 months’ supervised release   90 days’ home detention
                                        40 U.S.C. § 5104(e)(2)(D)     60 hours’ community service     40 hours’ community service
                                        40 U.S.C. § 5104(e)(2)(G)     $500 restitution                $4,000 fine
                                                                                                      $500 restitution
 Campanella,        1:23-CR-00231-ACR   40 U.S.C. § 5104(e)(2)(D)     14 days’ incarceration          12 months’ probation
 Cameron                                40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            $500 restitution
                                                                      60 hours community service
                                                                      $500 restitution
 Lebrun, Matthew    1:22-CR-00136-JMC   18 U.S.C. § 1752(a)(1)        6 months’ incarceration         24 months’ probation
                                                                      12 months’ supervised release   $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
 Chwiesiuk, Karol   1:21-CR-00536-ACR   18 U.S.C. § 1752(a)(1)        12 months’ restitution          36 months’ probation
                                        18 U.S.C. § 1752(a)(2)        12 months supervised release    90 days home detention
                                        40 U.S.C. § 5104(e)(2)(D)     60 hours community service      200 hours community service
                                        40 U.S.C. § 5104(e)(2)(G)     $500 restitution                $500 restitution


                                                                 91
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 105 of 151
Monday, January 6, 2025


 Chwiesiuk,        1:21-CR-00536-ACR   18 U.S.C. § 1752(a)(1)         12 months’ restitution          36 months’ probation
 Agnieszka                             18 U.S.C. § 1752(a)(2)         8 months supervised release     90 days home detention
                                       40 U.S.C. § 5104(e)(2)(D)      60 hours community service      200 hours community service
                                       40 U.S.C. § 5104(e)(2)(G)      $500 restitution                $500 restitution
 Bru, Marc         1:21:CR-00352-JEB   18 U.S.C. § 231(a)(3)          87 months incarceration         72 months’ incarceration,
                                       18 U.S.C. § 1512(c)(2)         36 months supervised release    36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)         $7,946 fine                     $7,946 fine
                                       18 U.S.C. § 1752(a)(2)         $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(B)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)

                                       18 U.S.C. § 231(a)(3)          72 months’ incarceration        60 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)         36 months' supervised release   36 months' supervised release
                                       18 U.S.C. § 1752(a)(2)         $10,709 fine                    $7,946 fine
                                       40 U.S.C. § 5104(e)(2)(B)      $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)

                                       *Post-Fischer
                                       resentencing, 1512(c)(2) was
                                       an original count of
                                       conviction
 Konold, Cory      1:21-CR-00160-TJK   18 U.S.C. § 231(a)(3)          3 months’ incarceration         30 days’ incarceration
                                                                      36 months’ supervised release   24 months supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Konold, Felicia   1:21-CR-00160-TJK   18 U.S.C. § 231(a)(3)          6 months’ incarceration         45 days’ incarceration
                                                                      36 months’ supervised release   24 months supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Rahm, James III   1:21-CR-00585-CRC   18 U.S.C. § 1752(a)(2)         4 months’ incarceration         45 days’ incarceration
                                                                      12 months supervised release    12 months supervised release
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Little, James     1:21-CR-00315-RCL   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          60 days’ incarceration
                                                                      36 months’ probation            36 months’ probation
                                                                      $500 restitution                $500 restitution

                                                                92
                               Case 1:21-cr-00382-PLF                Document 176            Filed 01/30/25         Page 106 of 151
Monday, January 6, 2025


                                                                                                                             Resentenced 2
                                                                                                                                         1F




                                                                                                                             150 days’ incarceration (credit time
                                                                                                                             served – 90 days)
                                                                                                                             $500 restitution
    Grace, Jonathan        1:23-CR-00138-RBW           18 U.S.C. § 111(a)(1)                27 months’ incarceration         24 months’ incarceration
                                                                                            36 months’ supervised release    36 months’ supervised release
                                                                                            $2,000 restitution               $5,000 fine
                                                                                                                             $2,000 restitution
    Mullins, Clayton       1:21-CR-00035-RC            18 U.S.C. § 111(a)(1)                51 months’ incarceration         30 months’ incarceration
                                                                                            36 months’ supervised release    36 months’ supervised release
                                                                                            $32,165.65 restitution           $49,764 fine
                                                                                                                             $32,165.65 restitution
    Celentano, Ralph       1:22-CR-00186-TJK           18 U.S.C. § 111(a)(1)                135 months’ incarceration        78 months’ incarceration
                                                       18 U.S.C. § 231(a)(3)                36 months’ supervised release    36 months’ supervised release
                                                       18 U.S.C. § 1752(a)(1)
                                                       18 U.S.C. § 1752(a)(2)
                                                       18 U.S.C. § 1752(a)(4)
                                                       40 U.S.C. § 5104(e)(2)(F)
    Mazzio, Anthony        1:22-CR-00214-RCL           40 U.S.C. § 5104(e)(2)(G)            60 days’ incarceration           60 days’ incarceration
                                                                                            36 months’ probation             36 months’ probation
                                                                                            60 hours’ community service      $500 restitution
                                                                                            $500 restitution                 Resentenced2
                                                                                                                             46 months’ probation (credit time
                                                                                                                             served – 34 months)
    Wyman, James           1:23-CR-00243-RDM           18 U.S.C. § 1752(a)(1)               30 days’ incarceration           30 days’ incarceration
                                                                                            12 months’ supervised release    12 months’ supervised release
                                                                                            60 hours’ community service      60 hours’ community service
                                                                                            $500 restitution                 $500 restitution
    Columbus, Scott        1:23-CR-00218-RDM           40 U.S.C. § 5104(e)(2)(G)            60 days’ home detention          36 months’ probation
                                                                                            36 months’ probation             $500 restitution
                                                                                            $500 restitution
    Hamner, Thomas         1:21-CR-00689-ABJ           18 U.S.C. § 111(b), 2                84 months’ incarceration         30 months’ incarceration
                                                                                            36 months’ supervised release    36 months’ supervised release
                                                                                                                             200 hours’ community service

2
    Resentenced to correct an invalid split sentence. See United States v. Little, 78 F.4th 453 (D.C. Cir. 2023).

                                                                                   93
                      Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25       Page 107 of 151
Monday, January 6, 2025


 Bartow, Katelyn    1:22-CR-00358-RC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          12 months’ probation
                                                                      $500 restitution                3 month’s home confinement
                                                                                                      60 hours’ community service
                                                                                                      $1,113 fine
                                                                                                      $500 restitution
 Kahler, Ralph      1:23-CR-00312-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           12 months’ probation
                                                                      confinement                     30 days’ home detention
                                                                      36 months’ probation            $1,098 fine
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 O’Brien, Patrick   1:23-CR-00311-RDM   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          36 months’ probation
                                                                      60 hours’ community service     90 days’ home detention
                                                                      $500 restitution                100 hours’ community service
                                                                                                      $500 restitution
 Harris, Austin     1:23-CR-00155-RBW   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                      $500 restitution                $5,000 fine
                                                                                                      $500 restitution
 Kahler, Suzanne    1:23-CR-00313-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ intermittent           12 months’ probation
                                                                      confinement                     30 days’ home detention
                                                                      36 months’ probation            $1,098 fine
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Wyatt, Douglas     1:23-CR-00215-RDM   18 U.S.C. § 111(b)            52 months’ incarceration        46 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
 Kasper, Riley      1:22-CR-00148-RCL   18 U.S.C. § 111(a)(1)         41 months’ incarceration        37 months’ incarceration
                                                                      36 months’ supervised release   24 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution

 Boulton,           1:23-CR-00284-JDB   18 U.S.C. § 1752(a)(1)        90 days’ incarceration          24 months’ probation
 Zachariah                                                            12 months’ supervised release   $500 fine
                                                                      60 hours community service      $500 restitution
                                                                      $500 restitution
 Yang, Tyng         1:23-CR-00100-JDB   18 U.S.C. § 231(a)(3)         11 months’ incarceration        6 days intermittent confinement
                                                                      36 months supervised release    24 months’ probation
                                                                      $2,000 restitution              $1,000 fine

                                                                 94
                       Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25      Page 108 of 151
Monday, January 6, 2025


                                                                                                       $2,000 restitution
 Miles, Steven       1:22-CR-00136-JMC   18 U.S.C. § 111(a)(1)         30 months’ incarceration        24 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Beckley, Damon      1:21-CR-00285-JEB   18 U.S.C. § 1512(c)(2), 2     37 months’ incarceration        18 months’ incarceration
 Michael                                 18 U.S.C. § 231(a)(3), 2      36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Krill, Peter Jr.    1:23-CR-00342-JEB   18 U.S.C. § 231(a)(3)         13 months’ incarceration        9 months’ incarceration
                                                                       36 months’ supervised release   12 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Christmann,         1:21-CR-00502-CKK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          25 days’ incarceration
 Daniel                                                                $500 restitution                $500 restitution
 Fan, Alexander      1:23-CR-00270-APM   40 U.S.C. § 5104 (e)(2)(C)    21 days’ intermittent           12 months’ probation
                                                                       confinement                     $500 restitution
                                                                       36 months’ probation
                                                                       60 hours’ community service
                                                                       $500 restitution
 Tyner, Christian    1:23-CR-00361-RDM   40 U.S.C. § 5104(e)(2)(D)     14 days’ incarceration          36 months’ probation
 David                                   40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            $1,000 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Gray, Daniel Paul   1:21-CR-00495-AMJ   18 U.S.C. § 1512(c)(2)        51 months’ incarceration        30 months’ incarceration
                                         18 U.S.C. § 111(a)(1)         36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 Rodriguez, Juan     1:23-CR-00270-APM   40 U.S.C. §5104(e)(2)(C)(i)   90 days’ incarceration          30 days’ incarceration
                                         40 U.S.C. §5104(e)(2)(E)      36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Bradshaw,           1:23-CR-00220-TJK   18 U.S.C. § 1752(a)(2)        10 months’ incarceration        4 months’ incarceration
 Brandon                                                               12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $500 fine
                                                                       $500 restitution                $500 restitution




                                                                  95
                      Case 1:21-cr-00382-PLF      Document 176      Filed 01/30/25      Page 109 of 151
Monday, January 6, 2025


 Balhorn, Ronald   1:23-CR-00114-ACR   18 U.S.C. § 1752(a)(1),      13 months’ incarceration        100 days’ incarceration
                                       (b)(1)(A)                    12 months’ supervised release   12 months’ supervised release
                                       18 U.S.C. § 1752(a)(2),      $500 restitution                200 hours’ community service
                                       (b)(1)(A)                                                    $500 restitution
                                       40 U.S.C. § 5104(e)(2)(G)
 Mylnarek, Kyle    1:23-CR-00114-ACR   18 U.S.C. § 1752(a)(1)       9 months’ incarceration         100 days’ incarceration
                                       18 U.S.C. § 1752(a)(2)       12 months’ supervised release   12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D)    $500 restitution                200 hours’ community service
                                       40 U.S.C. § 5104(e)(2)(G)                                    $500 restitution
 Mock, Brian       1:21-CR-00444-JEB   18 U.S.C. § 1512(c)(2), 2    109 months’ incarceration       33 months’ incarceration
                                       18 U.S.C. § 231(a)(3)        36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 111(a)(1)        $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 111(a)(1)
                                       18 U.S.C. § 111(a)(1)
                                       18 U.S.C. § 111(a)(1)
                                       18 U.S.C. § 641
                                       18 U.S.C. § 1752(a)(1)
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(F)
 Zerkle, Jacob     1:22-CR-00100-RBW   18 U.S.C. § 231(a)(1)        34 months’ incarceration        24 months’ incarceration
                                       18 U.S.C. § 111(a)(3)        12 months’ supervised release   36 months’ supervised release
                                                                    $2,000 restitution              200 hours community service
                                                                                                    $2,000 restitution
 Farris, Jason     1:23-CR-00068-AMJ   18 U.S.C. § 111(a)(1)        27 months’ incarceration        18 months’ incarceration
                                                                    36 months’ supervised release   24 months’ supervised release
                                                                    $2,000 restitution              $2,000 restitution

 Kuehne,           1:21-CR-00160-TJK   18 U.S.C. § 231(a)(3)        6 months’ incarceration         75 days’ incarceration
 Christopher                                                        36 months’ supervised release   24 months’ supervised release
                                                                    $2,000 restitution              60 days’ home confinement
                                                                                                    $2,000 restitution




                                                               96
                      Case 1:21-cr-00382-PLF      Document 176       Filed 01/30/25       Page 110 of 151
Monday, January 6, 2025


 Crowley, John     1:23-CR-00045-TNM   18 U.S.C. § 231(a)(3)         21 months’ incarceration        8 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)        36 months’ supervised release   6 months’ home detention
                                       18 U.S.C. § 1752(a)(2)        $2,000 restitution              36 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)                                        $7,000 fine
 Hess, Cameron     1:23-CR-00086-RCL   18 U.S.C. § 231(a)(3)         12 months’ incarceration        9 months’ incarceration
                                                                     24 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution

 Nhi Ngoc, Mai     1:23-CR-00317-TSC   40 U.S.C. § 5104(e)(2)(D)     30 days’ incarceration          10 days’ incarceration
 Le                                    40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            $1,000 fine
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
 Belger, Melanie   1:23-CR-00198-ACR   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          36 months’ probation
                                                                     $500 restitution                250 hours’ community service
                                                                                                     $4,000 fine
                                                                                                     $500 restitution
 Estey, Michelle   1:23-CR-00198-ACR   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     $500 restitution                250 hours’ community service
                                                                                                     $2,000 fine
                                                                                                     $500 restitution
 Reyher, Jessica   1:23-CR-00138-RBW   18 U.S.C. § 231(a)(3)         9 months’ incarceration         90 days’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 Restitution              $2,000 restitution

 Reyher, Arthur    1:23-CR-00138-RBW   18 U.S.C. § 231(a)(3)         12 months’ incarceration        8 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              200 hours community service
                                                                                                     $2,000
 Foy, Michael      1:21-CR-00108-TSC   18 U.S.C. § 111(a)(1)         97 months’ incarceration        40 months’ incarceration
                                       18 U.S.C. § 1512(c)(2)        36 months’ supervised release   24 months’ supervised release
                                                                     $88,464 fine                    $2,000 restitution
                                                                     $2,000 restitution
 McAbee, Ronald    1:21-CR-00035-RC    18 U.S.C. § 111(a)            37 months’ incarceration        70 months’ incarceration
 Colton                                40 U.S.C. § 5104(e)(2)(F)     36 months’ supervised release   36 months’ supervised release
                                                                     $2,965 fine                     $32,165 restitution
                                                                     $2,000 restitution

                                                                97
                      Case 1:21-cr-00382-PLF       Document 176      Filed 01/30/25       Page 111 of 151
Monday, January 6, 2025


 Sabol, Jeffrey     1:21-CR-00035-RC    18 U.S.C. § 1512(c)(2), 2    42 months’ incarceration        63 months’ incarceration
                                        18 U.S.C. § 2111             36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 111(b), 2        $2,000 restitution

 Fellows, Brandon   1:21-CR-00083-TNM   18 U.S.C. § 1512(c)(2), 2    37 months’ incarceration        37 months’ incarceration
                                        18 U.S.C. § 1752(a)(1)       36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(2)       $2,000 restitution              $2,000 restitution
                                        40 U.S.C. § 5104(e)(2)(C)
                                        40 U.S.C. § 5104(e)(2)(D)
 Roe, Christopher   1:23-CR-00277-CKK   18 U.S.C. § 111(a)(1)        71 months’ incarceration        70 months’ incarceration
                                        18 U.S.C. § 111(a)(1)        36 months’ supervised release   24 months’ supervised release
                                        18 U.S.C. § 111(a)(1)        $2,000 restitution              $2,000 restitution

 Mackrell,          1:21-CR-00276-CKK   18 U.S.C. § 111(a)(1)        30 months’ incarceration        27 months’ incarceration
 Clifford                                                            36 months’ supervised release   24 months’ supervised release
                                                                     $2,000 restitution

 Higgins, Dusty     1:23-CR-00059-RDM   18 U.S.C. § 1752(a)(1)       21 days’ intermittent           14 days’ intermittent confinement
                                        18 U.S.C. § 1752(a)(2)       confinement                     36 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)    36 months’ supervised release   50 hours’ community service
                                        40 U.S.C. § 5104(e)(2)(G)    50 hours’ community service     $500 restitution
                                                                     $500 restitution
 Fiol, Frederic     1:23-CR-00196-RCL   40 U.S.C. § 5104(e)(2)(D)    45 days’ incarceration          45 days’ incarceration
                                        40 U.S.C. § 5104(e)(2)(G)    36 months’ probation            24 months’ probation
                                                                     $500 restitution                $500 restitution

 Mackrell,          1:21-CR-00276-CKK   18 U.S.C. § 111(a)(1)        27 months’ incarceration        27 months’ incarceration
 Michael                                                             36 months’ supervised release   12 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution

 Pooler, Thomas     1:24-CR-00075-TNM   40 U.S.C. § 5104(e)(2)(D)    30 days’ incarceration          12 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)    24 months’ probation            $500 restitution
                                                                     $500 restitution




                                                                98
                       Case 1:21-cr-00382-PLF       Document 176       Filed 01/30/25      Page 112 of 151
Monday, January 6, 2025


 Villanueva,         1:24-CR-00016-TNM   40 U.S.C. § 5104(e)(2)(D)     6 months’ incarceration         4 months’ incarceration
 Angel                                   40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            24 months’ probation
                                                                       $500 restitution                $500 restitution

 Jackson, Adam       1:22-CR-00230-RC    18 U.S.C. § 111(a)(1)         41 months’ incarceration        52 weeks’ intermittent confinement
                                                                       36 months’ supervised release   52 months’ home detention
                                                                       $2,000 restitution              36 months’ probation
                                                                                                       $4,392 fine
                                                                                                       $2,000 restitution
 Von Keudell,        1:23-CR-00221-CRC   40 U.S.C. § 5104(e)(2)(D)     30 days’ incarceration          24 months’ probation
 Nicholas                                40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            100 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Johnatakis,         1:21-CR-00091-RCL   18 U.S.C. § 1512(c)(2), 2     108 months’ incarceration       87 months’ incarceration
 Taylor                                  18 U.S.C. § 111(a)(1)         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 231(a)(3)         $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(F)

 Tippett, Cody       1:23-CR-00337-CRC   40 U.S.C. § 5104(e)(2)(D)     45 days’ incarceration          30 days’ incarceration
 Lee                                     40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Dillard, Brandon    1:23-CR-00076-CRC   18 U.S.C. § 1752(a)(2)        10 months’ incarceration        4 months’ incarceration
 Kelly                                                                 12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Morrissey, Daniel   1:21-CR-00660-RBW   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       90 days’ home detention         $2,500 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution                Resentenced2
                                                                                                       36 months’ probation
                                                                                                       $500 restitution

                                                                  99
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25          Page 113 of 151
Monday, January 6, 2025


                                                                                                        200 hours community service

 Harrower, Eric     1:23-CR-00240-JEB   40 U.S.C. § 5104(e)(2)(G)      14 days’ intermittent            10 days’ intermittent confinement
                                                                       confinement                      12 months' probation
                                                                       36 months’ probation             50 hours' community service
                                                                       60 hours’ community service      $500 restitution
                                                                       $500 restitution
 Vo, Anthony        1:21-CR-00509-TSC   18 U.S.C. § 1752(a)(1)         11 months’ incarceration         9 months’ incarceration
                                        18 U.S.C. § 1752(a)(2)         12 months’ supervised release    12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)      $500 restitution                 $1,000 fine
                                        40 U.S.C. § 5104(e)(2)(G)
 Adams, Dennis      1:23-CR-00396-TSC   18 U.S.C. § 1752(a)(1)         60 days’ incarceration           45 days’ incarceration
                                                                       12 months’ supervised release    12 months’ supervised release
                                                                       60 hours’ community service      60 hours’ community service
                                                                       $500 restitution                 $500 restitution
 Portlock, Joshua   1:22-CR-00067-CJN   18 U.S.C. § 111(a)(1)          27 months’ incarceration         20 months’ incarceration
                                                                       36 months’ supervised release    24 months’ supervised release
                                                                       $2,000 restitution               $2,000 restitution

 Peery, Brandon     1:23-CR-00207-DLF   18 U.S.C. § 1752(a)(1)         14 days’ intermittent            36 months’ probation
                                                                       confinement                      $500 restitution
                                                                       36 months’ probation
                                                                       $500 restitution

 Williams, Elliot   1:23-CR-00375-CRC   18 U.S.C. § 1752(a)(2)         3 months’ incarceration          30 days’ incarceration
                                                                       12 months’ supervised release    12 months’ supervised release
                                                                       60 hours’ community service      $500 restitution
                                                                       $500 restitution
 Elizalde, David    1:23-CR-00170-CJN   40 U.S.C. § 5104(e)(2)(G)      30 days’ intermittent            30 days’ home detention
                                                                       confinement                      $2,500 fine
                                                                       36 months’ probation
                                                                       60 hours community service
 Miller, Scott      1:22-CR-00412-TSC   18 U.S.C. § 111(b)             71 months’ incarceration         66 months’ incarceration
                                                                       36 months’ supervised release    36 months’ supervised release
                                                                       $2,000 restitution               $2,000 restitution


                                                                 100
                       Case 1:21-cr-00382-PLF       Document 176          Filed 01/30/25      Page 114 of 151
Monday, January 6, 2025


 Kinnison, Derek     1:21-CR-00392-RCL   18 U.S.C. § 1512(k)              96 months’ incarceration        33 months’ incarceration
                                         18 U.S.C. § 1512(c)(1)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2        $48,411 fine                    $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)           $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)

 Warner, Erik        1:21-CR-00392-RCL   18 U.S.C. § 1512(k)              96 months’ incarceration        27 months’ incarceration
                                         18 U.S.C. § 1512(c)(1)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1512(c)(2), 2        $15,827 fine                    $2,000 restitution
                                         18 U.S.C. § 1752(a)(1)           $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
 Martinez, Felipe    1:21-CR-00392-RCL   18 U.S.C. § 1512(k)              78 months’ incarceration        21 months’ incarceration
 Antonio                                 18 U.S.C. § 1512(c)(2), 2        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)           $30,315 fine                    $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)           $2,000 restitution
 Mele, Ronald        1:21-CR-00392-RCL   18 U.S.C. § 1512(k)              96 months’ incarceration        33 months’ incarceration
                                         18 U.S.C. § 1512(c)(2), 2        36 months’ supervised release   36 months supervised release
                                         18 U.S.C. § 1752(a)(1)           $39,402 fine                    $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)           $2,000 restitution
 Dragoo,             1:23-cr-00208-BAH   40 U.S.C. § 5104(e)(2)(G)        21 days’ intermittent           14 days’ intermittent confinement
 Kimberly                                                                 confinement                     36 months’ supervised release
                                                                          36 months’ supervised release   $5,000 fine
                                                                          60 hours’ community service     $500 restitution
                                                                          $500 restitution
 Dragoo, Steven      1:23-CR-00208-BAH   40 U.S.C. § 5104(e)(2)(G)        14 days’ intermittent           14 days’ intermittent confinement
                                                                          confinement                     36 months’ supervised release
                                                                          36 months’ supervised release   $5,000 fine
                                                                          60 hours’ community service     $500 restitution
                                                                          $500 restitution
 Easterday, Isreal   1:22-CR-00404-JEB   18 U.S.C. § 231(a)(3), 2         151 months’ incarceration       30 months’ incarceration
                                         18 U.S.C. § 111(a)(1) and (b),   36 months’ supervised release   24 months’ supervised release
                                         2                                $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 111(a)(1) and (b),   T
                                         2
                                         18 U.S.C. § 1752(a)(1),
                                         (b)(1)(A) and 2

                                                                101
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25      Page 115 of 151
Monday, January 6, 2025


                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(A) and 2
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(A) and 2
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)
                                       40 U.S.C. § 5104(e)(2)(G)
 Gietzen, David    1:22-CR-00116-CJN   18 U.S.C. § 231(a)(3), 2        121 months’ incarceration       72 months’ incarceration
 Joseph                                18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 111(a)(1) and (b)   $2,000 restitution
                                       18 U.S.C. § 1752(a)(1),
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(a)
                                       40 U.S.C. § 5104(e)(2)(F)
 DaSilva, Matthew 1:21-CR-00564-CJN    18 U.S.C. § 111(a)(1)           41 months’ incarceration        28 months’ incarceration
                                       18 U.S.C. § 231(a)(3)           36 months’ supervised release   6 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          60 hours’ community service
                                       18 U.S.C. § 1752(a)(2)          $500 restitution
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(F)
 DiGiovanni,       1:23-CR-00444-JEB   18 U.S.C. § 1752(a)(1)          30 days’ incarceration          10 days’ incarceration
 Gene                                                                  12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Hendrix,          1:21-CR-00426-CKK   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          30 days’ incarceration
 Nicholas                                                              36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     Resentenced2
                                                                       $500 restitution                42 months’ probation
 Duong, Long       1:23-CR-00219-DLF   18 U.S.C. § 1752(a)(1)          60 days’ incarceration          36 months’ probation
                                                                       12 months’ supervised release   $500 restitution
                                                                       $500 restitution




                                                                102
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25       Page 116 of 151
Monday, January 6, 2025


 Miller, Julie      1:23-CR-00219-DLF   18 U.S.C. § 1752(a)(1)         14 days’ incarceration          36 months’ probation
                                                                       12 months’ supervised release   $500 restitution
                                                                       $500 restitution

 Pearston, Donald   1:23-CR-00454-JEB   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          10 days’ incarceration
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            9 months’ probation
                                                                       $500 restitution                $1,000 fine
                                                                                                       $500 restitution
 Sullivan, John     1:21-CR-00078-RCL   18 U.S.C. § 1512(c)(2)         87 months’ incarceration        72 months’ incarceration
                                        18 U.S.C. § 231(a)(3)          36 months’ supervised release   24 months’ supervised release
                                        18 U.S.C. § 1752(a)(1),        $90,875 fine                    $2,000 restitution
                                        (b)(1)(A)                      $2,000 restitution
                                        18 U.S.C. § 1752(a)(2),
                                        (b)(1)(A)
                                        40 U.S.C. §5104(e)(1)(A)(i)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(G)
 Whitton, Jack      1:21-CR-00035-RC    18 U.S.C. 111(b)               97 months’ incarceration        57 months’ incarceration
 Wade                                                                  36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 Nichols, Ryan      1:21-CR-00117-RCL   18 U.S.C. § 1512(c)(2), 2      30 months’ incarceration        63 months’ incarceration
                                        18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                                                       A fine                          $200,000 fine
                                                                       $2,000 restitution              $2,000 restitution
 Barron, Nancy      1:22-CR-00089-ZMF   18 U.S.C. § 1752(a)(1)         12 months’ incarceration        6 months’ home detention
                                        18 U.S.C. § 1752(a)(2)         12 months’ supervised release   36 months’ probation
                                        40 U.S.C. § 5104(e)(2)(D)      60 hours community service      $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)      $500 restitution
 Taylor, Russell    1:21-CR-00392-RCL   18 U.S.C. § 1512(k)            52 months’ incarceration        6 months’ home detention
                                                                       36 months’ supervised release   36 months’ probation
                                                                       $25,000 fine                    $2,000 restitution
                                                                       $2,000 restitution




                                                                 103
                       Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 117 of 151
Monday, January 6, 2025


 Ciarpelli, Albert   1:23-CR-00398-CKK   18 U.S.C. § 1752(a)(1)         6 months’ incarceration         90 days’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Hanna, Steven       1:23-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          45 days’ home detention
                                         40 U.S.C. § 5104(e)(2)(G)      24 months’ probation            24 months’ probation
                                                                        60 hours’ community service     $500 fine
                                                                        $500 restitution                $500 restitution
 Hanna, Robert       1:23-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          45 days’ home detention
                                         40 U.S.C. § 5104(e)(2)(G)      24 months’ probation            24 months’ probation
                                                                        60 hours’ community service     $500 fine
                                                                        $500 restitution                $500 restitution
 Brackley,           1:24-CR-00009-CJN   18 U.S.C. § 111(a)(1)          28 months’ incarceration        15 months’ incarceration
 Matthew                                                                36 months’ supervised release   24 months’ supervised release
                                                                                                        $1,000 fine
                                                                                                        $2,000 restitution
 Smither, David      1:24-CR-00015-JMC   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          12 months’ probation
 Evan                                    40 U.S.C. § 5104(e)(2)(G)      60 hours’ community service     50 hours’ community service
                                                                        $500 restitution                $725 fine
                                                                                                        $500 restitution
 Dillon, Michael     1:23-CR-00108-TSC   18 U.S.C. § 1752(a)(1)         3 months’ incarceration         45 days’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours community service      $500 restitution
                                                                        $500 restitution
 MacCracken,         1:22-CR-00010-RJL   18 U.S.C. § 231(a)(3)          14 months’ incarceration        12 months’ incarceration
 Avery                                                                  36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution

 Bozell, Leo Brent   1:21-CR-00216-JDB   18 U.S.C. § 1512(c)(2)         140 months’ incarceration       45 months’ incarceration
                                         18 U.S.C. § 111(a)(1)          36 months’ supervised release   $4,729 restitution
                                         18 U.S.C. § 231(a)(3)          $4,729.00 restitution
                                         18 U.S.C. § 1361
                                         18 U.S.C. § 1752(a)(1)
                                         18 U.S.C. § 1752(a)(2))
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)

                                                                  104
                       Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 118 of 151
Monday, January 6, 2025


                                         40 U.S.C. § 5104(e)(2)(G)
 Barber, Steven      1:23-CR-00409-DLF   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          24 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            60 hours’ community service
                                                                        60 hours’ community service     $500 restitution

 Cramer,             1:23-CR-00414-DLF   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          24 months’ probation
 Esvetlana                               40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            60 hours’ community service
                                                                        60 hours’ community service     $500 restitution

 Holmes, Sarah       1:24-CR-00090-TNM   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          12 months’ probation
 Kathleen                                40 U.S.C. § 5104(e)(2)(G)      36 months’ supervised release   $1,000 fine
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 fine

 Legros, Christina   1:23-CR-00069-CKK   18 U.S.C. § 1752(a)(1)         3 months’ incarceration         96 days’ incarceration (credit time
                                                                        12 months’ supervised release   served)
                                                                        $500 restitution                6 months supervised release
                                                                                                        $500 restitution

 Ondulich,           1:23-CR-00242-APM   40 U.S.C. § 5104(e)(2)(D)      21 days’ incarceration          45 days’ home detention
 Stephen                                 40 U.S.C. § 5104(e)(2)(G)      36 months’ supervised release   36 months’ probation
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $1,000 fine
                                                                                                        $500 restitution
 Weston, Tucker      1:23-CR-00174-RBW   18 U.S.C. § 231(a)(3)          27 months’ incarceration        24 months’ incarceration
                                         18 U.S.C. § 111(a)(1)          26 months’ supervised release   36 months’ supervised release


 Amsini, Daniel      1:23-CR-00423-CJN   18 U.S.C. § 641                3 months’ incarceration         45 days’ incarceration
                                                                        12 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $749 restitution                $749 restitution




                                                                  105
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25      Page 119 of 151
Monday, January 6, 2025


 Quaglin,          1:21-CR-00040-TNM   18 U.S.C. § 111(a)(1)           168 months’ incarceration       144 months’ incarceration
 Christopher                           18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 111(a)(1)           $82,000 fine                    $2,000 restitution
                                       18 U.S.C. § 2111, 2             $2,000 restitution
                                       18 U.S.C. § 111(a)(1), 2
                                       18 U.S.C. § 2111, 2
                                       18 U.S.C. § 111(a)(1) and (b)
                                       18 U.S.C. § 111(a)(1) and (b)
                                       18 U.S.C. § 1512(c)(2), 2
                                       18 U.S.C. § 231(a)(3)
                                       18 U.S.C. § 1752(a)(1),
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(A)
                                       40 U.S.C. § 5104(e)(2)(D), 2
                                       40 U.S.C. § 5104(e)(2)(F), 2
 Coker, Joshua     1:23-CR-00362-TNM   18 U.S.C. § 1752(a)(2)          7 months’ incarceration         8 months’ home detention
                                                                       24 months’ supervised release   36 months’ probation
                                                                       60 hours’ community service
                                                                       $500 restitution
 Fisher, Joseph    1:23-CR-00305-RDM   18 U.S.C. § 231(a)(3)           46 months’ incarceration        20 months’ incarceration
                                       18 U.S.C. § 111(a)(1)           36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)
                                       40 U.S.C. § 5104(e)(2)(G)
 Harkrider, Alex   1:21-CR-00117-RCL   18 U.S.C. § 231(a)(3), 2        36 months’ incarceration        24 months’ incarceration
 Kirk                                  18 U.S.C. § 1512(c)(2), 2       36 months' supervised release   24 months' supervised release
                                       18 U.S.C. § 641                 $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(1),
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(A)
                                       40 U.S.C. § 5104(e)(2)(D)


                                                              106
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25      Page 120 of 151
Monday, January 6, 2025


                                       40 U.S.C. § 5104(e)(2)(G)
 Todd III, John    1:22-CR-00166-BAH   18 U.S.C. § 1512(c)(2), 2       151 months’ incarceration       60 months’ incarceration
 George                                18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          $4,541.68 restitution           $4,541.68 restitution
                                       18 U.S.C. § 1752(a)(2)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
 Taake, Andrew     1:21-CR-00498-CJN   18 U.S.C. § 111(a)(1) and (b)   78 months’ incarceration        74 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $66,339 fine                    $2,000 restitution
                                                                       $2,000 restitution
 Curl, Jason       1:23-CR-00253-JDB   40 U.S.C. § 5104(e)(2)(D)       30 days’ incarceration          24 months’ probation
                                       40 U.S.C. § 5104(e)(2)(G)       24 months’ probation            50 hours’ community service
                                                                       60 hours’ community service     $1,000 fine
                                                                       $500 restitution                $500 restitution

 Clark, Eric       1:22-CR-00409-APM   18 U.S.C. § 1752(a)(1)          12 months’ incarceration        5 months’ incarceration
                                       18 U.S.C. § 1752(a)(2)          12 months’ supervised release   12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D)       $16,879 fine                    $500 restitution
                                       40 U.S.C. § 5104(e)(2)(G)       $500 restitution
 Azari, Farhad     1:23-CR-0251-RCL    18 U.S.C. § 111(b)(1)           57 months’ incarceration        30 months’ incarceration
                                       18 U.S.C. § 231(a)(3)           36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 Azari, Farbod     1:23-CR-0251-RCL    18 U.S.C. § 111(b)(1)           57 months’ incarceration        50 months’ incarceration
                                       18 U.S.C. § 231(a)(3)           36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 O’Brien, Scott    1:24-CR-00206-TNM   40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          24 months’ probation
 Alan                                  40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $1,000 fine
                                                                       $500 restitution                $500 restitution




                                                               107
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25       Page 121 of 151
Monday, January 6, 2025


 Yates, Ryan       1:23-CR-372-TNM     18 U.S.C. § 231(a)(3)           11 months’ incarceration        6 months’ incarceration
 Keith                                                                 36 months’ supervised release   3 months’ home detention
                                                                       100 hours’ community service    24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Nolf, Anthony     1:23-CR-00162-BAH   18 U.S.C. § 231(a)(3)           11 months’ incarceration        3 months’ incarceration
                                                                       36 months’ supervised release   5 months’ home detention
                                                                       $2,000 restitution              31 months’ supervised release
                                                                                                       $2,000 restitution
 Reyna, Ruben      1:23-CR-00350-CKK   18 U.S.C. § 1752(a)(1)          14 days’ incarceration          14 days’ incarceration
                                                                       12 months’ probation            12 months’ probation
                                                                       $500 restitution                $500 restitution

 Sylvester,        1:24-CR-00102-JEB   40 U.S.C. § 5104(e)(2)(D)       21 days’ incarceration          12 months’ probation
 Kymberly                              40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution

 Huttle, Dale      1:22-CR-00403-CRC   18 U.S.C. § 111(a)(1) and (b)   85 months’ incarceration        30 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release.
                                                                                                       $3,639 restitution

 Clary, Xyan       1:23-CR-00432-RBW   18 U.S.C. § 1752(a)(1)          45 days’ incarceration          36 months’ probation
                                                                       24 months’ probation            $1,800 fine
                                                                       60 hours’ community service     200 hours’ community service
                                                                       $500 restitution                $500 restitution
 Clary, Nico       1:23-CR-00432-RBW   18 U.S.C. § 1752(a)(1)          45 days’ incarceration          36 months’ probation
                                                                       24 months’ probation            $1,800 fine
                                                                       60 hours’ community service,    200 hours’ community service
                                                                       $500 restitution                $500 restitution
 Valdez, Daniel    1:24-CR-00086-DLF   40 U.S.C. § 5104(e)(2)(D)       30 days’ incarceration          36 months’ probation
                                       40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            $500 restitution
                                                                       60 hours community service
                                                                       $500 restitution




                                                                108
                       Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25       Page 122 of 151
Monday, January 6, 2025


 Colello, Robert     1:24-CR-00059-JMC   40 U.S.C. § 5104(e)(2)(D)       21 days’ incarceration          12 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            $500 restitution
                                                                         $500 restitution

 Mastanduno,         1:23-CR-00434-TSC   18 U.S.C. § 111(a)(1) and (b)   72 months’ incarceration        57 months’ incarceration
 Anthony                                 18 U.S.C. § 1752(a)(1),         36 months’ supervised release   24 months’ supervised release
                                         (b)(1)(A)                       $2,000 restitution              Restitution to be determined
                                         18 U.S.C. § 1752(a)(2),
                                         (b)(1)(A)
                                         18 U.S.C. § 1752(a)(4),
                                         (b)(1)(A)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)
 McNulty, Devin      1:23-CR-00235-TSC   18 U.S.C. § 111(a)(1)           24 months’ incarceration        12 months and one day’
                                                                         36 months’ supervised release   incarceration
                                                                         $2,000 fine                     24 months’ supervised release
                                                                                                         60 hours’ community service
                                                                                                         $2,000 fine
 Wilkinson, Ulises   1:23-CR-00283-JMC   40 U.S.C. § 5104(e)(2)(D)       60 days’ incarceration          12 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            40 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
 Bournes, Patrick    1:23-CR-00035-RC    18 U.S.C. § 231(a)(3)           11 months’ incarceration        4 months’ incarceration
                                                                         24 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $16,600 fine
                                                                         fine                            $2,000 restitution
 Chambers II,        1:23-CR-00300-DLF   18 U.S.C. § 1752(a)(1)          13 months’ incarceration        7 months’ incarceration
 Raymond                                 18 U.S.C. § 1752(a)(2)          12 months’ probation.           12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)       $500 restitution                $500 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
 Keen, Quinn         1:23-CR-00226-TJK   18 U.S.C. § 111(a)(1)           27 months’ incarceration        24 months’ incarceration
                                                                         36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution




                                                                 109
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 123 of 151
Monday, January 6, 2025


 Adkins, Miles     1:24-CR-00273-TNM   40 U.S.C. § 5104(e)(2)(D)      45 days’ incarceration          12 days’ intermittent incarceration
                                       40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            24 months’ probation
                                                                      60 hours’ community service     $1,000 fine
                                                                      $500 restitution                $500 restitution
 Cholod,           1:23-CR-00185-APM   18 U.S.C. § 111(a)(1)          46 months’ incarceration        40 months’ incarceration
 Raymond                                                              36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution

 Wilson, Gary      1:21-CR-00046-RDM   18 U.S.C. § 641                3 months’ incarceration         30 days’ incarceration
                                                                      $500 restitution                12 months’ supervised release
                                                                                                      $500 restitution

 Healion, Brian    1:23-CR-00230-TJK   18 U.S.C. § 231(a)(3)          6 months’ incarceration         100 days’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $1,000 restitution              $2,000 restitution

 Kumer, Kyle       1:23-CR-00237-CJN   18 U.S.C. § 231(a)(3), 2       15 months’ incarceration        10 months’ incarceration
                                                                      36 months’ supervised release   24 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution

 Tate, Curtis      1:24-CR-00092-CRC   18 U.S.C. § 111(a)(1)          78 months’ incarceration        63 months’ incarceration
 Logan                                                                36 months’ supervised release   36 months’ supervised release
                                                                      $3,176 restitution              $3,176 restitution

 St. Onge, Alan    1:23-CR-00237-CJN   18 U.S.C. § 231(a)(3)          21 months’ incarceration        18 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution

 Stover, William   1:23-CR-00237-CJN   18 U.S.C. § 231(a)(3)          14 months’ incarceration        6 months’ incarceration
                                                                      36 months’ probation            36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution

 Nelson, Derek     1:24-CR-00074-CJN   18 U.S.C. § 1752(a)(1)         6 months’ incarceration         75 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      60 hours community service      $500 restitution
                                                                      $500 restitution

                                                                110
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25       Page 124 of 151
Monday, January 6, 2025


 Bishop, Tonya      1:23-CR-00416-TJK   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          24 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            80 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Schubert, John     1:24-CR-00077-CRC   18 U.S.C. § 111(a)(1)          27 months’ incarceration        18 months’ incarceration
 Anthony                                                               36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 Bonney, Jonathan   1:24-CR-00017-APM   18 U.S.C. § 1752(a)(1)         6 months’ incarceration         12 months’ supervised release
                                        18 U.S.C. § 1752(a)(2)         12 months’ supervised release   60 hours community service
                                        40 U.S.C. § 5104(e)(2)(D)      $500 fine                       $70 fine
                                        40 U.S.C. § 5104(e)(2)(G)                                      $500 restitution
 Tedesco, Timothy 1:24-CR-00128-BAH     40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          90 days’ home detention
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                       $500 restitution                $10,000 fine
                                                                                                       $500 restitution
 Offman, Spencer    1:24-CR-00066-TSC   18 U.S.C. § 1752(a)(1)         45 days’ incarceration          30 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours community service      60 hours community service
                                                                       $500 restitution                $500 restitution
 Gill, Tony         1:21-CR-00449-TSC   18 U.S.C. § 1752(a)(1)         2 months’ incarceration         45 days’ incarceration
                                                                       6 months’ supervised release    6 months’ supervised release
                                                                       60 hours community service      $1,000 fine
                                                                       $500 restitution                $500 restitution
 Dodder, Derek      1:24-CR-00074-CJN   40 U.S.C. § 5104(e)(2)(D)      60 days’ incarceration          14 days’ incarceration
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            12 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution

 Casselman,         1:24-CR-00111-DLF   18 U.S.C. § 111(a)(1)          40 months’ incarceration        40 months’ incarceration
 Thomas                                                                36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution




                                                                 111
                      Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25      Page 125 of 151
Monday, January 6, 2025


 Brody, Joseph      1:24-CR-00067-DLF   18 U.S.C. § 231                 30 months’ incarceration        18 months’ incarceration
                                        18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              50 hours’ community service
                                                                                                        $2,000 restitution
 Dykes, Tyler       1:23-CR-00266-BAH   18 U.S.C. § 111(a)(1) and (b)   63 months’ incarceration        57 months’ incarceration
 Bradley                                                                36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $20,000 fine
                                                                                                        $2,000 restitution
 Martin, Marcus     1:23-CR-00353-JDB   18 U.S.C. § 111(a)(1)           34 months’ incarceration        32 months’ incarceration
                                        18 U.S.C. § 111(a)(1)           36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              60 hours’ community service
                                                                                                        $2,000 restitution
 Cook, Steven       1:23-CR-00340-TNM   18 U.S.C. § 111(a)(1)           37 months’ incarceration        28 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution

 Bowling, Marissa   1:23-CR-00425-APM   40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          24 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)       24 months’ probation
                                                                        60 hours’ community service
                                                                        $500 restitution
 Bowling, Dylan     1:23-CR-00425-APM   40 U.S.C. § 5104(e)(2)(D)       21 days’ incarceration          30 days’ home detention
                                        40 U.S.C. § 5104(e)(2)(G)       24 months’ probation            24 months’ probation
                                                                        60 hours’ community service
                                                                        $500 restitution
 Nester,            1:22-CR-00183-TSC   18 U.S.C. § 1752(a)(1)          12 months’ incarceration        10 months’ incarceration
 Lynnwood                               18 U.S.C. § 1752(a)(2)          12 months’ supervised release   12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)       A fine                          $500 fine
                                        40 U.S.C. § 5104(e)(2)(G)       $500 restitution                $500 restitution
 Kovsky, Adam       1:24-CR-00065-LLA   18 U.S.C. § 1752 (a)(1)         30 days’ incarceration          36 months’ probation
                                                                        12 months’ supervised release   100 hours’ community service
                                                                        A fine                          $500 restitution
                                                                        $500 restitution
 Parmenter,         1:23-CR-00404-JEB   40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          5 days’ incarceration
 Joshua                                 40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            12 months’ supervised release
                                                                        60 hours’ community service     100 hours’ community service
                                                                        $500 restitution                $500 restitution

                                                                112
                       Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 126 of 151
Monday, January 6, 2025


 Pulaski, Curtis     1:24-CR-00103-TJK   40 U.S.C. § 5104(e)(2)(D)      21 days’ incarceration          24 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            30 days’ home detention
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $500 restitution
 Yetman, Gregory     1:24-CR-00093-JEB   18 U.S.C. § 111(a)(1)          45 months’ incarceration        30 months’ incarceration
                                                                        36 months’ supervised release   18 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution

 Keniley,            1:24-CR-00001-TSC   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          10 days’ incarceration
 Christopher                             40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            12 months’ probation
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Knowles, Joshua     1:22-CR-00297-TJK   18 U.S.C. § 1752(a)(2)         9 months’ incarceration         7 months’ incarceration
                                                                        36 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 Fournier, Michael   1:24-CR-00081-JEB   40 U.S.C. § 5104(e)(2)(D)      6 months’ incarceration         1 month’ incarceration
                                         40 U.S.C. § 5104(e)(2)(G)      36 months’ supervised release   12 months’ supervised release
                                                                        $500 restitution                100 hours community service
                                                                                                        $500 restitution
 Ackerman,           1:24-CR-00060-TJK   18 U.S.C. § 641                10 months’ incarceration        3 days’ incarceration
 Richard Zachary                         18 U.S.C. § 231(a)(3)          36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              10 months’ home detention

 Purkel, Colby       1:23-CR-00448-JEB   18 U.S.C. § 231(a)(3)          6 months’ incarceration         21 days’ incarceration
                                                                        36 months’ supervised release   12 months’ supervised release
                                                                        $2,000 restitution              100 hours community service
                                                                                                        $2,000 restitution
 Heffelfinger,       1:24-CR-00051-RC    40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          24 months’ probation
 Benjamin                                40 U.S.C. § 5104(e)(2)(G)      36 months’ supervised release   2 months’ home detention
                                                                        60 hours’ community service     60 hours community service
                                                                        $500 restitution                $500 restitution
 Jackson, Brian      1:22-CR-00230-RC    18 U.S.C. §111(a)(1)           52 months’ incarceration        37 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              60 hours’ community service
                                                                                                        $2,000 restitution

                                                                  113
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 127 of 151
Monday, January 6, 2025


 Arredondo, David 1:22-CR-00373-RCL     18 U.S.C. § 231(a)(3)          40 months’ incarceration        33 months’ incarceration
                                        18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)         $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(F)
                                        40 U.S.C. § 5104(e)(2)(G)
 Dempsey, David     1:21-CR-00566-RCL   18 U.S.C.§ 111(a)(1) and (b)   262 months’ incarceration       240 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       A fine                          $2,000 restitution
                                                                       $2,000 restitution
 Lavrenz, Rebecca   1:23-CR-00066-ZMF   18 U.S.C. § 1752(a)(1)         10 months’ incarceration        6 months’ probation
                                        18 U.S.C. § 1752(a)(2)         12 months’ supervised release   6 months’ home detention
                                        40 U.S.C. § 5104(e)(2)(D)      60 hours’ community service     $103,000 fine
                                        40 U.S.C. § 5104(e)(2)(G)      $500 restitution                $500 restitution
 Runner, Rally      1:23-CR-00357-JMC   18 U.S.C. § 231(a)(3)          27 months’ incarceration        10 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $1,000 fine
                                                                                                       $2,000 restitution
 Kincaid, Clive     1:23-CR-00308-CJN   18 U.S.C. § 1752(a)(1)         2 months’ incarceration         9 months’ probation
                                                                       12 months’ supervised release   3 months’ home detention
                                                                       $876 fine                       $876 fine
                                                                       $500 restitution                $500 restitution
 Honigford,         1:24-CR-00078-TSC   18 U.S.C. § 111(a)(1)          27 months’ incarceration        19 months’ incarceration
 Matthew                                                               36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Harrington,        1:24-CR-00175-TSC   18 U.S.C. § 641                3 months’ incarceration         45 days’ incarceration
 Daniel                                 40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            6 months’ probation
                                                                       60 hours community service      $500 restitution
                                                                       $500 restitution
 Mongelli,          1:23-CR-00390-DLF   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          24 months’ probation
 Amanda                                 40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution


                                                                 114
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 128 of 151
Monday, January 6, 2025


 Rushing, Valerie   1:23-CR-00390-DLF   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          24 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
 Hamilton, Zylas    1:24-CR-00153-RDM   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          24 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            30 days’ home detention
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $100 fine
                                                                                                       $500 restitution
 Howard, David      1:24-CR-00047-APM   40 U.S.C. § 5104(e)(2)(D)      21 days’ incarceration          24 days’ probation
 Brian                                  40 U.S.C. § 5104(e)(2)(G)      12 months’ supervised release   60 hours’ community service
                                                                       $500 fine                       $500 restitution
                                                                       $500 restitution
 Gutierrez,         1:24-CR-00184-LLA   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          36 months’ probation
 Christopher                            40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            60 day’s home detention
                                                                       60 hours’ community service     $1,500 fine
                                                                       $500 restitution                $500 restitution
 Horan, Corey       1:24-CR-00005-RDM   18 U.S.C. § 1752(a)(1)         21 days’ incarceration          36 months’ probation
                                                                       60 hours’ community service     60 days’ home detention
                                                                       $500 restitution                60 hours’ community service
                                                                                                       $500 restitution
 Johnson, Andrew    1:22-CR-00414-JEB   18 U.S.C. §§ 1752(a)(1)        18 months’ incarceration        12 months’ incarceration
                                        18 U.S.C. §§ 1752(a)(2)        12 months’ supervised release   12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)      $2336 fine                      $2336 fine
                                        40 U.S.C. § 5104(e)(2)(G)      $500 restitution                $500 restitution

 Biondo, Francis    1:23-CR-00431-JEB   18 U.S.C. § 1752(a)(1)         15 days’ incarceration          12 months’ probation
                                                                       12 months’ supervised release   120 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Dowell, Robert     1:23-CR-00335-TNM   40 U.S.C. § 5104(e)(2)(D)      21 days’ incarceration          12 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $1,000 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Wilson, Dan        1:23-CR-00427-DLF   18 U.S.C. § 372                60 months’ incarceration        60 months’ incarceration
 Edwin                                  18 U.S.C. § 922(g)(1)          36 months’ supervised release   36 months’ supervised release

                                                                 115
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25       Page 129 of 151
Monday, January 6, 2025


                   1:24-CR-00238-DLF   18 U.S.C. § 924(a)(2)           $2,000 restitution              $2,000 restitution
                                       26 U.S.C. § 5841
                                       26 U.S.C. § 5861(d)
                                       26 U.S.C. § 5871
 Cook, Richard     1:23-CR-00138-RBW   18 U.S.C. § 231(a)(3)           24 months’ incarceration        18 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)          36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)          $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(E)
                                       40 U.S.C. § 5104(e)(2)(F)
 Asbury, Michael   1:23-CR-00236-RC    18 U.S.C. § 231(a)(3)           11 months’ incarceration        4 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
 Sparks, Michael   1:21-CR-00087-TJK   18 U.S.C. § 231(a)(3)           57 months’ incarceration        53 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)          36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)          $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)

                                       *Post-Fischer
                                       sentencing, 1512(c)(2) was an
                                       original count of conviction
 Green, Leah       1:24-CR-00160-TSC   40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          7 days’ incarceration
                                       40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Mamulashvili,     1:24-CR-00165-JMC   40 U.S.C. § 5104(e)(2)(D)       30 days’ incarceration          12 months’ probation
 Giorgi                                40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            60 days’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Amyot, Edward     1:24-CR-00172-APM   18 U.S.C. § 1752(a)(2)          3 months’ incarceration         24 months’ probation
                                                                       12 months’ supervised release   60 days’ home detention
                                                                       60 hours’ community service     $5,000 fine
                                                                       $500 restitution                $500 restitution
 Jakubowski,       1:24-CR-00172-APM   18 U.S.C. § 1752(a)(2)          3 months’ incarceration         24 months’ probation
 Dominic                                                               12 months’ supervised release   60 days’ home detention

                                                                116
                       Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25       Page 130 of 151
Monday, January 6, 2025


                                                                        60 hours’ community service     $5,000 fine
                                                                        $500 restitution                $500 restitution
 Bishop, Bryan       1:23-CR-00400-TJK   18 U.S.C. § 111(a)(1)          51 months’ incarceration        45 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution


 Borgerding,         1:21-CR-00631-TJK   18 U.S.C. § 231(a)(3), 2       13 months’ incarceration        50 days’ incarceration
 Therese                                 18 U.S.C. § 1752(a)(1)         24 months’ supervised release   130 days’ home detention
                                         18 U.S.C. § 1752(a)(2)         $2,000 restitution              36 months supervised release
                                         40 U.S.C. § 5104(e)(2)(D)                                      $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)

 Delbridge III,      1:24-CR-00148-CJN   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          24 months’ probation
 Johnny A.                               40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $500 fine
                                                                                                        $500 restitution
 Delbridge Jr.,      1:24-CR-00148-CJN   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          24 months’ probation
 John A.                                 40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $500 fine
                                                                                                        $500 restitution
 Jones, Robert       1:24-CR-00110-BAH   18 U.S.C. § 1752(a)(1)         14 days’ incarceration          36 months’ probation
 Walter                                                                 12 months’ supervised release   $2,500 fine
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 fine
 Jones, Karen Jane   1:24-CR-00110-BAH   18 U.S.C. § 1752(a)(1)         21 days’ incarceration          36 months’ probation
                                                                        12 months’ supervised release   $2,500 fine
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 fine
 Matulich,           1:24-CR-00272-JEB   18 U.S.C. § 641                3 months’ incarceration         3 months’ incarceration
 Matthew                                                                12 months’ supervised release   9 months’ supervised release
                                                                        60 hours’ community service     40 hours’ community service
                                                                        $500 restitution                $500 restitution
 Starer, Jacquelyn   1:23-CR-00260-TJK   18 U.S.C. § 231(a)(3)          27 months’ incarceration        9 months’ incarceration
                                         18 U.S.C. § 111(a)(1)          36 months’ supervised release   9 months’ home detention
                                         18 U.S.C. § 1752(a)(1)         $2,000 restitution              9 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)                                         $2,000 fine
                                         18 U.S.C. § 1752(a)(4)                                         $2,000 restitution


                                                                  117
                       Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 131 of 151
Monday, January 6, 2025


                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)
                                         40 U.S.C. § 5104(e)(2)(G)

 Baer, Nathan        1:23-CR-00236-RC    18 U.S.C. § 231(a)(3)          11 months’ incarceration        4 months’ incarceration
                                                                        36 months’ supervised release   4 months’ home detention
                                                                                                        24 months’ supervised release
                                                                                                        $2,000 restitution

 Borum, Joshua       1:24-CR-00301-TNM   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          24 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            100 hours’ community service
                                                                        60 hours’ community service     $2,000 fine
                                                                        $500 restitution                $500 restitution


 Beals, William F.   1:23-CR-00369-JMC   18 U.S.C. § 1752(a)(1)         8 months’ incarceration         36 months’ probation
 II                                      18 U.S.C. § 1752(a)(2)         12 months’ supervised release   90 days’ home detention
                                                                        $500 restitution                72 hours’ community service
                                                                                                        $500 restitution
 Valdez, Payton      1:24-CR-00137-DLF   40 U.S.C. § 5104(e)(2)(D)      60 days’ incarceration          60 days’ incarceration
                                         40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
 McMahan, Kyle       1:24-CR-00155-TSC   18 U.S.C. § 111(a)(1)          30 months’ incarceration        19 months’ incarceration
                                                                        36 months’ supervised release   12 months’ supervised release
                                                                        200 hours’ community service    100 hours’ community service
                                                                        $2,000 restitution              $2,000 restitution
 Lamotta, Antonio    1:22-CR-00320-JMC   18 U.S.C. § 231(a)(3)          21 months’ incarceration        6 months’ incarceration
                                         40 U.S.C. § 5104(e)(2)(D)      36 months' supervised release   24 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(G)      $2,000 restitution              30 hours’ community service
                                                                                                        $2,000 restitution
 Purkel, Jr.,        1:23-CR-00448-JEB   18 U.S.C. § 231(a)(3)          8 months’ incarceration         60 days’ incarceration
 Willard                                 18 U.S.C. § 1752(a)(1)         36 months’ supervised release   9 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)         100 hours’ community service    $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)      $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)

                                                                  118
                        Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25      Page 132 of 151
Monday, January 6, 2025


 Johnson, Jack       1:23-CR-00325- TSC   40 U.S.C. § 5104(e)(2)(D)       30 days’ incarceration          7 days’ incarceration
 Mitchell                                 40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            12 months’ probation
                                                                          100 hours’ community service    60 hours’ community service
                                                                          $500 restitution                $500 restitution
 Seitz, Ethan        1:21-CR-00279-DLF    18 U.S.C. § 1752(a)(2)          12 months’ incarceration        36 months’ probation
                                                                          12 months’ supervised release   60 days’ home detention
                                          *Post-Fischer                   $500 fine                       $500 fine
                                          sentencing, 1512(c)(2) was an
                                          original count of conviction
 Hoffman, Luke       1:23-CR-00329-RDM    18 U.S.C. § 111(a)(1)           51 months’ incarceration        20 months’ incarceration
                                          18 U.S.C. § 111(a)(1)           36 months' supervised release   36 months' supervised release
                                                                          $2,000 fine                     $2,000 fine
 Brooks, Glenn       1:21-CR-00503-RCL    18 U.S.C. § 1752(a)(1)          6 months’ incarceration         6 months’ incarceration
 Allen                                    18 U.S.C. § 1752(a)(2)          12 months’ supervised release   12 months’ supervised release
                                          40 U.S.C. § 5104(e)(2)(D)       60 hours’ community service     $2,000 fine
                                          40 U.S.C. § 5104(e)(2)(G)       $500 restitution                $500 restitution
 Fraize, Judy        1:24-CR-00267-ACR    40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          12 months’ probation
                                          40 U.S.C. § 5104(e)(2)(G)       36 months’ probation            100 hours’ community service
                                                                          60 hours’ community service     $500 restitution
                                                                          $500 restitution
 Silva, Benjamin     1:23-cr-35-RC        18 U.S.C. § 231(a)(3)           11 months’ incarceration        4 months’ incarceration
 John                                                                     36 months’ supervised release   24 months’ supervised release
                                                                          $2,000 restitution              4 months’ home detention
                                                                                                          60 hours community service
                                                                                                          $2,000 restitution
 Blythe, Jason       1:21-CR-00537-JMC    18 U.S.C. § 231(a)(3)           108 months’ incarceration       30 months’ incarceration
                                          18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   36 months’ supervised release
                                          18 U.S.C. § 5104(e)(2)(F)       $2,000 restitution              $2,000 restitution
 Grant, James Tate   1:21-CR-00537-JMC    18 U.S.C. § 231(a)(3)           108 months’ incarceration       36 months’ incarceration
                                          18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   36 months’ supervised release
                                          40 U.S.C. § 5104(e)(2)(D)       $2,000 restitution              $2,000 restitution
                                          40 U.S.C. § 5104(e)(2)(F)
                                          40 U.S.C. § 5104(e)(2)(C)
                                          40 U.S.C. § 5104(e)(2)(G)

                                          *Post-Fischer

                                                                   119
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 133 of 151
Monday, January 6, 2025


                                        sentencing, 1512(c)(2) was an
                                        original count of conviction
 Johnson, Paul      1:21-CR-00537-JMC   18 U.S.C. § 231(a)(3)         108 months’ incarceration        60 months’ probation
 Russell                                18 U.S.C. § 111(a)(1) and (b) 36 months’ supervised release    12months intermittent incarceration
                                        40 U.S.C. § 5104(e)(2)(D)     $2,000 restitution               36 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(F)                                      $25,000 fine
                                                                                                       $2,000 restitution
                                        *Post-Fischer
                                        sentencing, 1512(c)(2) was an
                                        original count of conviction
 Randolph, Steven   1:21-CR-00537-JMC   18 U.S.C. § 231(a)(3)         135 months’ incarceration        96 months’ incarceration
                                        18 U.S.C. § 111(a)(1) and (b) 36 months’ supervised release    36 months’ supervised release
                                        18 U.S.C. § 111(a)(1)         $2,000 restitution               $2,000 restitution
                                        40 U.S.C. § 5104(e)(2)(F)

 Resnick, Elliot    1:23-CR-00443-RC    18 U.S.C. § 231(a)(3)          11 months incarceration         4 months incarceration
                                                                       24 months supervised release    24 months supervised release
                                                                       $2,000 restitution              $8,539 fine
                                                                                                       $2,000 restitution
 Dunfee, William    1:23-CR-0036-RBW    18 U.S.C. § 231(a)(3)          48 months’ incarceration        30 months incarceration
                                        18 U.S.C. § 1752(a)(1)         24 months’ supervised release   36 months supervised release
                                                                       $2,000 restitution              $10,000 fine
                                        *Post-Fischer                                                  $2,000 restitution
                                        sentencing, 1512(c)(2) was an
                                        original count of conviction
 Zink, Ryan         1:21-CR-0191-JEB    18 U.S.C. § 1752(a)(1)        24 months’ incarceration         3 months’ incarceration
                                        18 U.S.C. § 1752(a)(2)        12 months supervised release     12 months' supervised release
                                                                      $12,179 fine                     50 hours of community service
                                        *Post-Fischer                 $500 restitution                 $500 restitution
                                        sentencing, 1512(c)(2) was an
                                        original count of conviction
 Ethridge, Tyler    1:22-CR-0254-RC     18 U.S.C. § 231(a)(3), 2      53 months’ imprisonment          7 months’ incarceration
                                        18 U.S.C. § 1752(a)(1)        36 months’ supervised release    7 months’ home detention
                                        18 U.S.C. § 1752(a)(2)        $2,000 restitution               24 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)                                      $2,000 restitution
                                        40 U.S.C. § 5104(e)(2)(G)

                                                                 120
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 134 of 151
Monday, January 6, 2025



                                       *Post-Fischer
                                       sentencing, 1512(c)(2) was an
                                       original count of conviction
 Ortt, Nicholas    1:24-CR-0224-LLA    18 U.S.C. § 111(a)(1)         30 months’ incarceration        27 months’ incarceration
                                                                     36months' supervised release    36 months' supervised release
                                                                     $2,000 fine                     $2,000 fine
 Staples, Eric     1:24-CR-0183-RC     18 U.S.C. § 1752(a)(1)        14 days’ incarceration          24 months’ probation,
                                                                     12 months' supervised release   2 months’ home confinement
                                                                     $500 restitution                60 hours community service
                                                                                                     $500 restitution

 Woehl, Patrick    1:24-CR-0083-DLF    18 U.S.C. § 1752(a)(1)        12 months’ incarceration        6 months’ incarceration
                                       18 U.S.C. § 1752(a)(2)        $500 restitution                12 months' supervised release
                                       40 U.S.C. § 5104(e)(2)(D)                                     $500 restitution
                                       40 U.S.C. § 5104(e)(2)(G)
 Vy, Freedom       1:23-cr-0405-TJK    18 U.S.C. § 1752(a)(1)        100 days’ incarceration         50 days’ incarceration
                                                                     12 months ‘supervised release   12 months’ supervised release
                                                                     $500 restitution                $500 fine
                                                                                                     $500 restitution
 Hicks, Joseph     1: 23-CR-0399-JMC   40 U.S.C. § 5104(e)(2)(D)     6 months’ incarceration         24 months’ probation
 Kerry                                 40 U.S.C. § 5104(e)(2)(G)     36 months' probation            100 hours community service
                                                                     60 hours community service
 Fontaine, Kelly   1:24-CR-0072-RBW 40 U.S.C. § 5104(e)(2)(D)        21 days’ incarceration          21 days’ incarceration
 Lynn                                  40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $1,000 fine
                                                                     $500 restitution                $500 restitution
 Dula, Brian       1:24-CR-0072-RBW 40 U.S.C. § 5104(e)(2)(D)        14 days’ incarceration          36 months’ probation
                                       40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            $1,000 fine
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
 Groseclose,       1:21-CR-0311-CRC    18 U.S.C. § 231               57 months’ incarceration        40 months’ incarceration
 Jeremy                                40 U.S.C. § 5104(e)(2)(D)     36 months’ supervised release   24 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(G)     $41,265 fine                    $5,000 fine
                                                                     $2,000 restitution              TBD restitution
                                       *Post-Fischer

                                                             121
                       Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 135 of 151
Monday, January 6, 2025


                                         sentencing, 1512(c)(2) was an
                                         original count of conviction
 Oliveras, Michael   1:21-CR-718-BAH     18 U.S.C. § 111(a)(1)         68 months’ incarceration         60 months’ incarceration
                                         18 U.S.C. § 231               36 months’ supervised release    36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)        $2,000 fine                      $2,000 fine
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)

                                         *Post-Fischer
                                         sentencing, 1512(c)(2) was an
                                         original count of conviction
 Weeks, James        1:24-CR-0131-BAH    18 U.S.C. § 111(a)(1)         27 months’ incarceration         27 months’ incarceration
                                                                       36 months’ supervised release    36 months’ supervised release
                                                                       $2,774 restitution               $5,000 fine
                                                                                                        $2,774 restitution
 Jennings, Allan     1:24-CR-0203-RBW 18 U.S.C. § 231(a)(3)             15 months’ incarceration        12 months’ incarceration
                                         18 U.S.C. § 1361               36 months’ supervised release   36 months’ supervised release
                                                                        $2,825 restitution              $1,000 fine
                                                                                                        $2,825 restitution
 Daniele, Michael    1:23-CR-0143-APM    18 U.S.C. § 1752(a)(1)         11 months’ incarceration        24 months’ probation
                                         18 U.S.C. § 1752(a)(2)         12 months’ supervised release   30 days’ home detention
                                         40 U.S.C. § 5104(e)(2)(D)      $500 restitution                $2,500 fine
                                         40 U.S.C. § 5104(e)(2)(G)                                      $500 restitution
 Orta, Paul          1:24-CR-0146-DLF    18 U.S.C. § 231(a)(3)          12 months’ incarceration        6 months’ incarceration
                                                                        36 months’ supervised release   12 months’ supervised release
                                                                                                        $2,000 restitution
 Muntzer, Henry      1:21-CR-0105-JMC    18 U.S.C. § 231(a)(3)          54 months’ incarceration        24 months’ incarceration
                                         18 U.S.C. § 1752(a)(1)         36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)         $2,000 restitution              $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)

                                         *Post-Fischer
                                         sentencing, 1512(c)(2) and 2
                                         dismissed

                                                               122
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 136 of 151
Monday, January 6, 2025


 Reierson, Robin    1:23-CR-00437-RBW   18 U.S.C. § 111(a)(1)          27 months’ incarceration        18 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $5,000 fine
                                                                                                       $2,000 restitution
 Lapoint, Joseph   1:24-CR-00241-JEB    40 U.S.C. § 5104(e)(2)(D)      45 days’ incarceration          19 days’ incarceration
 Julius                                 40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            12 months’ probation
                                                                       60 hours’ community service     80 hours’ community service
                                                                       $500 restitution                $500 restitution
 Bell, Dana        1:24-CR-00271-TJK    18 U.S.C. § 111(a)(1)          27 months’ incarceration        17 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution

 Davis, Curtis     1:24-CR-00198-AMP    18 U.S.C. § 111(a)(1)          48 months’ incarceration        24 months’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              6 months’ home detention
                                                                                                       $2,000 restitution
 Camargo, Samuel   1:21-CR-00070-ABJ    18 U.S.C. § 111(a)(1)          12 months’ incarceration        6 months’ incarceration (credit time
                                        18 U.S.C. § 1752(a)(1)         12 months’ supervised release   served)
                                                                       $500 restitution                6 months’ supervised release
                                                                                                       $500 restitution
 Suenram, Chad     1:23-CR-00290-ACR    18 U.S.C. § 1752(a)(1)         3 months’ incarceration         14 days’ intermittent confinement
                                                                       12 months’ supervised release   24 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
 Middleton, Mark   1:21-CR-00367-RDM    18 U.S.C. § 111(a)(1)          87 months’ incarceration        30 months’ incarceration
                                        18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 231(a)(3)          A fine                          $2,000 fine
                                        18 U.S.C. § 1752(a)(1)         $2,000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(F)

                                        *Post-Fischer
                                        sentencing, 1512(c)(2) and 2
                                        dismissed

                                                                 123
                       Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25         Page 137 of 151
Monday, January 6, 2025


 Middleton, Jalise   1:21-CR-00367-RDM   18 U.S.C. § 111(a)(1)           87 months’ incarceration        20 months’ incarceration
                                         18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 231(a)(3)           A fine                          $2,000 fine
                                         18 U.S.C. § 1752(a)(1)          $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         18 U.S.C. § 1752(a)(4)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(F)

                                         *Post-Fischer
                                         sentencing, 1512(c)(2) and 2
                                         dismissed
 Caloia, Paul        1:24-CR-00004-RDM   40 U.S.C. § 5104(e)(2)(D)    45 days’ incarceration             24 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)    36 months’ probation               60 days’ home confinement
                                                                      60 hours’ community service        60 hours’ community service
                                                                      $500 restitution                   $500 restitution
 Kastner, Jared      1:21-CR-00725-MAU   18 U.S.C. § 1752(a)(1)       12 months’ incarceration           5 months’ incarceration
 Samuel                                  18 U.S.C. § 1752(a)(2)       12 months’ supervised release      12 months’ supervised release
                                         40 U.S.C. § 5104(e)(2)(D)    60 hours’ community service
                                         40 U.S.C. § 5104(e)(2)(G)    $500 restitution
 Mahoney, Shawn      1:24-CR-00098-TNM   40 U.S.C. § 5104(e)(2)(D)    30 days’ incarceration             24 months’ probation
                                         40 U.S.C. § 5104(e)(2)(G)    36 months' probation               45 days’ home detention
                                                                      $500 fine                          60 hours’ community service
                                                                                                         $500 restitution
 Schaffer, Jon       1:21-CR-00306-APM   18 U.S.C. § 1512(c)(2)          36 months’ probation            36 months’ probation
                                         18 U.S.C. § 1752(a)(1),         $2,000 restitution              120 hours’ community service
                                         (b)(1)(A)                                                       $1,000 restitution

                                         *Post-Fischer
                                         sentencing, 1512(c)(2)
                                         remains
 Berry, Caleb        1:21-CR-00460-APM   18 U.S.C. § 371                 36 months’ probation            36 months’ probation
                                         18 U.S.C. § 1512(c)(2)          $2,000 restitution              $500 restitution

                                         *Post-Fischer



                                                                   124
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 138 of 151
Monday, January 6, 2025


                                       sentencing, 1512(c)(2)
                                       remains
 Johnston, Jay     1:23-CR-00237-CJN   18 U.S.C. § 231                18 months’ incarceration        12 months’ and
                                                                      36 months’ supervised release   1 day incarceration
                                                                      $2,000 restitution              24 months’ supervised release
                                                                                                      40 hours’ community service
                                                                                                      $2,000 restitution

 Clapp, Cameron    1:24-CR-00207-JEB   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          12 months’ probation
                                       40 U.S.C. § 5104(e)(2)(G)      36 months’ supervised release   100 hours’ community service
                                                                      40 hours’ community service     $500 restitution
                                                                      $500 restitution



 Milliner,         1:24-CR-00236-ACR   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          24 months’ probation
 Randolph                              40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            200 hours’ community service
                                                                      60 hours’ community service     $500 fine
                                                                      $500 restitution                $500 restitution
 Hodges, Sandra    1:24-CR-00152-CKK   40 U.S.C. § 5104(e)(2)(D)      3 months’ incarceration         10 days’ incarceration
 Lee                                   40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $500 restitution
 Bates, David      1:24-CR-00008-RC    40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          36 months’ probation
 Michael                               40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
 Montgomery,       1-21-CR-00046-RDM   18 U.S.C. 111(a)(1)            41 months’ incarceration        37 months’ incarceration
 Patrick                                                              36 months’ supervised release   36 months’ supervised release
                                       *Post-Fischer                  $2,000 restitution              TBD restitution
                                       sentencing, 1512(c)(2), 2      $400 fine
                                       was an original
                                       count of conviction
 Campbell, Kyle    1:24-CR-00268-RDM   18 U.S.C. § 111(a)(1)          27 months’ incarceration        4 months’ incarceration
 Andrew                                                               36 months’ supervised release   4 months’ home detention
                                                                      $2,000 restitution              36 months’ supervised release

                                                                125
                      Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25      Page 139 of 151
Monday, January 6, 2025


                                                                                                        $2,000 restitution

 Chambers, Jack    1:24-CR-00313-JDB    40 U.S.C. § 5104(e)(2)(D)       30 days’ incarceration          30 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(G)       36 months’ supervised release   50 hours’ community service
                                                                        60 hours’ community service     $500 restitution
                                                                        fine as appropriate             $500 fine
 Dine, John        1:24-CR-00259- JMC   40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          12 months’ probation
 Matthew                                40 U.S.C. § 5104(e)(2)(G)       36 months’ supervised release   $500 restitution
                                                                        60 hours’ community service     $500 fine
                                                                        $500 restitution
 Weeks, Troy       1:23-CR-00035-RC     18 U.S.C. § 231(a)(3)           27 months’ incarceration        21 months’ incarceration
                                        18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(E)
 Schmidt, Adrian   1:23-CR-00276-ACR    18 U.S.C. § 231(a)(3)           14 months’ incarceration        14 months’ incarceration
                                                                        36 months' supervised release   36 months' supervised release
                                                                        $2,000 restitution              $2,000 restitution

 Meacham, Odin     1:23-CR-00287-JDB    18 U.S.C. § 231(a)(3)           96 months’ incarceration        72 months’ incarceration
                                        18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   24 months’ supervised release
                                        18 U.S.C. § 111(a)              $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 1752(a)(1),
                                        (b)(1)(A)
                                        18 U.S.C. § 1752(a)(2)),
                                        (b)(1)(A)
                                        18 U.S.C. § 1752(a)(4),
                                        (b)(1)(A)
                                        40 U.S.C. § 5104(e)(2)(F)
 Duong, Fi         1:21-CR-00541-PLF    18 U.S.C. § 231(a)(3)           4 months’ incarceration         36 months’ probation
                                                                        36 months’ supervised release   50 hours’ community service
                                                                        $2,000 restitution              $2,000 restitution
 Brinson, Paul     1:23-CR-00358-CRC    18 U.S.C. § 1752(a)(1)          60 days’ incarceration          30 days’ incarceration
                                        18 U.S.C. § 1752(a)(2)          36 months’ probation            12 months’ probation
                                        40 U.S.C. § 5104(e)(2)(D)       60 hours’ community service     $500 restitution

                                                               126
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 140 of 151
Monday, January 6, 2025


                                       40 U.S.C. § 5104(e)(2)(G)      $500 restitution

 Wakeford, Jeffrey 1:24-CR-00258-CJN   18 U.S.C. § 1752(a)(1)         14 days’ incarceration          24 months’ probation
                                                                      36 months’ probation            120 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
 Fuller, William   1:24-CR-00285-BAH   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          60 days’ home confinement
 Irvin                                 40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service
 Avery, Jaimee     1:24-CR-0079-CRC    40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          18 months’ probation
                                       40 U.S.C. § 5104(e)(2)(G)      $500 restitution                $500 restitution
 Avery, Daniel     1:24-CR-0079-CRC    40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          14 days’ incarceration
                                       40 U.S.C. § 5104(e)(2)(G)      $500 restitution                18 months’ probation
                                                                                                      $500 restitution
 Lichnowski,       1:23-CR-00341-RBW   18 U.S.C. § 1752(a)(1)         12 months’ incarceration        45 days’ incarceration
 Anna                                  18 U.S.C. § 1752(a)(2)         12 months’ supervised release   36 months’ probation
                                       40 U.S.C. § 5104(e)(2)(D)      $500 restitution                200 hours’ community service
                                       40 U.S.C. § 5104(e)(2)(G)                                      $2,500 fine
                                                                                                      $500 restitution
 Alam, Zachary     1:21-CR-00190-DLF   18 U.S.C. § 111(a)(1)          136 months’ incarceration       96 months’ incarceration
                                       18 U.S.C. § 231                36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1),        $4,484 restitution              $4,484 restitution
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(A)
                                       40 U.S.C. §5104(e)(2)(D)
                                       40 U.S.C. §5104(e)(2)(F)
                                       40 U.S.C. §5104(e)(2)(G)

                                       *Post-Fischer sentencing,
                                       1512(c)(2) dismissed
 Rockey,           1:24-CR-00104-RC    18 U.S.C. § 111(a)(1)          27 months’ incarceration        18 months’ incarceration
 Christopher                                                          36 months’ supervised release   24 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution

                                                                127
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25      Page 141 of 151
Monday, January 6, 2025


 Joseph, Micaiah   1:23-CR-00035-RC    18 U.S.C. § 231(a)(3)           60 months’ incarceration        37 months’ incarceration
                                       18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(1)             $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(2)
                                       18 U.S.C. § 1752(4)
                                       40 U.S.C. § 5104(e)(2)(E)
 Klein, Matthew    1:21-CR-00237-RDM   18 U.S.C. § 231(a)(3), 2        9 months’ incarceration         3 months’ incarceration (credit time
                                       18 U.S.C. § 1752(a)(1)          A fine                          served – 53 days)
                                                                       $3,000 restitution              36 months’ supervised release
                                       *Post-Fischer sentencing,                                       $3,000 restitution
                                       1512(c)(2) dismissed
 Allen, Terry      1:23-CR-00261-APM   18 U.S.C. § 231(a)(3)           70 months’ incarceration        24 months’ incarceration
                                       18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1752(a)(1),         $2,000 restitution              $1,000 restitution
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(A)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)
 Kohler, Matthew   1:24-CR-00237-RBW   40 U.S.C. § 5104(e)(2)(D)       30 days’ incarceration          36 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(G)       36 months’ supervised release   200 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution                $5,000 fine
 Bard, Kyler       1:23-CR-00084       18 U.S.C. § 231(a)(3)           27 months’ incarceration        12 months’ and 1 day incarceration
                                       18 U.S.C. § 111(a)(1)           36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          100 hours’ community service    $2,000 restitution
                                       18 U.S.C. § 1752(a)(2)          $2,000 restitution
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(F)
 Smith, Bryan      1:23-CR-00071-RDM   18 U.S.C. § 231(a)(3)           78 months’ incarceration        34 months’ incarceration
                                       18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 fine
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)

                                                              128
                      Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25       Page 142 of 151
Monday, January 6, 2025


                                        40 U.S.C. § 5104(e)(2)(F)

 Richmond,          1:24-CR-00320-JDB   18 U.S.C. § 111(a)(1) and (b)   63 months’ incarceration        51 months’ incarceration
 Edward                                                                 36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Maurer,            1:23-CR-00145-JEB   18 U.S.C. § 111(a)(1) and (b)   54 months’ incarceration        50 months’ incarceration
 Christopher                                                            36 months' supervised release   24 months' supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Ulrich, Brian      1:22-CR-00015-APM   18 U.S.C. § 2384                8 months’ home detention        6 months’ home detention
                                        18 U.S.C. § 1512(c)(2)          36 months’ probation            36 months’ probation
                                                                        120 hours’ community service    120 hours’ community service
                                        *Post-Fischer                   $2,000 restitution              $2,000 restitution
                                        sentencing, 1512(c)(2)
                                        remains
 Rash, Zach         1:23-CR-298-RDM     18 U.S.C. § 111(a)(1)           30 months’ incarceration        27 months’ incarceration
                                                                        36 months' supervised release   36 months' supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Tryon-Castro,      1:23-CR-00035-RC    18 U.S.C. § 231(a)(3)           80 months’ incarceration        31 months’ incarceration
 Casey                                  18 U.S.C. § 111(a)(1)           36 months' supervised release   36 months' supervised release
                                        18 U.S.C. § 2111,2              $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 111(a)(1), 2
                                        18 U.S.C. § 1752(a)(1)
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(E)
 Sahady, Mark       1:21-CR-00134-CJN   18 U.S.C. § 1752(a)(1)          10 months’ incarceration        5 months’ home detention
                                        18 U.S.C. § 1752(a)(2)          12 months' supervised release   12 months’ probation
                                        40 U.S.C. § 5104(e)(2)(D)       $500 restitution                60 hours’ community service
                                        40 U.S.C. § 5104(e)(2)(G)                                       $2,000 fine

                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed
 Beyeler, Natalie   1:24-CR-00100-ACR   40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          48 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)       36 months' probation            100 hours’ community service
                                                                        $500 fine                       $500 fine

                                                                 129
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 143 of 151
Monday, January 6, 2025


 Blackwood,         1:24-CR-00303-ACR   40 U.S.C. § 5104(e)(2)(D)      30 days’ incarceration          48 months’ probation
 Thomas                                 40 U.S.C. § 5104(e)(2)(G)      36 months' probation            100 hours’ community service
                                                                       $500 fine                       $500 fine
 Graham, Daryl      1:24-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          9 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)      36 months' probation            100 hours’ community service
                                                                       $500 fine                       $500 fine
 Verdun Sr.,        1:24-CR-00319-CRC   40 U.S.C. § 5104(e)(2)(D)      21 days’ incarceration          24 months’ probation
 Randy                                  40 U.S.C. § 5104(e)(2)(G)      36 months' probation            $1,500 fine
                                                                       $500 fine                       $500 restitution
 Young, Cindy       1:23-CR-00241-GMH   18 U.S.C. § 1752(a)(1)         10 months’ incarceration        4 months’ incarceration
                                        18 U.S.C. § 1752(a)(2)         12 months' supervised release   2 months’ home detention
                                        40 U.S.C. § 5104(e)(2)(D)      $500 restitution                12 months' supervised release
                                        40 U.S.C. § 5104(e)(2)(G)                                      $4,000 fine
                                                                                                       $500 restitution
 Williams, Dustin   1:24-CR-00209-BAH   18 U.S.C. § 231(a)(3)          30 months’ incarceration        22 months’ incarceration
                                        18 U.S.C. § 111(a)(1)          36 months' supervised release   36 months' supervised release
                                        18 U.S.C. § 1752(a)(1)         $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(G)
 Maxwell, Jake      1:22-CR-00099-RJL   18 U.S.C. § 231(a)(3)          12 months’ incarceration        6 months’ home detention
                                        18 U.S.C. § 1752(a)(1)         36 months' supervised release   18 months' probation
                                        18 U.S.C. § 1752(a)(2)         restitution                     120 hours’ community service
                                                                                                       $1,500 restitution
 Taylor,            1:24-CR-00064-RDM   18 U.S.C. § 1752(a)(1)         14 days’ incarceration          24 months' probation
 Christopher                                                           12 months' probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
 Lee, Justin        1:23-CR-00368-TNM   18 U.S.C. § 231(a)(3)          68 months’ incarceration        18 months’ incarceration
                                        18 U.S.C. § 111(a)(1)          36 months’ supervised release   12 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)         $2,000 restitution              $7,500 fine
                                        18 U.S.C. § 1752(a)(2)
                                        40 U.S.C. § 5104(e)(2)(D)
 Dolan, Jason       1:21-CR-00028-APM   18 U.S.C. § 371                36 months’ probation            36 months’ probation
                                        18 U.S.C. § 1512(c)(2)         120 hours’ community service    $2,000 restitution
                                                                       $2,000 restitution

                                                                 130
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25      Page 144 of 151
Monday, January 6, 2025


                                       *Post-Fischer
                                       sentencing, 1512(c)(2)
                                       remains
 Young, Graydon    1:21-CR-00028-APM   18 U.S.C. § 371                 36 months’ probation            36 months’ probation
                                       18 U.S.C. § 1512(c)(2)          120 hours’ community service    120 hours’ community service
                                                                       $2,000 restitution              $2,000 restitution
                                       *Post-Fischer
                                       sentencing, 1512(c)(2)
                                       remains
 Harrington,       1:23-CR-00298-JEB   18 U.S.C. § 231(a)(3)           96 months’ incarceration        40 months’ incarceration
 Douglas                               18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)

                                       *Post-Fischer
                                       sentencing, 1512(c)(2)
                                       dismissed
 Waynick, Jerry    1:23-CR-00175-TJK   18 U.S.C. § 231(a)(3)           109 months’ incarceration       30 months’ incarceration
 McKane                                18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 111(a)(1) and (b)   $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(1),
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(a)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)
                                       40 U.S.C. § 5104(e)(2)(G)
 Waynick, Mark     1:23-CR-00175-TJK   18 U.S.C. § 231(a)(3)           88 months’ incarceration        54 months’ incarceration
                                       18 U.S.C. § 111(a)(1) and (b)   36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1),         $2,000 restitution              $2,000 restitution
                                       (b)(1)(a)

                                                                131
                      Case 1:21-cr-00382-PLF      Document 176        Filed 01/30/25      Page 145 of 151
Monday, January 6, 2025


                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(a)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)
                                       40 U.S.C. § 5104(e)(2)(G)
 LaCount, Tricia   1:23-CR-00386-RBW   18 U.S.C. § 1752(a)(1)         60 days’ incarceration          36 months’ probation
                                                                      12 months’ supervised release   $500 restitution
                                                                      $500 restitution
 Klein,            1:21-CR-00237-RDM   18 U.S.C. § 231(a)(3)          26 months’ incarceration        9 months’ incarceration
 Jonathanpeter                         18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                                                      $3,000 restitution              $3,000 restitution
                                       *Post-Fischer
                                       sentencing, 1512(c)(2)
                                       dismissed
 Copeland,         1:23-CR-00224-DLF   18 U.S.C. § 231(a)(3)          108 months’ incarceration       71 months’ incarceration
 Jonathan                              18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1),        $3,000 restitution              $3,000 restitution
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(2),
                                       (b)(1)(a)
                                       18 U.S.C. § 1752(a)(4),
                                       (b)(1)(a)
                                       40 U.S.C. § 5104(e)(2)(F)
                                       40 U.S.C. § 5104(e)(2)(G)
 Terino, Troy      1:24-CR-00297-RC    40 U.S.C. § 5104(e)(2)(D)      14 days’ incarceration          4 months’ home detention
                                       40 U.S.C. § 5104(e)(2)(G)      36 months' probation            36 months' probation
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $700 fine
                                                                                                      $500 restitution
 Garcia, Gabriel   1:21-CR-129-ABJ     18 U.S.C. § 231(a)(3)          48 months’ incarceration        12 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                       *Post-Fischer                  $2,000 restitution              $2,000 restitution
                                       sentencing, 1512(c)(2)
                                       dismissed

                                                                132
                      Case 1:21-cr-00382-PLF       Document 176         Filed 01/30/25      Page 146 of 151
Monday, January 6, 2025


 Grillo, Phillip    1:21-CR-690-RCL     18 U.S.C. § 1752(a)(1)          24 months’ incarceration        12 months’ incarceration
 Sean                                   18 U.S.C. § 1752(a)(2)          36 months’ supervised release   12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)       $500 restitution                $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)

                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed
 Coppotelli,        1:24-CR-181-JEB     40 U.S.C. § 5104(e)(2)(D)       14 days’ incarceration          9 months’ probation
 Robert                                 40 U.S.C. § 5104(e)(2)(G)       12 months’ probation            120 hours’ community service
                                                                        $500 restitution                $500 restitution
 Rae, Paul          1:21-CR-378-TJK     18 U.S.C. § 231(a)(3)           24 months’ incarceration        14 months’ incarceration
                                        18 U.S.C. § 1752(a)(1)          36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 fine
                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed
 Roberts, Michael   1:23-CR-00417-APM   18 U.S.C. § 111(a)(1)           27 months’ incarceration        15 months’ incarceration
 Tyler                                                                  36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Markey, Richard    1:23-CR-00417-APM   18 U.S.C. § 111(a)(1) and (b)   54 months’ incarceration        30 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
 Purdy, Matthew     1:22-CR-00010-RCL   40 U.S.C. § 5104(e)(2)(D)       90 days’ incarceration          90 days’ incarceration
                                        40 U.S.C. § 5104(e)(2)(G)       12 months' probation            $2,000 fine
                                                                        60 hours’ community service
                                        *Post-Fischer                   Fine requested
                                        sentencing, 1512(c)(2)
                                        dismissed
 Winegeart, Dova    1:22-CR-00301-CJN   18 U.S.C. § 1361                12 months’ incarceration        4 months’ incarceration
                                                                        36 months’ supervised release   12 months’ supervised release
                                                                        $2,729 fine                     $1,000 fine
 Spencer,           1:21-CR-00147-CKK   18 U.S.C. § 1752(a)(1)          12 months’ incarceration        9 months’ incarceration
 Christopher                            18 U.S.C. § 1752(a)(2)          12 months’ supervised release   12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)       $500 restitution                $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)

                                                                 133
                      Case 1:21-cr-00382-PLF      Document 176         Filed 01/30/25      Page 147 of 151
Monday, January 6, 2025



                                       *Post-Fischer
                                       sentencing, 1512(c)(2), 2
                                       was an original
                                       count of conviction
 Carter Connell,   1:21-CR-00084-PLF   18 U.S.C. § 231(a)(3)           51 months’ incarceration        26 months’ incarceration
 Cody Page                             18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 fine
                                       18 U.S.C. § 1752(a)(2)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)

                                       *Post-Fischer
                                       sentencing, 1512(c)(2), 2 was
                                       an original count of
                                       conviction
 Adams, Daniel     1:21-CR-00084-PLF   18 U.S.C. § 231(a)(3)           51 months’ incarceration        26 months’ incarceration
 Page                                  18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 fine
                                       18 U.S.C. § 1752(a)(2)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)

                                       *Post-Fischer
                                       sentencing, 1512(c)(2), 2 was
                                       an original count of
                                       conviction
 Marroquin,        1:23-CR-00338-JEB   18 U.S.C. § 1752(a)(1)          10 months’ incarceration        6 months’ incarceration
 Michael                               18 U.S.C. § 1752(a)(2)          24 months’ supervised release   12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(A)       $500 restitution                $500 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)

                                       *Post-Fischer
                                       sentencing, 1512(c)(2)
                                       dismissed


                                                                134
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 148 of 151
Monday, January 6, 2025


 Livingston, John   1:24-CR-00006-DLF   18 U.S.C. § 1752(a)(1)         9 months’ incarceration         70 days’ intermittent confinement
                                        18 U.S.C. § 1752(a)(2)         12 months’ supervised release   36 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                        *Post-Fischer                  $500 restitution
                                        sentencing, 1512(c)(2)
                                        dismissed
 Himber, Charles    1:24-CR-00094-LLA   18 U.S.C. § 231(a)(3)          11 months’ incarceration        4 months’ intermittent incarceration
 Taylor                                                                36 months’ supervised release   36 months’ supervised release
                                                                       100 hours’ community service    100 hours’ community service
                                                                       $2000 restitution               $2000 restitution

 Obest, Adam        1:23-CR-00267-APM   18 U.S.C. § 231                51 months’ incarceration        18 months’ incarceration
 Ryan                                   18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(G)
 Rotella, Brett     1:23-CR-00303-RDM   18 U.S.C. § 231                60 months’ incarceration        38 months’ incarceration
                                        18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)         $2000 restitution               $2000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        40 U.S.C. § 5104(e)(2)(E)

 Bowman, David      1:23-CR-00139-BAH   18 U.S.C. § 1752(a)(1)         15 months’ incarceration        2 months’ incarceration
 Worth                                  18 U.S.C. § 1752(a)(2)         36 months’ supervised release   4 months’ home confinement
                                        40 U.S.C. § 5104(e)(2)(A)      $500 restitution                12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)                                      $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)

                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed
 Carnell,           1:23-CR-00139-BAH   18 U.S.C. § 1752(a)(1)         18 months’ incarceration        6 months’ incarceration
 Christopher                            18 U.S.C. § 1752(a)(2)         36 months’ supervised release   2 months’ home confinement
                                        40 U.S.C. § 5104(e)(2)(A)      $500 restitution                12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)                                      $2,500 fine

                                                                 135
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25      Page 149 of 151
Monday, January 6, 2025


                                        40 U.S.C. § 5104(e)(2)(G)                                      $500 restitution

                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed
 Grods, Mark        1:21-CR-00437-APM   18 U.S.C. § 371                4 months’ home confinement      36 months’ probation
                                        18 U.S.C. § 1512(c)(2)         36 months’ probation            120 hours’ community service
                                                                       $2000 restitution               $2000 restitution

 Sexton, Stephen    1:23-CR-00228-TSC   18 U.S.C. § 1752(a)(2)         14 months’ incarceration        8 months’ incarceration
                                        18 U.S.C. § 1361 (misd.)       12 months’ probation            12 months’ supervised release
                                                                       $2000 restitution               $2000 restitution
                                        *Post-Fischer
                                        sentencing, 1512(c)(2)
                                        dismissed
 Hughes, Nathan     1:23-CR-00237-CJN   18 U.S.C. § 231(a)(3)          51 months’ incarceration        25 months’ incarceration
 Earl                                   18 U.S.C. § 111(a)(1)          36 months’ supervised release   36 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(E)      $67,867 fine                    $5000 fine

 Robin, Gabriel     1:24-CR-00346-TJK   40 U.S.C. § 5104(e)(2)(D)      21 days’ incarceration          18 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution

 Gunby, Derek       1:21-CR-00626-PLF   18 U.S.C. § 1752(a)(1)         12 months’ incarceration        60 days’ incarceration
                                        18 U.S.C. § 1752(a)(2)         12 months’ supervised release   12 months’ supervised release
                                                                       $500 restitution                $1500 fine
                                         *Post-Fischer                                                 $500 restitution
                                        sentencing, 1512(c)(2)
                                        dismissed
 Bradley, Michael   1:23-CR-00435-RBW   18 U.S.C. § 111(a) and (b)     100 months’ incarceration       60 months’ incarceration
                                        18 U.S.C. § 231(a)(3)          36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1),        $2000 restitution               $2000 restitution
                                        (b)(1)(a)
                                        18 U.S.C. § 1752(a)(2),
                                        (b)(1)(a)

                                                                 136
                      Case 1:21-cr-00382-PLF       Document 176        Filed 01/30/25       Page 150 of 151
Monday, January 6, 2025


                                        18 U.S.C. § 1752(a)(4),
                                        (b)(1)(a)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(F)

 Knowlton, Brady    1:21-CR-00046-RDM   18 U.S.C. § 1752(a)(1)         12 months’ incarceration           36 months’ probation
                                                                       12 months’ supervised release      $75,000 fine
                                        *Post-Fischer                  $25,000 fine                       $25,000 restitution
                                        sentencing, 1512(c)(2)         $500 restitution
                                        dismissed
 Dale, Joshua       1:24-CR-00389-TNM   18 U.S.C. § 1361               6 months’ incarceration            4 months’ incarceration
                                        (misdemeanor)                  12 months’ supervised release      12 months’ supervised release
                                                                       $1000 restitution                  $1000 restitution

 Pastucci, Joseph   1:23-CR-00288-BAH   18 U.S.C. § 111(a)(1)          30 months’ incarceration           26 months’ incarceration
                                                                       36 months’ supervised release      36 months’ supervised release
                                        *Post-Fischer                  $2000 restitution                  $2000 restitution
                                        sentencing, 1512(c)(2), 2
                                        was an original count of
                                        conviction

 Reed, Jeffrey      1:23-CR-00227-JEB   18 U.S.C. § 231(a)(3)          42 months’ incarceration           30 months’ incarceration
                                        18 U.S.C. § 1752(a)(1)         36 months’ supervised release      24 months’ supervised release
                                        18 U.S.C. § 1752(a)(2)         $2000 restitution                  $2000 restitution
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(G)

 Berk, Jordan       1:24-CR-00264-RC    18 U.S.C. § 1752(a)(1)         14 days’ incarceration             2 months’ home confinement
                                                                       12 months’ supervised release or   24 months’ probation
                                                                       36 months’ probation with          60 hours’ community service
                                                                       intermittent confinement           $1,098 fine
                                                                       $500 restitution                   $500 restitution

 James, Joshua      1:22-CR-00015-APM   18 U.S.C. § 2384               24 months’ incarceration           6 months’ home detention
                                        18 U.S.C. § 1512(c)(2)         $2000 restitution                  36 months’ probation
                                                                                                          $2000 restitution

                                                                 137
                      Case 1:21-cr-00382-PLF      Document 176      Filed 01/30/25      Page 151 of 151
Monday, January 6, 2025


                                       *Post-Fischer
                                       sentencing, 1512(c)(2)
                                       remains
 Atwood, Joshua    1:24-CR-00199-RDM   18 U.S.C. § 111(a) and (b)   63 months’ incarceration        48 months’ incarceration
                                                                    36 months’ supervised release   36 months’ supervised release
                                                                    $2000 restitution               $2000 restitution


 Mock, Brian       1:21-CR-00444-JEB   18 U.S.C. § 231(a)           33 months’ incarceration        0 months’ incarceration
                                       18 U.S.C. § 111(a)           24 months’ supervised release   (time served)
                                       18 U.S.C. § 641              $2000 restitution               24 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)                                       $2000 restitution
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(F)

                                       *Post-Fischer
                                       resentencing, 1512(c)(2)
                                       was an original count of
                                       conviction




                                                              138
